 Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 1 of 151 PageID #:21456


                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS



 IN RE BROILER CHICKEN ANTITRUST              Case No. 1:16-cv-08637
 LITIGATION
 This Document Relates To: Direct Purchaser
                                              DIRECT PURCHASER PLAINTIFFS’
 Plaintiffs
                                              THIRD AMENDED AND
                                              CONSOLIDATED CLASS ACTION
                                              COMPLAINT
                                              [PUBLIC REDACTED VERSION]




523256.4
 Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 2 of 151 PageID #:21457




                                                         Table of Contents

I.       NATURE OF ACTION .......................................................................................................1

II.      JURISDICTION AND VENUE ..........................................................................................6

III.     PARTIES .............................................................................................................................7

         A.         Plaintiffs ...................................................................................................................7

         B.         Defendants ...............................................................................................................8

IV.      AGENTS AND CO-CONSPIRATORS ............................................................................20

V.       TRADE AND COMMERCE .............................................................................................33

VI.      FACTUAL ALLEGATIONS ............................................................................................33

         A.         Background on Broilers. ........................................................................................33

                    1.         “Broilers.” .................................................................................................33

                    2.         Broilers Are A Commodity. ........................................................................34

                    3.         The United States Broiler Market Is A National Market Worth Tens
                               Of Billions Of Dollars Annually. ...............................................................34

                    4.         Broiler Prices Have Risen Steadily Since 2008. ........................................35

                    5.         Overview of the Georgia Dock, USDA Composite, Urner Barry,
                               and EMI Broiler price indices. ..................................................................36

         B.         The Georgia Dock Price Index Is Highly Susceptible To Collusion. In
                    Fact, Certain Defendants Apparently Have Manipulated It To Further
                    Their Conspiracy....................................................................................................38

         C.         Defendants and Their Producer Co-Conspirators Relied Upon Agri Stats
                    To Facilitate Conspiratorial Communications And To Provide Data And
                    Analysis Critical To The Monitoring And Enforcement Of The
                    Conspiracy. ............................................................................................................46

         D.         Defendants Coordinated Production Cuts To Stabilize And Then
                    Increase The Price Of Broilers From 2008-2012, Then Continued
                    Depressing Broiler Supply To Maintain Artificially High Prices. ........................56

                    1.         Pre-Class Period Events. ...........................................................................59

                    2.         2008-2009 Production Cuts. ......................................................................60



509818                                                                 i
 Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 3 of 151 PageID #:21458




              3.        Defendants’ 2008 To Early 2009 Broiler Production Cuts Included
                        Unprecedented Reductions To Broiler Breeder Flocks. ............................73

              4.        The Cuts in 2008 and 2009 Led To Record Broiler Prices For
                        Much Of 2009 And Early 2010. .................................................................75

              5.        Defendants Reacted With Unprecedented Speed To
                        Overproduction In 2011, Which Led To A Second Wave Of
                        Unprecedented Production Cuts. ...............................................................76

              6.        Defendants’ 2011-2012 Production Cuts Lowered Broiler Breeder
                        Flocks To Unprecedented Levels, Which Led To Record Profits
                        For The 2013-2014 Time Period. ..............................................................86

              7.        Avian Flu Disrupted The Export Relief Valve During 2015, But
                        Prices And Profitability Remained Relatively Stable Into 2016. ...............92

         E.   The Structure And Characteristics Of The Broiler Market, Together With
              Other Factors, Render The Conspiracy Economically Plausible. ..........................97

              1.        The Broiler Industry Is Highly Vertically Integrated. ...............................97

              2.        The Market For Broilers Is Characterized By Inelastic Supply And
                        Demand. ...................................................................................................101

              3.        There Are No Significant Substitutes For Broilers. .................................101

              4.        The Broiler Industry Has Experienced High Consolidation And Is
                        Highly Concentrated. ...............................................................................102

              5.        The Broiler Industry Has A History Of Government Investigations
                        And Collusive Actions. .............................................................................104

              6.        Defendants Had Numerous Opportunities To Collude. ...........................106

              7.        There Are High Barriers To Entry In The Broiler Market. .....................116

              8.        Defendants Have Similar Cost Structures And Work
                        Collaboratively To Share Cost Information. ...........................................118

         F.   Since 2008 Defendants’ Collusion Has Led to Unprecedented Capacity
              Reductions, Artificially High Prices, and Record Profits. ...................................120

         G.   Defendants Reduced Their Own Production And Used Direct Purchases
              of Broilers To Reduce Industry Supply. ..............................................................122

         H.   Defendants Made A Coordinated Move Away From Fixed-Price
              Contracts To Contracts That Changed Prices Quarterly Or Followed
              Broiler Price Indexes............................................................................................124


523256                                                       ii
 Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 4 of 151 PageID #:21459




VII.     CLASS ACTION ALLEGATIONS ................................................................................126

VIII.    ANTITRUST INJURY ....................................................................................................128

IX.      THE STATUTE OF LIMITATIONS DOES NOT BAR PLAINTIFFS’ CLAIMS........129

         A.        Plaintiffs Did Not And Could Not Have Discovered Defendants’
                   Anticompetitive Conduct. ....................................................................................129

         B.        Defendants Actively Concealed The Conspiracy. ...............................................133

X.       VIOLATION OF SECTION 1 OF THE SHERMAN ACT ............................................138

XI.      REQUEST FOR RELIEF ................................................................................................140

XII.     JURY TRIAL DEMANDED ...........................................................................................141




523256                                                         iii
    Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 5 of 151 PageID #:21460




         Plaintiffs bring this action on behalf of themselves individually and on behalf of a plaintiff

class (the “Class”) consisting of all persons who purchased Broilers1 directly from any of the

Defendants or their subsidiaries or affiliates for use or delivery in the United States from at least

as early as January 1, 2008 until the Present (the “Class Period”). Plaintiffs bring this action for

treble damages under the antitrust laws of the United States against Defendants, and demand a trial

by jury.

                                   I.     NATURE OF ACTION

         1.     Plaintiffs are informed and believe, and thereon allege, that in order to maintain

price stability and increase profitability, beginning at least as early as January 2008 Defendants

and their co-conspirators conspired and combined to fix, raise, maintain, and stabilize the price of

Broilers. The principal (but not exclusive) method by which Defendants implemented and

executed their conspiracy was by coordinating their output and limiting production with the intent

and expected result of increasing prices of Broilers in the United States. In furtherance of their

conspiracy, Defendants exchanged detailed, competitively sensitive, and closely-guarded non-

public information about prices, capacity, sales volume, and demand, including through third party

co-conspirator Agri Stats. Plaintiffs are further informed and believe that Defendants fraudulently

concealed their anticompetitive conduct from Plaintiffs and the Class in furtherance of the

conspiracy, and as a result there may be other methods by which Defendants carried out their

conspiracy which presently are not known to Plaintiffs. For instance, it was not publicly known

until November 2016 that certain Defendants and their co-conspirators apparently manipulated

and artificially inflated a widely used Broiler price index, the Georgia Dock.


1
  “Broilers,” as defined in ¶ 111 and as used in this complaint, are chickens raised for meat consumption to
be slaughtered before the age of 13 weeks, and which may be sold in a variety of forms, including fresh or
frozen, raw or cooked, whole or in parts, or as a meat ingredient in a value added product, but excluding
chicken that is grown, processed, and sold according to halal, kosher, free range, or organic standards.


523256                                               1
 Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 6 of 151 PageID #:21461




         2.    Broilers constitute approximately 98% of all chicken meat sold in the United States.

Defendants are the leading suppliers of Broilers in an industry with over $30 billion in annual

wholesale revenue. The Broiler industry is highly concentrated, with a small number of large

producers in the United States controlling supply. Defendants collectively control approximately

90% of the wholesale Broiler market. Since the 1950s, the production of Broilers has become

highly industrialized and commoditized.

         3.    Historically, the Broiler industry was marked by boom and bust cycles where, in

response to rising prices, producers increased production, which caused an oversupply and

resulting decrease in pricing. However, that market pattern changed markedly in 2008. By their

wrongful conduct as alleged in this complaint, Defendants not only materially reduced or

eliminated the historical boom and bust cycle of the Broiler industry, they propped up Broiler

prices during periods of rapidly falling input costs by, among other means, coordinating supply

restrictions and manipulating one or more Broiler price indices.

         4.    In 2007, Pilgrim’s and Tyson attempted to cut their production levels enough to

cause industry prices to rise. However, despite Pilgrim’s and Tyson’s combined 40% market

share, their production cuts in 2007 were not enough to increase prices through supply cuts because

other Broiler companies increased their production.

         5.    As a result, in January 2008 Pilgrim’s and Tyson changed tactics and concluded

that only through broader cooperation among major producers in the Broiler industry could supply

be cut enough to force prices to increase. In January 2008, both Pilgrim’s and Tyson made clear

to the Broiler industry that neither Pilgrim’s nor Tyson would continue to cut production while

their competitors used the opportunity to take away Pilgrim’s and Tyson’s market share. A few

days after attending an industry event in late January 2008, Tyson’s CEO announced Tyson would




523256                                          2
 Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 7 of 151 PageID #:21462




be raising prices because “we have no choice [but] to raise prices substantially.” A day later, a

Pilgrim’s executive announced publicly that Pilgrim’s would be cutting its production and “the

rest [] of the market is going to have to pick-up a fair share in order for the production to come out

of the system.”

         6.    Subsequently, as described in detail below, the other Defendants followed Pilgrim’s

and Tyson’s call to arms and made substantial cuts to their own production. However, unlike

Pilgrim’s and Tyson’s prior production cuts, in 2008 the Defendants did not rely solely on the

ordinary mechanisms available to temporarily reduce production, which would have permitted

production to be quickly ramped up if prices rose. Instead, Defendants cut their ability to ramp up

production for 18 months or more by destroying Broiler breeder hens in their Broiler breeder flocks

responsible for supplying the eggs Defendants raise into Broilers. This destruction of the Broiler

breeder flock was unparalleled and the consequences continue to reverberate in the Broiler industry

to present day. Further, when some Defendants in 2010 became “undisciplined” and began

gradually increasing their production, Defendants made a second wave of coordinated production

cuts in 2011 and 2012, which included further substantial destruction of industry Broiler breeder

flocks. Defendants continued to limit the United States Broiler supply in subsequent years by

destroying eggs, relying upon one another’s production to meet customer needs, and exporting

excess Broiler breeder flocks to Mexico, even when doing so was against their independent

economic interest.

         7.    The consequence of Defendants’ cuts in 2008 and 2011-2012 has been a nearly

50% increase in Broiler wholesale prices by one measure since 2008, despite input costs (primarily

corn and soybeans) falling roughly 20% to 23% over the same time period. The rise in Broiler

prices relative to input costs has led to record profits for Defendants.




523256                                            3
 Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 8 of 151 PageID #:21463




         8.    To effectuate their conspiracy, Defendants turned to a modernized version of an

antitrust conspiracy in the Broiler industry during the 1970s. During the 1970s, major Broiler

producers held a weekly conference call to discuss production levels and prices for Broilers. After

the Department of Justice and civil antitrust plaintiffs sued, that practice was stopped. However,

by January 2008, modern technology provided a way for Defendants to share detailed production

and pricing information without industry-wide conference calls. Producers now electronically

transfer vast amounts of production data to Agri Stats which, while supposedly anonymous, in fact

provide Defendants with sufficient detail to determine with reasonable accuracy producer-level

data on production, cost, and general efficiencies. This permits the Defendants to share, on a

weekly and/or monthly basis, their confidential production and pricing information, including

forward-looking production information, which is easily forecasted on Broiler breeder flock data

that is reported and shared.

         9.    From late 2014 into 2016, Broiler input costs fell significantly. Economic theory

predicts that in a competitive market, all else being equal, Broiler prices similarly would fall.

However, prices remained artificially inflated due to Defendants’ and their Broiler Co-

Conspirators’ agreement to artificially restrict production and their manipulation of the Georgia

Dock Broiler price index, published by the Georgia Department of Agriculture (“GDA”). The

facts surrounding this episode were unknown to Plaintiffs and the public until November 2016,

when it became public that the United States Department of Agriculture (“USDA”) had requested

in July 2016 that the GDA investigate and verify the accuracy of the Broiler prices provided to the

GDA by several Defendants. When the GDA declined to do so, citing the industry’s and its own

lack of interest in verifying prices, USDA began publishing its own Broiler price statistic, which

confirmed that the Georgia Dock price was inflated over already supracompetitive prices.




523256                                          4
 Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 9 of 151 PageID #:21464




         10.     There are numerous “plus factors” in the Broiler industry during the Class Period

including, but not limited to, the following: (a) extensive information sharing through Agri Stats,

(b) numerous opportunities to collude in a variety of forums, (c) a coordinated change from

contracts with fixed Broiler prices to Broiler prices that float with the Broiler spot market, (d)

inter-Defendant trades and purchases that often are against independent self-interest, and (e)

multiple industry characteristics which facilitate collusion, such as high vertical integration, high

barriers to entry, high Broiler industry consolidation and concentration, inelastic supply and

demand, a lack of significant substitutes for Broilers, and a history of government investigations

and collusive conduct.

         11.     Defendants’ restriction of Broiler supply had the intended purpose and effect of

increasing Broiler prices to Plaintiffs and the Class. First, as Defendants themselves acknowledge,

supply and demand in the Broiler industry are inelastic. Therefore, a coordinated decrease in

supply as alleged herein necessarily will result in an increase in prices. As one industry consultant

noted, “[b]ecause of the inelastic nature of the supply and demand [of Broilers,] a reduction in

supply will produce an outcome more preferable to the industry than maintaining supply with a

lower price.”

         12.     Second, as acknowledged by industry experts and Defendants themselves, pricing

in virtually all Broiler sales is tied to spot market prices, which are publicly known and available

through industry price indices. An expert economist has testified that “internal [Defendant]

documents show that virtually all chicken products, even if they’re not sold spot, are tied to the

spot prices. . . .”




523256                                           5
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 10 of 151 PageID #:21465




         13.   Therefore, Defendants knew and intended that their coordinated limitation and

reduction in Broiler supply would artificially increase all Broiler prices—for spot market and

contract sales—above the level they would have been absent the conduct alleged herein.

         14.   As a result of Defendants’ unlawful conduct, Plaintiffs and the other members of

the Class paid artificially inflated prices for Broilers during the Class Period. Such prices exceeded

the amount they would have paid if the price for Broilers had been determined by a competitive

market. Thus, Plaintiffs and Class members were directly injured by Defendants’ conduct.

         15.   Plaintiffs bring this action on behalf of all Class members to recover for the injury

caused by Defendants’ conduct in restricting the supply of Broilers and increasing the price of

Broilers. Plaintiffs seeks injunctive relief, treble damages, costs of suit, and reasonable attorneys’

fees arising from Defendants’ violation of Section 1 of the Sherman Act (15 U.S.C. §1).

                            II.    JURISDICTION AND VENUE

         16.   This action is instituted under Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§15

and 26, to recover treble damages and the costs of this suit, including reasonable attorneys’ fees,

against Defendants for the injuries sustained by Plaintiffs and the members of the Plaintiff Class

by virtue of Defendants’ violations of Section 1 of the Sherman Act, 15 U.S.C. §1, and to enjoin

further violations.

         17.   This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337, and Sections 4 and 16

of the Clayton Act, 15 U.S.C. §§15(a) and 26.

         18.   Venue is appropriate in this District under Sections 4, 12, and 16 of the Clayton

Act, 15 U.S.C. §§15, 22 and 26 and 28 U.S.C. §1391(b), (c) and (d), because one or more

Defendants resided or transacted business in this District, is licensed to do business or is doing

business in this District, and because a substantial portion of the affected interstate commerce

described herein was carried out in this District.


523256                                               6
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 11 of 151 PageID #:21466




         19.   This Court has personal jurisdiction over each Defendant because, inter alia, each

Defendant: (a) transacted business throughout the United States, including in this District; (b)

manufactured, sold, shipped, and/or delivered substantial quantities of Broilers throughout the

United States, including this District; (c) had substantial contacts with the United States, including

this District; and/or (d) engaged in an antitrust conspiracy that was directed at and had a direct,

foreseeable, and intended effect of causing injury to the business or property of persons residing

in, located in, or doing business throughout the United States, including this District.

         20.   The activities of the Defendants and all co-conspirators, as described herein, were

within the flow of, were intended to, and did have direct, substantial and reasonably foreseeable

effects on the foreign and interstate commerce of the United States.

         21.   No other forum would be more convenient for the parties and witnesses to litigate

this case.

                                           III. PARTIES

   A. Plaintiffs

         22.   Maplevale Farms, Inc. is a New York corporation with its principal place of

business in Falconer, New York. It purchased Broilers directly from one or more Defendants

during the Class Period and suffered antitrust injury as a result of the violations alleged in this

Complaint.

         23.   John Gross and Company, Inc. is a Pennsylvania corporation with its principal

place of business in Mechanicsburg, Pennsylvania. It purchased Broilers directly from one or

more Defendants during the Class Period and suffered antitrust injury as a result of the violations

alleged in this Complaint.




523256                                            7
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 12 of 151 PageID #:21467




         24.   Ferraro Foods, Inc. is a New Jersey corporation with its principal place of business

in Piscataway, New Jersey. It purchased Broilers directly from one or more Defendants during

the Class Period and suffered antitrust injury as a result of the violations alleged in this Complaint.

         25.   Ferraro Foods of North Carolina, LLC, is a North Carolina Limited Liability

Company with its principal place of business in Mebane, North Carolina. It purchased Broilers

directly from one or more Defendants during the Class Period and suffered antitrust injury as a

result of the violations alleged in this Complaint.

         26.   Joe Christiana Food Distributors, Inc. is a Louisiana corporation with its principal

place of business in Baton Rouge, Louisiana. It purchased Broilers directly from one or more

Defendants during the Class Period and suffered antitrust injury as a result of the violations alleged

in this Complaint.

         27.   Barters International LLC, is a Mississippi Limited Liability Company with its

principal place of business in Jackson, Mississippi. It purchased Broilers directly from one or

more Defendants during the Class Period and suffered antitrust injury as a result of the violations

alleged in this Complaint.

         28.   Cedar Farms Co., Inc. is a Pennsylvania corporation with a principal place of

business in Philadelphia, Pennsylvania.          It purchased Broilers directly from one or

more Defendants during the Class Period and suffered antitrust injury as a result of the violations

alleged in this Complaint.

   B. Defendants

         1.    Koch Foods Defendants

         29.   Koch Foods, Inc. is a privately held Delaware corporation with its corporate

headquarters in Park Ridge, Illinois. It has its sales office in Flowood, Mississippi and its export

office in Chattanooga, Tennessee. During the Class Period, Koch Foods, Inc. sold Broilers in


523256                                            8
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 13 of 151 PageID #:21468




interstate commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in

the United States.

         30.   JCG Foods of Alabama, LLC is an Alabama corporation with its headquarters in

Park Ridge, Illinois, and is a wholly-owned subsidiary of Koch Foods, Inc. During the Class

Period, JCG Foods of Alabama, LLC sold Broilers in interstate commerce, directly or through its

wholly-owned or controlled affiliates, to purchasers in the United States.

         31.   JCG Foods of Georgia, LLC is a Georgia corporation with its headquarters in Park

Ridge, Illinois, and is a wholly-owned subsidiary of Koch Foods, Inc. During the Class Period,

JCG Foods of Georgia, LLC sold Broilers in interstate commerce, directly or through its wholly-

owned or controlled affiliates, to purchasers in the United States.

         32.   Koch Meat Co., Inc. is an Illinois corporation with its headquarters in Chicago,

Illinois, and is a wholly-owned subsidiary of Koch Foods, Inc. During the Class Period, Koch

Meat Co., Inc. sold Broilers in interstate commerce, directly or through its wholly-owned or

controlled affiliates, to purchasers in the United States.

         33.   Defendants Koch Foods, Inc., JCG Foods of Alabama, LLC, JCG Foods of

Georgia, LLC, and Koch Meat Co., Inc. are collectively referred to as “Koch Foods.”

               2.      Tyson Defendants

         34.   Tyson Foods, Inc. is a publicly traded Delaware corporation headquartered in

Springdale, Arkansas. During the Class Period, Tyson Foods, Inc. and/or its predecessors, wholly-

owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or

through its wholly-owned or controlled affiliates, to purchasers in the United States.

         35.   Tyson Chicken, Inc. is a Delaware corporation headquartered in Springdale,

Arkansas and is a wholly-owned subsidiary of Tyson Foods, Inc. During the Class Period, Tyson




523256                                            9
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 14 of 151 PageID #:21469




Chicken, Inc. sold Broilers in interstate commerce, directly or through its wholly-owned or

controlled affiliates, to purchasers in the United States.

          36.   Tyson Breeders, Inc. is a Delaware corporation headquartered in Springdale,

Arkansas and is a wholly-owned subsidiary of Tyson Foods, Inc. During the Class Period, Tyson

Breeders, Inc. sold Broilers in interstate commerce, directly or through its wholly-owned or

controlled affiliates, to purchasers in the United States.

          37.   Tyson Poultry, Inc. is a Delaware corporation headquartered in Springdale,

Arkansas and is a wholly-owned subsidiary of Tyson Poultry, Inc. During the Class Period, Tyson

Poultry, Inc. sold Broilers in interstate commerce, directly or through its wholly-owned or

controlled affiliates, to purchasers in the United States.

          38.   Defendants Tyson Foods, Inc., Tyson Chicken, Inc., Tyson Breeders, Inc., and

Tyson Poultry, Inc. are collectively referred to as “Tyson.”

                3.     Pilgrim’s Pride Corporation

          39.   Pilgrim’s Pride Corporation is a Delaware corporation headquartered in Greeley,

Colorado (hereinafter “Pilgrim’s”). JBS USA Holdings, Inc. holds a 75.3% controlling interest in

Pilgrim’s. JBS USA Holdings and Pilgrim’s are subsidiaries of JBS SA, a Brazilian corporation

headquartered in Sao Paulo, Brazil. During the Class Period, Pilgrim’s sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in the United

States.

                A.     Around December 1, 2008, Pilgrim’s filed a voluntary Chapter 11 petition
                       in the United States Bankruptcy Court for the Northern District of Texas.
                       Effective December 28, 2009, Pilgrim’s was discharged from bankruptcy
                       under a plan of reorganization that paid all creditors in full largely due to
                       rising Broiler prices leading to increased profits at Pilgrim’s. Pilgrim’s
                       participated in the conspiracy alleged herein throughout the Class Period
                       through the actions of many of Pilgrim’s most senior executives, including



523256                                            10
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 15 of 151 PageID #:21470




                       former CEO Dr. Don Jackson and current President & CEO Bill Lovette,
                       and others with responsibility for Broilers.
               B.      After its discharge from bankruptcy, Pilgrim’s reaffirmed its participation
                       in the conspiracy, in part by calls-to-arms and pledges by and between
                       Defendants that were followed by actions that resulted in further idling of
                       production capacity, reduced production, and price increases. Other specific
                       post-discharge actions taken by Pilgrim’s in furtherance of the conspiracy
                       are alleged (see below) and are consistent with the actions taken by all of
                       the Defendants and Pilgrim’s throughout the Class Period.
               C.      Regardless of whether Pilgrim’s participated in the conspiracy throughout
                       the Class Period or joined or reaffirmed membership in the conspiracy
                       immediately after its discharge from bankruptcy, this Complaint seeks to
                       recover damages from Pilgrim’s only for Pilgrim’s post-discharge conduct,
                       and in no way seeks to violate any Orders of the above-referenced
                       Bankruptcy Court. However, by operation of law, the damages arising from
                       Pilgrim’s post-discharge conduct include damages incurred by Plaintiffs
                       and the Class throughout the Class Period. This Complaint also seeks to
                       recover damages from the other Defendants for Pilgrim’s pre-discharge
                       conspiratorial conduct. Therefore, Plaintiffs plead only a single Class
                       Period as to all Defendants, but damages as to Pilgrim’s are governed by
                       the principles of joint and several liability as noted above.

               4.      Perdue Defendants

         40.   Perdue Farms, Inc. is a privately held Maryland corporation headquartered in

Salisbury, Maryland. During the Class Period, Perdue Farms, Inc. and/or its predecessors, wholly-

owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or

through its wholly-owned or controlled affiliates, to purchasers in the United States.

         41.   Perdue Foods LLC is a privately held Maryland limited liability company

headquartered in Salisbury, Maryland. Perdue Foods LLC is a subsidiary of Perdue Farms, Inc.

During the Class Period, Perdue Foods, LLC and/or its predecessors, wholly-owned or controlled

subsidiaries, or affiliates sold Broilers in interstate commerce, directly or through its wholly-

owned or controlled affiliates, to purchasers in the United States.




523256                                           11
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 16 of 151 PageID #:21471




         42.   Defendants Perdue Farms, Inc. and Perdue Foods LLC are collectively referred to

as “Perdue.”

               5.      Sanderson Farms Defendants

         43.   Sanderson Farms, Inc. is a publicly held Mississippi corporation headquartered in

Laurel, Mississippi. During the Class Period, Sanderson Farms, Inc. and/or its predecessors,

wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly

or through its wholly-owned or controlled affiliates, to purchasers in the United States.

         44.   Sanderson Farms, Inc. (Foods Division) is a Mississippi corporation located in

Laurel, Mississippi, and is a wholly-owned subsidiary of Sanderson Farms, Inc. During the Class

Period, Sanderson Farms, Inc. (Foods Division) sold Broilers in interstate commerce, directly or

through its wholly-owned or controlled affiliates, to purchasers in the United States.

         45.   Sanderson Farms, Inc. (Production Division) is a Mississippi corporation located

in Laurel, Mississippi, and is a wholly-owned subsidiary of Sanderson Farms, Inc. During the

Class Period, Sanderson Farms, Inc. (Production Division) sold or supplied for sale Broilers in

interstate commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in

the United States.

         46.   Sanderson Farms, Inc. (Processing Division) is a Mississippi corporation located in

Laurel, Mississippi, and is a wholly-owned subsidiary of Sanderson Farms, Inc. During the Class

Period, Sanderson Farms, Inc. (Processing Division) sold Broilers in interstate commerce, directly

or through its wholly-owned or controlled affiliates, to purchasers in the United States.

         47.   Defendants Sanderson Farms, Inc., Sanderson Farms, Inc. (Foods Division),

Sanderson Farms, Inc. (Production Division), and Sanderson Farms, Inc. (Processing Division) are

collectively referred to as “Sanderson Farms.”




523256                                           12
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 17 of 151 PageID #:21472




                6.     Wayne Farms, LLC

          48.   Wayne Farms, LLC is a Delaware corporation headquartered in Oakwood, Georgia.

It is an operating affiliate of its parent company, Continental Grain Company, a privately held

company in Arlon, Belgium. During the Class Period, Wayne Farms, LLC and/or its predecessors,

wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly

or through its wholly-owned or controlled affiliates, to purchasers in the United States.

                7.     Mountaire Farms Defendants

          49.   Mountaire Farms, Inc. is a privately held Delaware corporation with its

headquarters in Millsboro, Delaware. During the Class Period, Mountaire Farms, Inc. and/or its

predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in the United

States.

          50.   Mountaire Farms, LLC is a privately held Arkansas corporation located in Little

Rock, Arkansas, and is a wholly-owned subsidiary of Mountaire Farms, Inc. During the Class

Period, Mountaire Farms, LLC and/or its predecessors, wholly-owned or controlled subsidiaries,

or affiliates sold Broilers in interstate commerce, directly or through its wholly-owned or

controlled affiliates, to purchasers in the United States.

          51.   Mountaire Farms of Delaware, Inc. is a privately held Delaware corporation located

in Millsboro, Delaware, and is a wholly-owned subsidiary of Mountaire Farms, Inc. During the

Class Period, Mountaire Farms of Delaware, Inc. and/or its predecessors, wholly-owned or

controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or through its

wholly-owned or controlled affiliates, to purchasers in the United States.

          52.   Defendants Mountaire Farms, Inc., Mountaire Farms, LLC, and Mountaire Farms

of Delaware, Inc. are collectively referred to as “Mountaire.”


523256                                            13
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 18 of 151 PageID #:21473




               8.       Peco Foods

         53.   Peco Foods, Inc. is a privately held Alabama corporation headquartered in

Tuscaloosa, Alabama. During the Class Period, Peco Foods, Inc. and/or its predecessors, wholly-

owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or

through its wholly-owned or controlled affiliates, to purchasers in the United States.

               9.       Foster Farms

         54.   Foster Farms, LLC is a privately held California corporation headquartered in

Modesto, California. During the Class Period, Foster Farms, LLC and/or its predecessors, wholly-

owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or

through its wholly-owned or controlled affiliates, to purchasers in the United States.

         55.   Foster Poultry Farms is a privately held California corporation headquartered in

Livingston, California. Foster Poultry Farms is a related entity of Foster Farms, LLC. During the

Class Period, Foster Poultry Farms and/or its predecessors, wholly-owned or controlled

subsidiaries, or affiliates was engaged in the processing, distribution, sale, pricing, and/or

marketing of Broilers, directly or through its wholly-owned or controlled affiliates, to purchasers

in the United States.

         56.   Defendants Foster Farms, LLC and Foster Poultry Farms are collectively referred

to as “Foster Farms.”

               10.      House of Raeford Farms

         57.   House of Raeford Farms, Inc. is a privately held North Carolina corporation

headquartered in Rose Hill, North Carolina. During the Class Period, House of Raeford operated

in part through a division referred to as “Columbia Farms,” which is a group of Broiler facilities

and operations originally named Columbia Farms, Inc. and Columbia Farms of Georgia, Inc. when

purchased by House of Raeford in 1998. During the Class Period, House of Raeford Farms, Inc.


523256                                          14
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 19 of 151 PageID #:21474




and/or its predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in

interstate commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in

the United States.

               11.      Simmons Foods

         58.   Simmons Foods, Inc. is a privately held Arkansas corporation headquartered in

Siloam Springs, Arkansas. During the Class Period, Simmons Foods, Inc. and/or its predecessors,

wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly

or through its wholly-owned or controlled affiliates, to purchasers in the United States.

         59.   Simmons Prepared Foods, Inc. is a privately held Arkansas company headquartered

in Siloam Springs, Arkansas. Simmons Prepared Foods, Inc. is a wholly-owned subsidiary of

Simmons Foods, Inc. During the Class Period, Simmons Foods, Inc. exclusively sold the chicken

it produced to Simmons Prepared Foods, Inc., which in turn resold the chicken in various forms to

its customers. Simmons Prepared Foods, Inc. and/or its predecessors, wholly-owned or controlled

subsidiaries, or affiliates was engaged in the processing, distribution, sale, pricing, and/or

marketing of Broilers, directly or through its wholly-owned or controlled affiliates, to purchasers

in the United States.

         60.   Defendants Simmons Foods, Inc. and Simmons Prepared Foods, Inc. are

collectively referred to as “Simmons” or “Simmons Foods.”

               12.      Fieldale Farms

         61.   Fieldale Farms Corporation is a privately held Georgia corporation headquartered

in Baldwin, Georgia. During the Class Period, Fieldale Farms Corporation and/or its predecessors,

wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly

or through its wholly-owned or controlled affiliates, to purchasers in the United States.




523256                                           15
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 20 of 151 PageID #:21475




                13.    George’s Defendants

          62.   George’s, Inc. is a privately held Arkansas corporation headquartered in

Springdale, Arkansas. During the Class Period, George’s, Inc. and/or its predecessors, wholly-

owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or

through its wholly-owned or controlled affiliates, to purchasers in the United States.

          63.   George’s Farms, Inc. is a privately held Arkansas corporation headquartered in

Springdale, Arkansas, and is a wholly-owned subsidiary of George’s Inc. During the Class Period,

George’s Farms, Inc. and/or its predecessors, wholly-owned or controlled subsidiaries, or affiliates

sold and/or supplied Broilers in interstate commerce, directly or through its wholly-owned or

controlled affiliates, to purchasers in the United States.

          64.   Defendants George’s, Inc. and George’s Farms, Inc. are collectively referred to as

“George’s.”

                14.    O.K. Foods Defendants

          65.   Defendant O.K. Foods, Inc. is an Arkansas corporation headquartered in Fort

Smith, Arkansas. O.K. Foods, Inc. is a subsidiary of Industrias Bachoco S.A., a Brazilian

corporation headquartered in Sao Paulo, Brazil. During the Class Period, O.K. Foods, Inc. and/or

its predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in the United

States.

          66.   O.K. Farms, Inc. is an Arkansas corporation headquartered in Fort Smith, Arkansas,

and is a wholly-owned subsidiary of O.K. Foods, Inc. During the Class Period, O.K. Farms, Inc.

and/or its predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in

interstate commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in

the United States.


523256                                            16
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 21 of 151 PageID #:21476




          67.   O.K. Industries, Inc. is an Arkansas corporation headquartered in Fort Smith,

Arkansas, and is a wholly-owned subsidiary of O.K. Foods, Inc. During the Class Period, O.K.

Industries, Inc. and/or its predecessors, wholly-owned or controlled subsidiaries, or affiliates sold

Broilers in interstate commerce, directly or through its wholly-owned or controlled affiliates, to

purchasers in the United States.

          68.   Defendants O.K. Foods, Inc., O.K. Farms, Inc., and O.K. Industries, Inc. are

collectively referred to as “O.K. Foods.”

                15.    Claxton Poultry Defendants

          69.   Claxton Poultry Farms, Inc. is a Georgia corporation located in Claxton, Georgia.

During the Class Period, Claxton Poultry Farms, Inc. and/or its predecessors, wholly-owned or

controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or through its

wholly-owned or controlled affiliates, to purchasers in the United States.

          70.   Norman W. Fries, Inc., d/b/a Claxton Poultry Farms, Inc. is a Georgia corporation

located in Claxton, Georgia.        During the Class Period, Norman W. Fries, Inc. and/or its

predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in the United

States.

          71.   Defendants Claxton Poultry Farms, Inc. and Norman W. Fries, Inc. are collectively

referred to as “Claxton Poultry.”

                16.    Harrison Poultry

          72.   Harrison Poultry, Inc. is a Georgia corporation located in Bethlehem, Georgia.

During the Class Period, Harrison Poultry, Inc. and/or its predecessors, wholly-owned or

controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or through its

wholly-owned or controlled affiliates, to purchasers in the United States.


523256                                           17
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 22 of 151 PageID #:21477




               17.     Mar-Jac Poultry Defendants

         73.   Mar-Jac Poultry, Inc. is a Delaware corporation located in Gainesville, Georgia.

Mar-Jac Poultry, Inc. and its subsidiaries are controlled by Sterling Management Group, Inc.

During the Class Period, Mar-Jac Poultry, Inc. and/or its predecessors, wholly-owned or controlled

subsidiaries, or affiliates sold Broilers in interstate commerce, directly or through its wholly-

owned or controlled affiliates, to purchasers in the United States.

         74.   Mar-Jac Poultry MS, LLC is a Mississippi limited liability corporation located in

Gainesville, Georgia. During the Class Period, Mar-Jac Poultry MS, LLC and/or its predecessors,

wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly

or through its wholly-owned or controlled affiliates, to purchasers in the United States.

         75.   Mar-Jac Poultry AL, LLC is an Alabama limited liability corporation located in

Gainesville, Georgia. During the Class Period, Mar-Jac Poultry AL, LLC and/or its predecessors,

wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly

or through its wholly-owned or controlled affiliates, to purchasers in the United States.

         76.   Mar-Jac AL/MS, Inc. is a Delaware corporation located in Gainesville, Georgia.

During the Class Period, Mar-Jac AL/MS, Inc. and/or its predecessors, wholly-owned or controlled

subsidiaries, or affiliates sold Broilers in interstate commerce, directly or through its wholly-

owned or controlled affiliates, to purchasers in the United States.

         77.   Mar-Jac Poultry, LLC is a Delaware corporation located in Gainesville, Georgia.

During the Class Period, Mar-Jac Poultry, LLC and/or its predecessors, wholly-owned or

controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or through its

wholly-owned or controlled affiliates, to purchasers in the United States.

         78.   Mar-Jac Holdings, LLC is a Delaware corporation located in Gainesville, Georgia

and is the parent company of Mar-Jac Poultry, Inc., Mar Jac Poultry MS LLC, Mar-Jac AL, LLC,


523256                                           18
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 23 of 151 PageID #:21478




Mar-Jac AL/MS, LLC, and Mar-Jac Poultry, LLC. During the Class Period, Mar-Jac Holdings,

LLC and/or its predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers

in interstate commerce, directly or through its wholly-owned or controlled affiliates, to purchasers

in the United States.

         79.    Defendants Mar-Jac Poultry, Inc., Mar-Jac Poultry MS, LLC, Mar-Jac Poultry AL,

LLC, Mar-Jac AL/MS, Inc., Mar-Jac Poultry, LLC and Mar-Jac Holdings, LLC are collectively

referred to as “Mar-Jac Poultry.”

         80.    “Defendant” or “Defendants” as used herein, includes, in addition to those named

specifically above, all of the named Defendants’ predecessors, including Broilers companies that

merged with or were acquired by the named Defendants and each named Defendant’s wholly-

owned or controlled subsidiaries or affiliates that sold Broilers in interstate commerce, directly or

through its wholly-owned or controlled affiliates, to purchasers in the United States during the

Class Period.

         81.    To the extent that subsidiaries and divisions within each Defendant’s corporate

family sold or distributed Broilers to direct purchasers, these subsidiaries played a material role in

the conspiracy alleged in this Complaint because Defendants wished to ensure that the prices paid

for such Broilers would not undercut the artificially raised and inflated pricing that was the aim

and intended result of Defendants’ coordinated and collusive behavior as alleged herein. Thus, all

such entities within the corporate family were active, knowing participants in the conspiracy

alleged herein, and their conduct in selling, pricing, distributing and collecting monies from

Plaintiffs and the members of the Plaintiff Class for Broilers was known to and approved by their

respective corporate parent named as a Defendant in this Complaint. For the avoidance of doubt,




523256                                           19
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 24 of 151 PageID #:21479




several previously unnamed subsidiaries for Defendants are specifically identified as co-

conspirators below.

                           IV. AGENTS AND CO-CONSPIRATORS

          82.   Agri Stats, Inc. is an Indiana corporation located in Fort Wayne, Indiana and is a

subsidiary of Eli Lilly & Co. Eli Lilly & Co. is an Indiana corporation located in Indianapolis,

Indiana. Throughout the Class Period, Agri Stats acted as an agent and/or co-conspirator of

Defendants by facilitating the exchange of confidential, proprietary, and competitively sensitive

data among Defendants and their co-conspirators.

                Producer Co-Conspirator Allen Harim

          83.   Harim USA, Ltd. is a privately held Delaware corporation with its corporate

headquarters in Seaford, Delaware. During the Class Period, Harim USA Ltd. and/or its

predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in the United

States.

          84.   Allen Harim Foods, LLC is a privately held Delaware limited liability company

with its corporate headquarters in Seaford, Delaware, and with facilities and operations in

Delaware, Maryland and North Carolina. Allen Harim Foods, LLC is a wholly-owned subsidiary

of Harim USA Ltd. During the Class Period, Allen Harim Foods, LLC and/or its predecessors,

wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly

or through its wholly-owned or controlled affiliates, to purchasers in the United States.

          85.   Allen Harim Farms, LLC is a privately held Delaware limited liability company

with its corporate headquarters in Seaford, Delaware, and with facilities and operations in

Delaware, Maryland and North Carolina. Allen Harim Farms, LLC is a wholly-owned subsidiary

of Harim USA Ltd. During the Class Period, Allen Harim Farms, LLC and/or its predecessors,


523256                                           20
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 25 of 151 PageID #:21480




wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly

or through its wholly-owned or controlled affiliates, to purchasers in the United States.

          86.   Producer Co-Conspirators Harim USA, Ltd., Allen Harim Foods, LLC, and Allen

Harim Farms, LLC are collectively referred to as “Allen Harim.”

                Producer Co-Conspirator Amick Farms

          87.   Amick Farms, LLC is a privately held Delaware limited liability company with its

corporate headquarters in Batesburg-Leesville, South Carolina, and with facilities in South

Carolina, Maryland and Delaware. Amick Farms, LLC is a wholly-owned subsidiary of OSI

Group, LLC, a privately held Delaware corporation with its corporate headquarters in Aurora,

Illinois. During the Class Period, Amick Farms, LLC and/or its predecessors, wholly-owned or

controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or through its

wholly-owned or controlled affiliates, to purchasers in the United States.

          88.   The Amick Company, Inc. is a privately held South Carolina corporation with its

corporate headquarters in Batesburg-Leesville, South Carolina and is a wholly-owned subsidiary

of OSI Group, LLC. During the Class Period, The Amick Company, Inc. and/or its predecessors,

wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly

or through its wholly-owned or controlled affiliates, to purchasers in the United States.

          89.   Amick-OSI Broilers, LLC a privately held Delaware limited liability company with

its corporate headquarters in Batesburg-Leesville, South Carolina and is a wholly-owned

subsidiary of OSI Group, LLC. During the Class Period, Amick-OSI Broilers, LLC and/or its

predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in the United

States.




523256                                           21
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 26 of 151 PageID #:21481




          90.   Amick-OSI Processing, LLC a privately held Delaware limited liability company

with its corporate headquarters in Batesburg-Leesville, South Carolina and is a wholly-owned

subsidiary of OSI Group, LLC. During the Class Period, Amick-OSI Broilers, LLC and/or its

predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in the United

States.

          91.   Producer Co-conspirator Amick Farms, LLC, The Amick Company, Inc., Amick-

OSI Broilers, LLC, and Amick-OSI Processing, LLC are collectively referred to as “Amick.”

                Producer Co-Conspirator Keystone Foods

          92.   Keystone Foods LLC is a subsidiary of Marfrig Alimentos, S.A., a Brazilian

company. During the Class Period, Keystone Foods LLC and/or its predecessors, wholly-owned

or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or through its

wholly-owned or controlled affiliates, to purchasers in the United States.

          93.   Keystone Foods Corporation was (now consolidated) a subsidiary of Keystone

Foods, LLC and Marfrig Alimentos, S.A., a Brazilian company. During the Class Period, Keystone

Foods Corporation and/or its predecessors, wholly-owned or controlled subsidiaries, or affiliates

sold Broilers in interstate commerce, directly or through its wholly-owned or controlled affiliates,

to purchasers in the United States.

          94.   Equity Group Eufaula Division, LLC is a Delaware limited liability company with

its headquarters in Bakerhill, Alabama and is a wholly-owned subsidiary of Keystone Foods LLC.

During the Class Period, Equity Group Eufaula Division, LLC sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in the United

States.




523256                                            22
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 27 of 151 PageID #:21482




          95.   Equity Group Kentucky Division LLC, formerly known as Cagle’s-Keystone

Foods, L.L.C., is a Delaware limited liability company with its headquarters in Franklin, Kentucky

and is a wholly-owned subsidiary of Grow-Out Holdings LLC. During the Class Period, Equity

Group Kentucky Division LLC sold Broilers in interstate commerce, directly or through its

wholly-owned or controlled affiliates, to purchasers in the United States.

          96.   Equity Group – Georgia Division LLC is a Delaware limited liability company with

its headquarters in Camilla, Georgia and is a wholly-owned subsidiary of Keystone Foods LLC.

During the Class Period, Equity Group – Georgia Division LLC sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled or controlled affiliates, to purchasers

in the United States.

          97.   Producer Co-Conspirators Keystone Foods LLC, Keystone Foods Corporation,

Equity Group Eufaula Division, LLC, Equity Group Kentucky Division LLC, and Equity Group

– Georgia Division LLC are collectively referred to as “Keystone Foods.”

                Producer Co-Conspirator Case Farms

          98.   Case Foods, Inc. is a privately held Delaware corporation with its corporate

headquarters in Troutman, North Carolina. During the Class Period, Case Foods, Inc. and/or its

predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in the United

States.

          99.   Case Farms, LLC is a privately held Delaware limited liability company with its

corporate headquarters in Troutman, North Carolina, and with facilities and operations in Ohio

and North Carolina. Case Farms, LLC is a wholly-owned subsidiary of Case Foods, Inc. During

the Class Period, Case Farms, LLC and/or its predecessors, wholly-owned or controlled




523256                                          23
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 28 of 151 PageID #:21483




subsidiaries, or affiliates sold Broilers in interstate commerce, directly or through its wholly-

owned or controlled affiliates, to purchasers in the United States.

         100.   Case Farms Processing, Inc. is a privately held North Carolina corporation with its

corporate headquarters in Troutman, North Carolina, and with facilities and operations in North

Carolina. Case Farms Processing, Inc. is a wholly-owned subsidiary of Case Foods, Inc. During

the Class Period, Case Farms Processing, Inc. and/or its predecessors, wholly-owned or controlled

subsidiaries, or affiliates sold Broilers in interstate commerce, directly or through its wholly-

owned or controlled affiliates, to purchasers in the United States.

         101.   Producer Co-Conspirators Case Foods, Inc., Case Farms, LLC, and Case Farms

Processing, Inc. are collectively referred to as “Case Foods.”

         102.   Among the Defendant families included in this complaint, various subsidiaries and

related entities actively participated in the conspiracy alleged herein and therefore are co-

conspirators, including the following:

                A. Koch Foods

                           i. JCG Industries, Inc. is an Illinois corporation with its headquarters
                              in Chicago, Illinois, and is a wholly-owned subsidiary of Koch
                              Foods, Inc. During the Class Period, JCG Industries, Inc. sold
                              Broilers in interstate commerce, directly or through its wholly-
                              owned or controlled affiliates, to purchasers in the United States.

                           ii. JCG Properties L.L.C. is an Illinois limited liability company with
                               its headquarters in Chicago, Illinois, and is a wholly-owned
                               subsidiary of Koch Foods, Inc. During the Class Period, JCG
                               Properties L.L.C. sold Broilers in interstate commerce, directly or
                               through its wholly-owned or controlled affiliates, to purchasers in
                               the United States.

                          iii. JCG Land Holdings, LLC is an Illinois limited liability company
                               with its headquarters in Chicago, Illinois, and is a wholly-owned
                               subsidiary of Koch Foods, Inc. During the Class Period, JCG Land
                               Holdings, LLC sold Broilers in interstate commerce, directly or
                               through its wholly-owned or controlled affiliates, to purchasers in
                               the United States.


523256                                           24
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 29 of 151 PageID #:21484




                     iv. JCG Foods LLC is a Delaware limited liability company with its
                         headquarters in Park Ridge, Illinois, and is a wholly-owned
                         subsidiary of Koch Foods, Inc. During the Class Period, JCG Foods
                         LLC sold Broilers in interstate commerce, directly or through its
                         wholly-owned or controlled affiliates, to purchasers in the United
                         States.

                     v. Koch Foods of Cumming LLC, formerly known as Greko, L.L.C. is
                        a Georgia limited liability company with its headquarters in
                        Cumming, Georgia, and is a wholly-owned subsidiary of Koch
                        Foods, Inc. During the Class Period, Koch Foods of Cumming LLC
                        sold Broilers in interstate commerce, directly or through its wholly-
                        owned or controlled affiliates, to purchasers in the United States.

                     vi. Koch Foods of Gainesville LLC, formerly known as Gress Foods
                         LLC is a Georgia limited liability company with its headquarters in
                         Gainesville, Georgia, and is a wholly-owned subsidiary of Koch
                         Foods, Inc. During the Class Period, Koch Foods of Gainesville
                         LLC sold Broilers in interstate commerce, directly or through its
                         wholly-owned or controlled affiliates, to purchasers in the United
                         States.

                    vii. JCG Farms of Georgia LLC is a Georgia limited liability company
                         with its headquarters in Park Ridge, Illinois, and is a wholly-owned
                         subsidiary of Koch Foods, Inc. During the Class Period, JCG Farms
                         of Georgia LLC sold Broilers in interstate commerce, directly or
                         through its wholly-owned or controlled affiliates, to purchasers in
                         the United States.

                   viii. Koch Foods of Mississippi LLC is a Mississippi limited liability
                         company with its headquarters in Morton, Mississippi, and is a
                         wholly-owned subsidiary of Koch Foods, Inc. During the Class
                         Period, Koch Foods of Mississippi LLC sold Broilers in interstate
                         commerce, directly or through its wholly-owned or controlled
                         affiliates, to purchasers in the United States.

                     ix. Koch Farms of Mississippi LLC is a Mississippi limited liability
                         company with its headquarters in Morton, Mississippi, and is a
                         wholly-owned subsidiary of Koch Foods, Inc. During the Class
                         Period, Koch Farms of Mississippi LLC sold Broilers in interstate
                         commerce, directly or through its wholly-owned or controlled
                         affiliates, to purchasers in the United States.

                     x. Koch Freezers LLC is a Mississippi limited liability company with
                        its headquarters in Morton, Mississippi, and is a wholly-owned
                        subsidiary of Koch Foods, Inc. During the Class Period, Koch
                        Freezers LLC sold Broilers in interstate commerce, directly or


523256                                    25
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 30 of 151 PageID #:21485




                         through its wholly-owned or controlled affiliates, to purchasers in
                         the United States.

                     xi. Koch Properties of Mississippi LLC is a Mississippi limited liability
                         company with its headquarters in Morton, Mississippi, and is a
                         wholly-owned subsidiary of Koch Foods, Inc. During the Class
                         Period, Koch Properties of Mississippi LLC sold Broilers in
                         interstate commerce, directly or through its wholly-owned or
                         controlled affiliates, to purchasers in the United States.

                    xii. Koch Foods of Alabama LLC is an Alabama limited liability
                         company with its headquarters in Montgomery, Alabama, and is a
                         wholly-owned subsidiary of Koch Foods, Inc. During the Class
                         Period, Koch Foods of Alabama LLC sold Broilers in interstate
                         commerce, directly or through its wholly-owned or controlled
                         affiliates, to purchasers in the United States.

                   xiii. Koch Farms of Alabama LLC is an Alabama limited liability
                         company with its headquarters in Montgomery, Alabama, and is a
                         wholly-owned subsidiary of Koch Foods, Inc. During the Class
                         Period, Koch Farms of Alabama LLC sold Broilers in interstate
                         commerce, directly or through its wholly-owned or controlled
                         affiliates, to purchasers in the United States.

                    xiv. JCG Farms of Alabama LLC is an Alabama limited liability
                         company with its headquarters in Park Ridge, Illinois, and is a
                         wholly-owned subsidiary of Koch Foods, Inc. During the Class
                         Period, JCG Farms of Alabama LLC sold Broilers in interstate
                         commerce, directly or through its wholly-owned or controlled
                         affiliates, to purchasers in the United States.

                    xv. Koch Foods of Ashland LLC is an Alabama limited liability
                        company with its headquarters in Montgomery, Alabama, and is a
                        wholly-owned subsidiary of Koch Foods, Inc. During the Class
                        Period, Koch Foods of Ashland LLC sold Broilers in interstate
                        commerce, directly or through its wholly-owned or controlled
                        affiliates, to purchasers in the United States.

                    xvi. Koch Farms of Ashland LLC is an Alabama limited liability
                         company with its headquarters in Montgomery, Alabama, and is a
                         wholly-owned subsidiary of Koch Foods, Inc. During the Class
                         Period, Koch Farms of Ashland LLC sold Broilers in interstate
                         commerce, directly or through its wholly-owned or controlled
                         affiliates, to purchasers in the United States.

                   xvii. Koch Farms of Gadsden LLC is an Alabama limited liability
                         company with its headquarters in Montgomery, Alabama, and is a



523256                                     26
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 31 of 151 PageID #:21486




                         wholly-owned subsidiary of Koch Foods, Inc. During the Class
                         Period, Koch Farms of Gadsden LLC sold Broilers in interstate
                         commerce, directly or through its wholly-owned or controlled
                         affiliates, to purchasers in the United States.

                  xviii. Koch Foods of Gadsden LLC is an Alabama limited liability
                         company with its headquarters in Montgomery, Alabama, and is a
                         wholly-owned subsidiary of Koch Foods, Inc. During the Class
                         Period, Koch Foods of Gadsden LLC sold Broilers in interstate
                         commerce, directly or through its wholly-owned or controlled
                         affiliates, to purchasers in the United States.

                    xix. Koch Foods of Cincinnati LLC, f/k/a Preferred Foods, LLC is an
                         Ohio limited liability company with its headquarters in Fairfield,
                         Ohio, and is a wholly-owned subsidiary of Koch Foods, Inc. During
                         the Class Period, Koch Foods of Cincinnati LLC sold Broilers in
                         interstate commerce, directly or through its wholly-owned or
                         controlled affiliates, to purchasers in the United States.

                    xx. Koch Foods LLC is a Tennessee limited liability company with its
                        headquarters in Chattanooga, Tennessee, and is a wholly-owned
                        subsidiary of Koch Foods, Inc. During the Class Period, Koch
                        Foods LLC sold Broilers in interstate commerce, directly or through
                        its wholly-owned or controlled affiliates, to purchasers in the United
                        States.

                    xxi. Koch Farms LLC is a Tennessee limited liability company with its
                         headquarters in Chattanooga, Tennessee, and is a wholly-owned
                         subsidiary of Koch Foods, Inc. During the Class Period, Koch
                         Farms LLC sold Broilers in interstate commerce, directly or through
                         its wholly-owned or controlled affiliates, to purchasers in the United
                         States.

                   xxii. Koch Farms of Chattanooga LLC is a Tennessee limited liability
                         company with its headquarters in Chattanooga, Tennessee, and is a
                         wholly-owned subsidiary of Koch Foods, Inc. During the Class
                         Period, Koch Farms of Chattanooga LLC sold Broilers in interstate
                         commerce, directly or through its wholly-owned or controlled
                         affiliates, to purchasers in the United States.

                  xxiii. Koch Foods of Chattanooga LLC is a Tennessee limited liability
                         company with its headquarters in Chattanooga, Tennessee, and is a
                         wholly-owned subsidiary of Koch Foods, Inc. During the Class
                         Period, Koch Foods of Chattanooga LLC sold Broilers in interstate
                         commerce, directly or through its wholly-owned or controlled
                         affiliates, to purchasers in the United States.




523256                                     27
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 32 of 151 PageID #:21487




                  xxiv. Koch Foods of Morristown LLC is a Tennessee limited liability
                        company with its headquarters in Chattanooga, Tennessee, and is a
                        wholly-owned subsidiary of Koch Foods, Inc. During the Class
                        Period, Koch Foods of Morristown LLC sold Broilers in interstate
                        commerce, directly or through its wholly-owned or controlled
                        affiliates, to purchasers in the United States.

                   xxv. Koch Farms of Morristown LLC is a Tennessee limited liability
                        company with its headquarters in Chattanooga, Tennessee, and is a
                        wholly-owned subsidiary of Koch Foods, Inc. During the Class
                        Period, Koch Farms of Morristown LLC sold Broilers in interstate
                        commerce, directly or through its wholly-owned or controlled
                        affiliates, to purchasers in the United States.

            B. Tyson

                        i. Tyson Sales and Distribution, Inc. is a Delaware corporation with
                           its headquarters in Springdale, Arkansas, and is a wholly-owned
                           subsidiary of Tyson Foods, Inc. During the Class Period, Tyson
                           Sales and Distribution, Inc. sold Broilers in interstate commerce,
                           directly or through its wholly-owned or controlled affiliates, to
                           purchasers in the United States.

            C. Perdue

                        i. Perdue Foods, Inc. (presently dissolved) was a Maryland
                           corporation with its headquarters in Salisbury, Maryland and is a
                           wholly-owned subsidiary of Perdue Farms, Inc. During the Class
                           Period, Perdue Foods, Inc. sold Broilers in interstate commerce,
                           directly or through its wholly-owned or controlled affiliates, to
                           purchasers in the United States.

                       ii. Harvestland Holdings, LLC (presently merged) was a Maryland
                           limited liability company with its headquarters in Salisbury,
                           Maryland and is a wholly-owned subsidiary of Perdue Farms, Inc.
                           During the Class Period, Harvestland Holdings, LLC sold Broilers
                           in interstate commerce, directly or through its wholly-owned or
                           controlled affiliates, to purchasers in the United States.

                       iii. Perdue Food Products, Inc. (presently merged) was a Maryland
                            limited liability company with its headquarters in Salisbury,
                            Maryland and is a wholly-owned subsidiary of Perdue Farms, Inc.
                            During the Class Period, Perdue Food Products, Inc. sold Broilers in
                            interstate commerce, directly or through its wholly-owned or
                            controlled affiliates, to purchasers in the United States.

                       iv. Perdue Farms, LLC is a Maryland limited liability company with its
                           headquarters in Salisbury, Maryland and is a wholly-owned


523256                                       28
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 33 of 151 PageID #:21488




                          subsidiary of Perdue Farms, Inc. During the Class Period, Perdue
                          Farms, LLC sold Broilers in interstate commerce, directly or
                          through its wholly-owned or controlled affiliates, to purchasers in
                          the United States.

                     v. Perdue Farms Incorporated (presently merged) was a Maryland
                        limited liability company with its headquarters in Salisbury,
                        Maryland and is a wholly-owned subsidiary of Perdue Farms, Inc.
                        During the Class Period, Perdue Farms Incorporated sold Broilers
                        in interstate commerce, directly or through its wholly-owned or
                        controlled affiliates, to purchasers in the United States.

            D. Wayne Farms

                      i. WFSP Foods, LLC is an Alabama limited liability company with its
                         headquarters in Decatur, Alabama, and is a wholly-owned
                         subsidiary of Wayne Farms, LLC. During the Class Period, WFSP
                         Foods, LLC sold Broilers in interstate commerce, directly or
                         through its wholly-owned or controlled affiliates, to purchasers in
                         the United States.

            E. George’s

                      i. George’s Chicken, LLC is an Arkansas limited liability company
                         with its headquarters in Springdale, Arkansas, and is a wholly-
                         owned subsidiary of George’s, Inc. During the Class Period,
                         George’s Chicken, LLC sold Broilers in interstate commerce,
                         directly or through its wholly-owned or controlled affiliates, to
                         purchasers in the United States.

                     ii. George’s Family Farms, LLC is an Arkansas limited liability
                         company with its headquarters in Springdale, Arkansas, and is a
                         wholly-owned subsidiary of George’s, Inc. During the Class Period,
                         George’s Family Farms, LLC sold Broilers in interstate commerce,
                         directly or through its wholly-owned or controlled affiliates, to
                         purchasers in the United States.

                    iii. George’s Foods, LLC is an Arkansas limited liability company with
                         its headquarters in Springdale, Arkansas, and is a wholly-owned
                         subsidiary of George’s, Inc. During the Class Period, George’s
                         Foods, LLC sold Broilers in interstate commerce, directly or
                         through its wholly-owned or controlled affiliates, to purchasers in
                         the United States.

                     iv. George’s of Missouri, Inc. is an Arkansas corporation with its
                         headquarters in Springdale, Arkansas, and is a wholly-owned
                         subsidiary of George’s, Inc. During the Class Period, George’s of
                         Missouri, Inc. sold Broilers in interstate commerce, directly or


523256                                     29
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 34 of 151 PageID #:21489




                           through its wholly-owned or controlled affiliates, to purchasers in
                           the United States.

                      v. George’s Processing, Inc. is an Arkansas corporation with its
                         headquarters in Springdale, Arkansas, and is a wholly-owned
                         subsidiary of George’s, Inc. During the Class Period, George’s
                         Processing, Inc. sold Broilers in interstate commerce, directly or
                         through its wholly-owned or controlled affiliates, to purchasers in
                         the United States.

            F. Peco

                       i. Peco Farms of Mississippi, LLC is a Mississippi limited liability
                          company with its headquarters in Jackson, Mississippi and is a
                          wholly-owned subsidiary of Peco Foods, Inc. During the Class
                          Period, Peco Farms of Mississippi, LLC sold Broilers in interstate
                          commerce, directly or through its wholly-owned or controlled
                          affiliates, to purchasers in the United States.

            G. Pilgrim’s

                       i. PFS Distribution Company is a Delaware company with its
                          headquarters in Arlington, Texas and is a wholly-owned subsidiary
                          of Pilgrim’s Pride Corporation. During the Class Period, PFS
                          Distribution Company sold Broilers in interstate commerce, directly
                          or through its wholly-owned or controlled affiliates, to purchasers
                          in the United States.

                      ii. Merit Provisions, LLC is a Delaware limited liability company with
                          its headquarters in Dallas, Texas and is a wholly-owned subsidiary
                          of Pilgrim’s Pride Corporation. During the Class Period, Merit
                          Provisions, LLC sold Broilers in interstate commerce, directly or
                          through its wholly-owned or controlled affiliates, to purchasers in
                          the United States.

                      iii. GC Properties, LLC is a Georgia limited liability company with its
                           headquarters in Powder Springs, Georgia and is a wholly-owned
                           subsidiary of Pilgrim’s Pride Corporation. During the Class Period,
                           GC Properties, LLC sold Broilers in interstate commerce, directly
                           or through its wholly-owned or controlled affiliates, to purchasers
                           in the United States.

                      iv. Pilgrim’s Pride of Nevada, Inc. is a Nevada corporation with its
                          headquarters in Greeley, Colorado and is a wholly-owned subsidiary
                          of Pilgrim’s Pride Corporation. During the Class Period, Pilgrim’s
                          Pride of Nevada, Inc. sold Broilers in interstate commerce, directly
                          or through its wholly-owned or controlled affiliates, to purchasers
                          in the United States.


523256                                      30
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 35 of 151 PageID #:21490




                     v. PPC Marketing, Ltd. is a Texas company with its headquarters in
                        Pittsburg, Texas and is a wholly-owned subsidiary of Pilgrim’s
                        Pride Corporation. During the Class Period, PPC Marketing, Ltd.
                        sold Broilers in interstate commerce, directly or through its wholly-
                        owned or controlled affiliates, to purchasers in the United States.

                     vi. Pilgrim’s Pride Corporation of West Virginia, Inc. is a West
                         Virginia corporation with its headquarters in Greeley, Colorado and
                         is a wholly-owned subsidiary of Pilgrim’s Pride Corporation.
                         During the Class Period, Pilgrim’s Pride Corporation of West
                         Virginia, Inc. sold Broilers in interstate commerce, directly or
                         through its wholly-owned or controlled affiliates, to purchasers in
                         the United States.

            H. Foster Farms

                      i. Foster International Trading Company, Inc. is a corporation
                         affiliated with Foster Farms, LLC and/or Foster Poultry Farms.
                         During the Class Period, Foster International Trading Company,
                         Inc. sold Broilers in interstate commerce, directly or through its
                         wholly-owned or controlled affiliates, to purchasers in the United
                         States.

                     ii. Napoleon Poultry Supply, LLC is a Delaware limited liability
                         company with its headquarters in Livingston, California and is a
                         wholly-owned subsidiary of Foster Farms, LLC. During the Class
                         Period, Napoleon Poultry Supply, LLC sold Broilers in interstate
                         commerce, directly or through its wholly-owned or controlled
                         affiliates, to purchasers in the United States.

            I. OK Foods

                      i. O.K. Broiler Farms Limited Partnership was (presently dissolved)
                         an Arkansas limited partnership with its headquarters in Fort Smith,
                         Arkansas and is a wholly-owned subsidiary of O.K. Foods, Inc.
                         During the Class Period, O.K. Broiler Farms Limited Partnership
                         sold Broilers in interstate commerce, directly or through its wholly-
                         owned or controlled affiliates, to purchasers in the United States.

            J. House of Raeford

                      i. House of Raeford Farms of Louisiana, LLC is a Louisiana limited
                         liability company with its headquarters in Shreveport, Louisiana and
                         is a wholly-owned subsidiary of House of Raeford Farms, Inc.
                         During the Class Period, House of Raeford Farms of Louisiana, LLC
                         sold Broilers in interstate commerce, directly or through its wholly-
                         owned or controlled affiliates, to purchasers in the United States.



523256                                     31
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 36 of 151 PageID #:21491




                          ii. Johnson Breeders, Inc. is a North Carolina corporation with its
                              headquarters in Rose Hill, North Carolina and is a wholly-owned
                              subsidiary of House of Raeford Farms, Inc. During the Class Period,
                              Johnson Breeders, Inc. sold Broilers in interstate commerce, directly
                              or through its wholly-owned or controlled affiliates, to purchasers
                              in the United States.

                          iii. Columbia Farms of Georgia, Inc. is a South Carolina corporation
                               with its headquarters in Lavonia, Georgia and is a wholly-owned
                               subsidiary of House of Raeford Farms, Inc. During the Class Period,
                               Columbia Farms of Georgia, Inc. sold Broilers in interstate
                               commerce, directly or through its wholly-owned or controlled
                               affiliates, to purchasers in the United States.

                          iv. Raeford Farms of Louisiana, LLC is a Louisiana limited liability
                              company with its headquarters in Arcadia, Louisiana and is a
                              wholly-owned subsidiary of House of Raeford Farms, Inc. During
                              the Class Period, Raeford Farms of Louisiana, LLC sold Broilers in
                              interstate commerce, directly or through its wholly-owned or
                              controlled affiliates, to purchasers in the United States.

                          v. Columbia Farms, Inc. is a South Carolina corporation with its
                             headquarters in Columbia, South Carolina and is a wholly-owned
                             subsidiary of House of Raeford Farms, Inc. During the Class Period,
                             Columbia Farms, Inc. sold Broilers in interstate commerce, directly
                             or through its wholly-owned or controlled affiliates, to purchasers
                             in the United States.

         103.   When appropriate in the context, Case Foods, Keystone Foods, Amick Farms,

Allen Harim, and the subsidiaries and affiliates identified immediately above for certain Defendant

families, are referred to collectively in this Complaint as the “Producer Co-Conspirators.”

         104.   Various other persons, firms and corporations not named as defendants have

participated as co-conspirators with Defendants and have performed acts and made statements in

furtherance of the conspiracy. The Defendants are jointly and severally liable for the acts of their

co-conspirators whether or not named as defendants in this Complaint.

         105.   Whenever reference is made to any act of any corporation, the allegation means

that the corporation engaged in the act by or through its officers, directors, agents, employees or




523256                                          32
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 37 of 151 PageID #:21492




representatives while they were actively engaged in the management, direction, control or

transaction of the corporation’s business or affairs.

          106.   Each of the Defendants named herein acted as the agent or joint-venturer of or for

the other Defendants with respect to the acts, violations and common course of conduct alleged

herein.

          107.   Defendants are also liable for acts done in furtherance of the alleged conspiracy by

companies they acquired through mergers and acquisitions.

                                    V. TRADE AND COMMERCE

          108.   During the Class Period, each Defendant, directly or through its subsidiaries or

other affiliates, sold Broilers in the United States in a continuous and uninterrupted flow of

interstate commerce and foreign commerce, including through and into this judicial district.

          109.   During the Class Period, Defendants collectively controlled a majority of the

market for Broilers in the United States.

          110.   Defendants’ business activities substantially affected interstate trade and commerce

in the United States and caused antitrust injury in the United States.

                                    VI. FACTUAL ALLEGATIONS

    A. Background on Broilers.

                 1.   “Broilers.”

          111.   As used in this Complaint, “Broilers” are chickens raised for meat consumption to

be slaughtered before the age of 13 weeks, and which may be sold in a variety of forms, including

fresh or frozen, raw or cooked, whole or in parts, or as a meat ingredient in a value added product,

but excluding chicken that is grown, processed, and sold according to halal, kosher, free range, or

organic standards.




523256                                            33
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 38 of 151 PageID #:21493




                  2.   Broilers Are A Commodity.

          112.    According to a 2012 report by Focus Management Group, Broilers “are a

commodity product with little or no product differentiation based on the processors.”

          113.    Defendants acknowledge that Broilers are a commodity. For instance, Pilgrim’s

CEO commented in February 2014 that “I would add too, our business…the [Broiler] chicken

business per se is a commodity business.”

                  3.   The United States Broiler Market Is A National Market Worth Tens Of
                       Billions Of Dollars Annually.

          114.    According to the U.S. Poultry & Egg Association, the value of wholesale U.S.

Broilers produced in 2014 was $32.7 billion, up 6 percent from 2013. The market value varied

between $21.8 and $30.7 billion from 2008-2013.

          115.    There is a single national market for Broilers in the United States. Prices for

Broilers sold in the United States are quoted in whole bird or disassembled parts, with adjustments

for transportation, product form (i.e., degree of processing or added value), and packaging at the

time of sale.

          116.    About 50-70% of Broilers are sold under contract with a customer, about 10-20%

are sold on the spot market, and roughly 17-20% are exported.

          117.    According to expert testimony in July 2011 in Adams v. Pilgrim’s Pride,2 spot

market Broilers are “anything left over [that is] sold fresh” within 3 days. Broiler industry

executives sometimes refer to the Broiler spot market as the “sell it or smell it market,” meaning

that if the Broiler isn’t sold within 3 days, then it will rot. According to Janette Barnard, founder

of a spot market trading platform called The Poultry Exchange, “there are no secrets in the spot




2
    No. 2:09-cv-00397 (N.D. Tex.).


523256                                           34
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 39 of 151 PageID #:21494




market, very few anyway. As soon as a sales manager picks up the phone and calls a customer or

trader, the word is out and other people will soon know that X company has one load available.”

         118.   Exports of Broilers from the United States account for approximately 45% of all

United States meat exports. Broilers produced in the U.S. are exported to well over 100 different

countries, with the major export markets including Mexico, Canada, Hong Kong, and China. Some

of the exports from the United States include products less desirable to United States consumers,

such as chicken feet or dark meat, but exports also increasingly include white meats and other

products widely consumed in the United States.

         119.   Exports of Broilers from the United States have increased since 2007 both in

quantity and value. Before the Class Period, in 2006 exports constituted only 14.8% of U.S.

exports and increased to 16.5% by 2007. But between 2008-2014 export levels were never lower

than 18.5% of U.S. production levels, dropping down to 16% in 2015 due to export bans by

countries due to Avian Flu concerns.

         120.   While this complaint does not seek damages for Broilers sold into export

commerce, Broilers exported from the United States decrease available supply and increase Broiler

prices in the United States. Therefore, exports by Defendants were an important mechanism used

by Defendants to effect their United States-based Broiler market conspiracy.

                4.   Broiler Prices Have Risen Steadily Since 2008.

         121.   Broiler prices were significantly elevated during the Class Period due to

Defendants’ conduct. This is contrary to pricing patterns prior to the Class Period, and contrary

to what would be expected in a competitive market. For instance, during much of the Great

Recession, Broiler prices steadily rose despite flat or declining input costs. Similarly, Broiler

prices during the 2015 through 2016 time period remained artificially inflated and failed to account




523256                                          35
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 40 of 151 PageID #:21495




for the historic drop in corn and soybean prices, which constitute 50 – 70% of Broiler input costs

(see below, ¶ 365).




         122.   As of November 2013, a Bloomberg News compilation of industry analyst forecasts

predicted Broiler prices would drop 7.1% in 2014 due to a 50% fall in corn prices, but instead,

Broiler prices increased 9.2%. Since January 1, 2008, by one measure Broiler prices have been at

or near all-time highs roughly half of the time, even though the 2008-2009 period was during the

Great Recession.

                5.    Overview of the Georgia Dock, USDA Composite, Urner Barry, and EMI
                      Broiler price indices.

         123.   Broiler prices are reported primarily by three entities: Urner Barry (a commodity

price reporting service), the Georgia Department of Agriculture (aka “Georgia Dock,”), and the



523256                                         36
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 41 of 151 PageID #:21496




USDA. Additionally, as discussed below, Agri Stats collects detailed pricing information through

its subsidiary Express Markets, Inc. (“EMI”).

         124.   Urner Barry collects and publishes daily price information for Broilers, while for

the USDA’s Composite index, USDA collects and publishes Broiler price information on a weekly

basis. USDA’s Composite price index is publicly available for free. Urner Barry’s Broiler price

information is subscription-based, so all Broiler producers and many Broiler purchasers subscribe

for a fee. The USDA and Urner Barry’s Broiler price indices are based upon a system of double

verification, which includes telephonic and written surveys of all or nearly all Broiler producers,

but also verification of reported prices from Broiler purchasers such as brokers and customers.

The Georgia Dock price survey methodology, which contrasts materially with those of the USDA

and Urner Barry, is discussed below in Section VI(B).

         125.   The most detailed price report is not publicly available and is produced by Agri

Stats and its subsidiary, Express Markets, Inc. According to a May 2010 FarmEcon study, EMI’s

pricing report3 includes “pricing data on whole birds and chicken parts that is considerably more

detailed than the USDA,” Urner Barry, or Georgia Dock reports, as it is based on actual sales

invoices from Broiler companies.

         126.   Published prices for Broilers from Urner Barry, Georgia Dock, and USDA relate to

the spot market for Broilers. However, prices for Broilers, whether sold under contract or on the

spot market, generally move with spot market prices as reported by Georgia Dock or Urner Barry.



3
  Agri Stats subsidiary EMI was formed around 2000 to compete with the price reporting service of Urner
Barry. Unlike Agri Stats reports for Defendants, EMI releases daily pricing data to both Defendants and
potential purchasers of Broilers, though the reporting service costs thousands of dollars and is not publicly
available. EMI reports capture all transactions by Broiler producers, who automatically transmit invoice
information electronically from each transaction to EMI. The reports include all sales volume information
from the previous day, including the size of containers, type of cut, whether the product was chilled with
ice or CO2, the price, and numerous other pieces of information.


523256                                               37
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 42 of 151 PageID #:21497




         127.   Statements by Broiler company executives and industry experts confirm that

Broiler sales, whether by contract or on the spot market, are tied to spot market pricing. For

instance, Sanderson Farms CEO Joe Sanderson explained in a May 2008 speech that Sanderson

Farms’ contract sales to retail customers have prices tied to the Georgia Dock price survey and

Sanderson Farms’ contract sales to food distributors are “based on formulas tied to the Urner

Barry.” Similarly, expert economist Dr. Colin A. Carter from the University of California (Davis)

testified that “internal Pilgrim’s documents show that virtually all chicken products, even if they’re

not sold spot, are tied to the spot prices. . . . 83 percent of Pilgrim’s chicken sales are reflecting the

spot price within a given year. So there’s only about 16 percent of their sales that are not tied to

the spot market over a relatively short period of time.” Further, because half of “fixed contracts”

actually had terms tied to Broiler spot market prices, Dr. Carter concluded that 92% of Pilgrim’s

Broiler sales were tied to Broiler spot market prices such as Georgia Dock.

         128.   As a consequence of the inelasticity of supply and demand in the Broiler industry

(discussed below) and the availability of the spot market price indices (discussed above), public

price increase announcements by Defendants were unnecessary. Defendants knew and intended

that a decrease in supply pursuant to their agreement would increase Broiler spot market prices,

and therefore that all Broiler prices would increase.


   B. The Georgia Dock Price Index Is Highly Susceptible To Collusion. In Fact, Certain
      Defendants Apparently Have Manipulated It To Further Their Conspiracy.

         129.   The Georgia Dock price is compiled on a weekly basis by the GDA. For decades,

it has been used by producers and others as a benchmark to set Broiler prices. Until very recently,

little if any information was publicly available regarding how the GDA compiles the Georgia Dock

price. In fact, Defendants intentionally disseminated misinformation that the Georgia Dock price

is derived through a complex algorithm and is an accurate and reliable measure of actual Broiler


523256                                             38
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 43 of 151 PageID #:21498




transaction prices. Public revelations in early November 2016, however, indicate for the first time

that the Georgia Dock price index not only may be unreliable, but that its survey methodology

makes it susceptible to manipulation by Broiler producers.

         130.   To compile the Georgia Dock price index, according to an internal GDA document

provided recently to the New York Times through an open records request, “each participating

[Broiler producer] company is called [by the GDA] on Wednesday every week to report the price

offered to companies in which they have contracts in place with.” A single price is given by each

Broiler producer company and it is accepted without any verification of actual invoices, double-

verification with purchasers, or any other form of auditing to verify accuracy. Remarkably, in

response to a recent press inquiry, the GDA justified its failure to audit any self-reported data from

Defendants by stating, “We don’t see any reason they would submit information that wasn’t

truthful.”

         131.   Despite the GDA’s public statements about confidence in the Georgia Dock price

index, the GDA employee who collected prices each week from Broiler companies, Arty Schronce,

was deeply concerned. In a September 2016 internal GDA memorandum (hereinafter, “September

2016 Schronce Memorandum”) disclosed publicly for the first time on November 17, 2016, in a

Washington Post article, Mr. Schronce wrote that he “continue[d] to have concerns about” the

Georgia Dock, had “voiced concerns in the past,” and that he thought the Georgia Dock price index

was “a flawed product that is a liability to the Georgia Department of Agriculture.” Mr. Schronce

also noted, “I was told that poultry companies know what they are doing and all I need to do is to

gather and consolidate the info I am provided. However, I have come to question the validity of

some of the information provided.” Mr. Schronce also reported that the Broiler companies




523256                                           39
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 44 of 151 PageID #:21499




reporting prices to him gave “lackadaisical and rude responses to my requests for information,”

such as responding “just keep em’ the same” when asked for a company’s updated Broiler price.

         132.   The Broiler companies that participated in the Georgia Dock price survey during

the relevant time period all own at least one Broiler processing facility located within the State of

Georgia. They included Defendants Pilgrim’s, Tyson, Fieldale Farms, Perdue, Sanderson Farms,

Koch Foods, and Wayne Farms, Claxton Poultry, Mar-Jac Poultry, and Harrison Poultry.

According to the GDA, each weekly price report from these Broiler producers is weighted to

account for the particular company’s market share of Broilers processed in Georgia (referred to by

GDA as that company’s “voice”). A preliminary calculation is made based on the single price

quotation from each company, then “[a]ny company that provides a whole bird quote that is more

than one cent above or below the initial dock price calculation will not be included in the

calculation for the whole bird dock price that week. Its voice is taken out of the formula and the

dock price is recalculated without it” (hereinafter, the “One Cent Rule”). According to internal

GDA documents, the One Cent Rule is meant “to shield [] one company having the ability to

greatly influence the price up or down.”

         133.   The price quoted by each company to the GDA is based on 2.5-to-3 pound whole

Broilers, but only a handful of companies who report to GDA actually process 2.5-to-3 pound

birds in Georgia, so internal GDA documents state that Broiler companies “are supposed to adjust

their whole bird quote as if they are producing that sized bird.” Once the final Georgia Dock whole

bird price is calculated, then the GDA uses a formula to calculate prices for different Broiler cuts

and parts of those whole birds, but that calculation is based entirely on the single original price

that each Broiler company provided to the GDA each Wednesday.




523256                                           40
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 45 of 151 PageID #:21500




         134.   Historically, the Georgia Dock price was roughly comparable to the prices reflected

by the Urner Barry, EMI, and USDA Composite indices. However, beginning around January

2015, the Georgia Dock price began to depart significantly from the pricing reflected by the EMI,

Urner Barry, and USDA Composite indices (see above, ¶ 121).4

         135.   The significant difference between the Georgia Dock price index and other Broiler

price indices in recent years cannot be explained by only one or two outlier companies reporting

artificially high Broiler prices to the GDA, as the One Cent Rule requires that outlier prices

deviating by more than one cent from the initial dock price be excluded from the final Georgia

Dock price. Instead, the deviation of the Georgia Dock price index from other indices – indices

that are themselves based on verified sales by Defendants – can only be attributed to all or nearly

all participating Broiler producers collectively submitting artificially high and identical or very

nearly identical Broiler prices to the GDA.

         136.   The September 2016 Schronce Memorandum confirms the significance of the One

Cent Rule. Mr. Schronce’s memorandum noted that after a January 2016 article about the Georgia

Dock price index in the Wall Street Journal (see below, ¶ 298), one “company appears to basically

not take part in the Whole Bird Dock Price process. They seem to deliberately submit a low bid

that they know will be kicked out. However, they can claim that they are submitting something

lower. In essence, they can take advantage of a high whole bird price while maintaining that they

want it to be lower.”

         137.   To facilitate their control of the Georgia Dock price, Defendants convinced the

GDA to convene a secret “Georgia Dock Advisory Committee” composed of senior executives



4
  To be clear, Plaintiffs allege that prices reported in the EMI, Urner Barry, and USDA Composite price
indices during the Class Period were also supracompetitive and artificially inflated by the conduct of
Defendants and their Co-Conspirators, as alleged in this Complaint.


523256                                            41
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 46 of 151 PageID #:21501




from eight Defendants to advise the GDA on the Georgia Dock price. The Georgia Dock Advisory

Committee recently included Gus Arrendale (CEO, Fieldale Farms), Mike Welch (CEO &

President, Harrison Poultry), Jerry Lane (Former CEO, Claxton Poultry), Jayson Penn (EVP Sales

& Operations, Pilgrim’s), Pete Martin (VP of Operations, Mar-Jac), Vernon Owenby (Plant

Manager (Cumming, GA), Tyson), Steve Clever (VP of Fresh Sales, Wayne Farms), and Dale

Tolbert (VP of Sales, Koch Foods). Prior to November 10, 2016, the existence and conduct of this

secret Georgia Dock Advisory Committee was not known to Plaintiffs. In his September 2016

Schronce Memorandum, Mr. Schronce wrote “I have questions about the ‘Advisory Board’ and

its role over an office of a state regulatory agency that is supposed to be independent. I was told I

could not make any changes without clearing them with the Advisory Board.”

         138.   USDA publishes a weekly report on poultry production and prices called the Broiler

Market News Report (“USDA BMNR”), which until very recently included a re-print of the

GDA’s separately compiled Georgia Dock price.            According to the November 17, 2016,

Washington Post article, the GDA stated that “a review process began in December 2015 after

‘serious concerns’ emerged” with the Georgia Dock price. Sometime in the first half of 2016, the

USDA began investigating how the Georgia Dock price survey was conducted.

         139.   On July 19-20, 2016, high level USDA officials met with GDA representatives in

Atlanta, Georgia to discuss the Georgia Dock price. The USDA officials shared their conclusion

that GDA could no longer simply accept Broiler prices from Defendants without verification, and

instead would have to verify invoice-level data to confirm reported prices. On July 20-21, 2016,

USDA officials requested that the GDA provide the USDA with data from Broiler producers to

“test and review” the Georgia Dock price for accuracy.




523256                                           42
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 47 of 151 PageID #:21502




         140.   On July 22, 2016 USDA’s weekly BMNR publication noted that beginning on

August 5, 2016, GDA “will be issuing a new weekly market report for negotiated Georgia

broiler/fryer whole birds and bird parts, which will replace the current [Georgia Dock price].” The

GDA did not comply with USDA’s August 5 deadline, however, and in the August 5 USDA

BMNR all price information from the GDA and Georgia Dock was removed and only a hyperlink

to the GDA’s website was included.

         141.   During the weeks after the July 19-20 meeting with the USDA, the GDA

coordinated closely with Defendants and the Georgia Poultry Federation—the Broiler industry’s

representative—to determine how to deal with the USDA’s inquiry into the Georgia Dock price.

Within the GDA, high level officials began to raise antitrust concerns regarding the Georgia Dock.

For instance, a July 27, 2016, report from GDA Director of Regulatory Compliance & Budget

Alec Asbridge to GDA Commissioner Gary Black concluded that “[t]he top 10 poultry producing

companies now control over 80% of the industry output. The combination of vertical integration,

limited competition and lowered production periods has led to steady prices that have shown to be

fairly resistant to changing market conditions. These factors alone illicit [sic] anti-trust review.”

(emphasis added).

         142.   GDA Director Asbridge’s July 27, 2016, report also noted that over time, the GDA

became a vehicle for Defendants to “report[] a weighted average price per pound on broilers

[Georgia Dock price] based off of contracts that have been determined at the private level and

reported without regulatory oversight. The formulas to calculate weighted average prices have

been determined on the private level and have not been standardized since the inception of the

[GDA Poultry Market News division] in 1968, which there is no written record of.” (emphasis




523256                                           43
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 48 of 151 PageID #:21503




added). In other words, it was Defendants themselves who wrote the rules and formulas that make

up the Georgia Dock price, not the GDA.

          143.    Director Asbridge’s July 27, 2016, report also concluded that “[t]he extent of the

use of the [Georgia Dock price] in contract negotiations is presently unknown but inquiries made

by media and other governmental entities indicate that it is utilized on a more regular basis than

previously expected.” (emphasis added). In short, the GDA had been publishing the Georgia Dock

price for decades, but until the last few months, apparently did not know the scope of reliance on

the Georgia Dock price. Notably, a revised and highly sanitized version of the July 27, 2016 report

from Director Asbridge to GDA Commissioner Black was circulated internally at GDA on August

5, 2016. The sanitized August 5 report removed references to the existence of factors in the Broiler

industry eliciting “antitrust review” and to the fact that the Georgia Dock price was reported for

decades by GDA “without regulatory oversight.”

          144.    On August 12, 2016, GDA Director Asbridge provided Georgia Poultry Federation

President Mike Giles with the sanitized version of the report and asked Giles to review it before

the GDA sent it to the USDA, “to ensure what I presented is accurate and best represents industry’s

concern with only reporting a spot price.” As noted elsewhere in this Complaint, the Georgia

Poultry Federation represents the poultry industry in Georgia, and most Defendants are members.5

Remarkably, the GDA also noted in a separate email the same day to Giles and the Georgia Poultry

Federation that “[t]he GDA is in agreement with the poultry industry that there is no desire to

review invoices for verification of data reported,” even though the information and means to do so

are readily at hand—Defendants and their co-conspirators already report such invoice information

to Agri Stats on a daily basis. According to a subsequent email dated August 24, 2016, Georgia



5
    See ¶ 335 below.


523256                                            44
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 49 of 151 PageID #:21504




Poultry Federation President Giles called GDA Director Asbridge back and gave “his and

industry’s sign off on the dock price summary report. We can move forward with sending to

USDA.” GDA Director Asbridge also proposed another meeting between GDA and the Georgia

Poultry Federation to discuss recommendations about verifying Georgia Dock data.

         145.   On October 6, 2016, a USDA press release noted the expansion of its National

Whole Broiler/Fryer report, which included new weekly price information regarding 2.5-to-3

pound Broilers that replaced the same weight Broiler previously reported by the Georgia Dock

price. Importantly, the new USDA price roughly matched the Urner Barry price, suggesting that

the Georgia Dock price continues to be subject to manipulation by Defendants and does not reflect

actual market prices.

         146.   In an email dated October 7, 2016, a GDA official reported to the USDA that it had

not determined how to proceed with new verification procedures for the Georgia Dock price, as it

was “cultivating multiple opinions on usefulness as well as playing with various algorithms.”

         147.   On November 3, 2016, the New York Times published the first account of the

USDA’s inquiry into the Georgia Dock, based on information received via Freedom of Information

Act and open records requests for internal USDA and GDA documents.                 Subsequently, a

November 8, 2016, article by the Washington Post provided additional detail on the inquiry,

including a comment from the USDA that “they discontinued publishing the Georgia Dock price

‘when data from the source report could not be independently verified.’” In the Washington Post

article, Sanderson Farms CFO Mike Cockrell was quoted as saying “the Georgia Dock has come

to be a trusted reflection of the supply and demand for retail stores.” In a press release cited in a

Bloomberg News article on November 17, 2016, Tyson stated that “[w]hen the Georgia

Department of Agriculture asks us for pricing data, we provide accurate information based on




523256                                           45
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 50 of 151 PageID #:21505




actual and recent transactions.” Sanderson Farms’ and Tyson’s continued defense of the Georgia

Dock price index as one that customers should trust shows that Defendants continue their efforts

to conceal the conspiracy alleged in this Complaint.

    C. Defendants and Their Producer Co-Conspirators Relied Upon Agri Stats To
       Facilitate Conspiratorial Communications And To Provide Data And Analysis
       Critical To The Monitoring And Enforcement Of The Conspiracy.

         148.   According to a May 2010 study prepared for the National Chicken Council

(“NCC”), Agri Stats, Inc. is a private company that generates Broiler industry data “considerably

more detailed than [] USDA reports,” including data on weighted average price, top third average,

bottom third average, and volume traded on a daily, weekly, and monthly basis, and supply, sales

volume by detailed product type and form, export, and pricing information for whole and cut-up

Broilers.6 The USDA and various other entities publish aggregated weekly, monthly, and annual

supply and pricing information concerning the Broiler industry. But only Agri Stats provides

Defendants and other producers information with sufficient detail for an informed subscriber to

determine with reasonable accuracy producer-specific production, cost, and general efficiency

data. Agri Stats also collects from and reports back to Defendants and their Producer Co-

Conspirators detailed statistics on almost every conceivable operating metric within the industry.

         149.   Every Defendant and Producer Co-Conspirator included in this complaint is known

to participate in Agri Stats and provides and receives the detailed information described in this

complaint. Additionally, certain entities acquired by Defendants have previously participated in

Agri Stats, including Cagle’s, Inc., BC Natural Chicken, Peterson Farms, and Townsend’s.




6
  Because Agri Stats reports are not publicly available, see, e.g., ¶¶ 160, 162, Plaintiffs’ allegations
regarding Agri Stats and its reports are upon information and belief, except as to the public statements
alleged herein.


523256                                            46
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 51 of 151 PageID #:21506




         150.   Agri Stats has profited from collecting and reporting Defendants’ and Producer Co-

Conspirators’ confidential business information, including by charging substantial fees of

hundreds of thousands of dollars annually to each Defendant and Producer Co-Conspirator.

Around March 2014, Agri Stats was acquired by the Eli Lilly Company, which has allowed Eli

Lilly to sell drugs and vaccines to Broiler producers based on the information Eli Lilly obtains

through Agri Stats about producers’ operations.

         151.   According to former Pilgrim’s CEO Don Jackson, Agri Stats is “basically a [] third

party accounting firm that companies [use] in their process.” Agri Stats claims its mission is to

“[i]mprove the bottom line profitability for our participants by providing accurate and timely

comparative data while preserving confidentiality of individual companies.” Agri Stats describes

itself as a “benchmarking” service, which it says “allows organizations to develop plans on how

to adopt best practice, usually with the aim of increasing some aspect of performance.”

         152.   According to an expert witness for Pilgrim’s in contract-farmer litigation against

Pilgrim’s, “[p]robably no one in the industry would know better than [Agri Stats economist] Mike

Donahue [as to whether Broiler production increased in 2008] because EMI is the same company

as AgriStats, which is the company that gathers operating statistics from virtually every company

in the chicken industry. And they know definitively how many breeders are out there, how many

pullets are out there, how many broilers are produced every week, and head count and pounds,

everything else. They have massive amounts of statistics. And that’s why they’re so effective at

reporting all of this [production information].”

         153.   Upon information and belief, in the wake of a $1.3 billion jury verdict in 2004

against Tyson for a conspiracy to manipulate pay to cattle farmers, increased fears of antitrust




523256                                             47
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 52 of 151 PageID #:21507




liability led Tyson to withdraw from Agri Stats. However, in or around January 2008, Tyson

resumed its participation in Agri Stats.

         154.   Upon information and belief, certain Agri Stats reports list complex-level data for

roughly 120 Broiler complexes and identify each complex with unique numbers, including

identifying the sub-region of the data for each Broiler complex.

         155.   Agri Stats purports to maintain the confidentiality and anonymity of individual

companies’ data by providing each company a report identifying only that company’s specific

Broiler complexes by name, but not identifying by name other Broiler producers’ complexes

described in the report. For instance, in May 2008 Sanderson Farms CEO Joe Sanderson claimed

“[w]e use Agri Stats, which some of you are probably familiar with. Agri Stats is a benchmarking

service that we submit data to. Almost everyone in our industry does as well. And we get the data

back. It’s anonymous – the data is anonymous, so we don’t know whose numbers the numbers

belong to, but we can see performance indicators all over the industry.”

         156.   However, upon information and belief, Agri Stats reports are so detailed that a

reasonably informed producer can discern the identity of competitors’ individual Broiler

complexes, and it is common knowledge among producers that others can do so. For example, the

specific type or size of a Broiler house, breed of chick, average bird size, and production levels

listed in Agri Stats data for complexes allows an industry insider to identify each Defendant’s

individual Broiler complexes. Some Defendants refer to the task of determining the identity of

individual competitor’s data as “reverse engineering.”

         157.   Each Defendant and Producer Co-Conspirator receives numerous types of Agri

Stats reports, including separate targeted reports for each major area of operations including, but

not limited to, its breeding, hatching, hauling, feeding, processing, selling, and administration,




523256                                          48
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 53 of 151 PageID #:21508




which are regularly shared with area managers specifically dealing with those categories of

information in their daily business. Summaries of these separate Agri Stats reports are regularly

provided to Defendants’ and Producer Co-Conspirators’ senior executives. Within each report,

unique information referring to supposedly “anonymous” data permits Defendants and Producer

Co-Conspirators to identify their competitors’ information contained within each category of

report.

          158.   While some of Defendants’ and Producer Co-Conspirators’ managers received the

targeted reports for the specific aspects of Broiler operations for which they have responsibility,

only the CEO, CFO, and a few other top executives at Defendants and Producer Co-Conspirators

are given access to Agri Stats’ monthly “Bottom Line Report” that is geared to top level executives

at each company. The contents of the Bottom Line report are a closely guarded secret by company

executives. The report contains one row for each Broiler company reporting to Agri Stats, then

has columns for certain categories of information, such as operating profit dollars, profit

percentage, corporate SG&A (aka overhead), interest expense, and other key operational

information. While each company receives a report that only identifies by name that particular

company’s “row” in the Bottom Line Report, top executives at each company know their

competitors well enough to pick out recurring unique data points for other companies such that

they are often able to identify competitors on the Bottom Line Report. Furthermore, Tyson,

Pilgrim, and Sanderson are public companies which report some aggregated data publicly, which

top executives from other companies then can match up against the far more detailed information

in the Bottom Line Report to help identify specific data from these companies. In other instances,

a company’s interest expense data in Agri Stats can be matched up against information already

known about each Defendant’s and Producer Co-Conspirator’s debt level.




523256                                          49
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 54 of 151 PageID #:21509




         159.   Even if a producer is unable to individually identify a specific competitor’s data

from the Bottom Line Report, Agri Stats’ employees are able to confirm for Defendants and

Producer Co-Conspirators the data for a particular company at quarterly meetings with each

company or at the numerous trade association meetings where Agri Stats executives present on a

regular basis. For instance, Agri Stats provided a service to Defendants whereby each quarter Agri

Stats would meet each Defendant’s and Producer Co-Conspirator’s executives and make a detailed

presentation about company and industry data. At these presentations, Agri Stats would lead

detailed discussions about industry profitability and the key factors that contribute thereto,

including items such as size and average age of Broiler breeder flock, average hatchability of eggs,

mortality rates, average bird rate, feed cost, and other performance factors based on data

Defendants and Producer Co-Conspirators provided. At these presentations Agri Stats would also

lead discussions about the overall profit of the company and industry, including rankings of

companies, overall industry average, and top and bottom third of the industry. Agri Stats would

also tell company executives how much the industry was over- or undersupplying the market,

indicate its estimate of demand, and share other information based on the data Defendants

provided. At such meetings, Agri Stats would often be asked to confirm the identity of a particular

competitor in an Agri Stats report, which it could do more subtly during the Q&A portion of the

meeting. Further, since Agri Stats travelled between each Defendant and Producer Co-Conspirator

regularly and discussed each Defendant’s and Producer Co-Conspirator’s non-public, proprietary

data, Agri Stats was in a unique position to share information among Defendants and Producer Co-

Conspirators.

         160.   Agri Stats reports are as yet not publicly available because Defendants, Producer

Co-Conspirators, and Agri Stats permit only participating Broiler producers to receive the reports.




523256                                          50
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 55 of 151 PageID #:21510




Accordingly, there is little publicly available information about even the categories of information

contained in the lengthy weekly and monthly reports each Broiler producer receives. For instance,

in response to a request for production of Agri Stats reports by the State of Oklahoma in litigation

involving environmental issues, George’s Inc. responded that Agri Stats “information is

proprietary, privileged and is also confidential business/financial information not subject to

disclosure.” Nevertheless, despite the tight control over Agri Stats data, the National Chicken

Council has ready access to it and relies on Agri Stats data summaries for its studies and

publications.

         161.   Upon information and belief, Agri Stats’ survey methodology involves direct

electronic data submissions on a daily, weekly, and monthly basis of financial, production,

capacity, cost, and numerous other categories of information by each Broiler producer. At each of

Defendants’ and Producer Co-Conspirators’ Broiler complexes, an employee is responsible for

submitting its data to Agri Stats. Agri Stats relies upon a detailed audit process to verify the

accuracy of data from each complex, sometimes directly contacting Defendants and Producer Co-

Conspirators to verify data.

         162.   While Agri Stats reports are a closely guarded secret by Defendants and Producer

Co-Conspirators, based on a handful of public comments by Defendants’ and Producer Co-

Conspirators’ senior executives and other information, and after an extensive investigation,

Plaintiffs believe and allege that Agri Stats reports include at a minimum the following categories

of information:

                A.     Name of genetics company used for primary breeder stock;
                B.     Hatchery capacity, costs, and age of Broiler breeder flocks;
                C.     Feed Manufacturing, Delivery and Formulation data, including corn and
                       soybean meal costs;




523256                                          51
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 56 of 151 PageID #:21511




                D.    Growout information for Broiler “flocks” provided to contract farmers,
                      including the number of Broilers placed, chick mortality by week and
                      overall percentage, chick cost, days between flocks provided to contract
                      farmers (aka, “down time”), feed conversion rate (pounds of feed per pound
                      of Broiler), average daily weight gain by chicks, live pounds produced per
                      square foot of grower house, grower compensation, including average
                      grower payment in cents per pound and cents per square foot, breed
                      composition of flock (breed or cross-breed of flocks), detailed information
                      on numerous mechanical aspects of Broiler housing, and numerous other
                      detailed cost, mortality, and operational information about disease,
                      transportation, labor, and other grow out related information;
                E.    Slaughter, processing, and further processing information, including pay for
                      processing plant workers, total production volume, market age of Broilers
                      at slaughter, weight of Broilers at slaughter, birds per man hour, processing
                      line speeds, and labor hours per pound;
                F.    Inventory levels of Broilers;
                G.    Sales data for finished product form and type, such as type of cut (whole
                      bird, cut-up, deboned), various packaging forms (such as bulk, tray pack,
                      etc.), and data segmented into various categories (such as exports, retail,
                      foodservice, etc.); and
                H.    Financial information, such as monthly operating profit per live pound,
                      sales per live pound, and cost per live pound.

         163.   Defendants and Producer Co-Conspirators rarely mention their “proprietary,

privileged, and confidential” exchange of information with one another through Agri Stats.

However, on a very small number of occasions, Broiler producers (primarily Sanderson Farms)

have referenced Agri Stats information on earnings calls or in public statements. For instance:

                A.    Sanderson Farms reported in May 2008 that “every year we review our
                      operations and every facet within Agristats… we set operational goals every
                      year . . . and [we] try to improve our operations within this benchmarking
                      service we call Agristats.”
                B.    Sanderson Farms CEO Joe Sanderson commented on a December 2009
                      earnings call that “my judgment is that based on what I see in Agr[i] stats
                      nobody is planning on, pullet placements say no ramp up and what I’ve
                      gleaned from Agr[i] stats, people are not planning on ramping up. I see a lot
                      of information from Agr[i] stats that tells me that nobody is going to ramp
                      up.”



523256                                         52
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 57 of 151 PageID #:21512




                C.     Sanderson Farms CEO Joe Sanderson commented in a May 2011 earnings
                       call that “my judgment is that there will be some others that are going to
                       have to make some adjustments that I believe cuts will be forthcoming in
                       our industry based on the losses we see in Agri Stats.” Asked later on the
                       call by an analyst why he had said on the call and a few months earlier that
                       he “feel[s] confident that we are going to see cutbacks” based on Agri Stats
                       data, Sanderson indicated “industry participants expected that [the market
                       would improve in June and July] and I think they wanted to carry their
                       production into June and July and see if the market would reward them for
                       that it appears right now. . . . And then once you get past July 4 . . . I think
                       then you will start seeing reduced egg sets. . . . Typically in my experience
                       the first cut is not enough and you go back and look at 2008, I think the
                       industry started cutting back maybe in June and that cut back was not
                       enough and then they made another cut in the late fall and I believe the
                       industry became profitable in January.”
                D.     At a May 19, 2010 BMO Conference, Tyson compared its operating profit
                       per live pound statistic from Agri Stats against what it said were the total of
                       121 plants in the Agri Stats survey.
                E.     Tyson Foods noted in a December 2014 investor presentation that “[t]he
                       point being is that when you talk about the chicken cycle, most people will
                       look at the cyclicality. It’s very profitable right now. And we will not hit the
                       top of the top, because within the profitability segmentation right now, the
                       most profitable segments are in fact big bird, and secondly, tray pack. We
                       can tell that through Agri Stats. Now at the same time, when there is more
                       poultry available and the industry may not be as profitable, we would not
                       expect to be anywhere close to what the bottom of that cycle would be.”

         164.   Similar to Defendants and Producer Co-Conspirators, Agri Stats on occasion refers

to the secret exchange of information it facilitates among Defendants and Producer Co-

Conspirators. In many instances, Agri Stats has played the role of industry cheerleader rather than

industry benchmarking service, with Agri Stats suggesting specifically how much Broiler

production should be cut based on Agri Stats data.

                A.     In July 2012 trial testimony in a contract-farmer lawsuit against Pilgrim’s,
                       testimony revealed that a November 2008 Agri Stats report “made
                       statements to the effect that it thought the industry was 5-percent
                       oversupplied . . . relative . . . to demand.”
                B.     Agri Stats holds regular “poultry outlook conferences” for meat industry
                       executives. For instance, Agri Stats hosted an April 23, 2015, conference


523256                                           53
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 58 of 151 PageID #:21513




                  in Atlanta, Georgia for which an agenda indicated a presentation by Agri
                  Stats Vice President Sue Trudell would be provided concerning the “broiler
                  market situation and outlook” and an analysis of feed and macroeconomic
                  factors. Such presentations are restricted from circulation outside the
                  invited participants to EMI’s poultry outlook conference and are not
                  publicly available.
            C.    Defendant Sanderson Farms invites Agri Stats employees to present about
                  the industry to Sanderson’s own investors, such as an October 18, 2013,
                  presentation by Agri Stats Vice President Sue Trudell.
            D.    In January 2009 Agri Stats Vice President Mike Donohue commented that
                  “We [i.e., Broiler producers] are an industry that is in demand . . . . We
                  have a product that people want and continue to consume.” (emphasis
                  added).
            E.    Agri Stats subsidiary EMI also holds regular invitation-only “Analytics
                  Web Conference” calls.
            F.    Agri Stats Vice President Donohue also frequently appears at industry
                  events, such as the Spring 2011 IPE conference. Donohue provided
                  comments as part of an annual “market intelligence” forum about various
                  industry performance metrics. Additionally, Donohue’s co-panelist, Broiler
                  industry insider Paul Aho, explicitly suggested “[t]he market is calling for
                  around a 5% reduction in chicken production” in order for producers to
                  achieve higher prices in 2011.
            G.    Donohue also authors articles for the Agri Stats publication EMI Vital
                  Signs. For instance, the sole “sample” publication available on EMI’s
                  website is a May 2013 article in EMI Vital Signs by Donohue, which
                  analyzes whether Broiler producers could continue to achieve high profit
                  levels. Donohue carefully analyzed Agri Stats data concerning pricing,
                  inventory, and production levels, ultimately concluding “[w]hen supply and
                  demand factors are in good shape the industry can get a good return on
                  investment and for the short and medium term it appears that there is
                  certainly room for optimism in these factors.”
            H.    Donohue helps forecast supply and demand for the Broiler industry by using
                  Agri Stats data on breeder placements and inventory. For instance, at the
                  US Poultry & Egg Association’s Hatchery-Breeder Clinic in January 2012,
                  Donohue noted that chicken breast prices were at a particularly high level
                  and “[i]t’s not just cutbacks in production that have already occurred but
                  seasonal demand later this year which may set the industry up for an even
                  better first half of 2012,” he said. “I hope this carries over into the latter half
                  of 2012 based on some of the production forecasts that can be made based
                  on breeder placements and inventories.” Donohue also noted a concern that



523256                                       54
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 59 of 151 PageID #:21514




                       “if the industry chose to do so, it could ramp up production within a 10-
                       week period of time. The industry could blow apart any recover[y] in the
                       short term by filing up incubators again,” but noted that Agri Stats data
                       indicates the industry is slaughtering breeder flocks at 59 to 60 weeks
                       (instead of the typical 65 weeks), which suggested to him the industry was
                       managing its production carefully.

         165.   One Broiler industry expert testified in a contract-farmer case that the sharing of

information through Agri Stats by Broiler producers regarding pay for contract-farmers creates “a

potential vehicle for collusion” and presents a “classical antitrust concern.” This conclusion is

important because besides Defendants, their agents, and their Producer Co-Conspirators, only

expert witnesses and court-approved advisors in a handful of prior litigation have even seen an

actual Agri Stats reports, but such individuals are expressly prohibited from publicly releasing or

discussing such reports by the terms of protective orders Defendants and Producer Co-

Conspirators require before producing Agri Stats reports in discovery. The same expert also

remarked that Agri Stats was unusual even among other price surveys, noting “[t]he sharing of

price and other market information by so-called competitors is well known as a significant antitrust

issue. Grower payout and cost information shared by most integrators is incredibly detailed and

comprehensive. As such it could provide critical data for competition investigations and analyses

of oligopoly and oligopsonistic behavior far more complex and advanced than available for any

other agricultural industry. An intensive inquiry is needed.”

         166.   There is no plausible, non-conspiratorial justification for Defendants and Producer

Co-Conspirators to use Agri Stats to secretly share highly confidential and proprietary information

about their pricing, capacity, production, and costs at the level of detail at which they do. In a

competitive market, such proprietary, competitively sensitive information would be a closely

guarded secret. Economic theory suggests that the routine exchange among competitors of such

sensitive internal company information reduces the intensity of competition.


523256                                          55
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 60 of 151 PageID #:21515




         167.   The FTC’s and DOJ’s 2000 Guidelines For Collaborations Among Competitors

(“FTC/DOJ Guidelines”), and presentations by FTC attorneys, suggest that Agri Stats is far outside

the scope of permissible information sharing among competitors. For example:

                A.     The FTC/DOJ Guidelines note the high risk of antitrust issues for
                       information sharing programs in industries with a history of collusion.
                B.     The more competitively sensitive the information being shared, the higher
                       the antitrust concern for such information sharing. Upon information and
                       belief, the weekly and monthly Agri Stats reports include dozens of
                       categories of detailed information that in a competitive industry would be
                       considered trade secrets. Therefore, the competitive sensitivity of Agri
                       Stats reports suggests a particularly high level of antitrust concern.
                C.     The older or more historical the information being shared, the less concern
                       the FTC and DOJ have with information collaborations. However, Agri
                       Stats reports are issued weekly and/or monthly, and its EMI reports are
                       issued daily, so as to provide nearly current production, sales, and other data
                       to Defendants. Moreover, the nature of Broiler breeder flocks is that they
                       predict future Broiler supply, so by sharing such information in a way that
                       permits company-by-company identification, Defendants are in fact sharing
                       future anticipated production information with one another, which clearly
                       suggests high antitrust concern under the FTC/DOJ Guidelines.
                D.     The FTC/DOJ Guidelines also provide a “safety zone” (i.e., presumptively
                       permissible) for collaborations among competitors that account for no more
                       than 20 percent of each relevant market in which competition may be
                       affected, but Defendants account for approximately 90-95% of Broiler
                       production.


   D. Defendants Coordinated Production Cuts To Stabilize And Then Increase The Price
      Of Broilers From 2008-2012, Then Continued Depressing Broiler Supply To
      Maintain Artificially High Prices.

         168.   As alleged in this Complaint, Defendants engaged in a conspiracy to fix, raise,

stabilize, and maintain the price of Broilers throughout the Class Period. Defendants’ acts,

practices, and course of conduct in furtherance of their conspiracy evolved over time and included

but were not limited to the following: engaging in continuous communications on confidential and

proprietary business matters to eliminate price competition; allocating market shares; restricting



523256                                           56
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 61 of 151 PageID #:21516




supply of Broilers; using input costs and other events as a pretext for industry-wide production

cuts; manipulating one or more publicly reported Broiler price indices; and concocting

mechanisms to nullify competitive sales processes to their customers. Examples of Defendants’

conduct are described in detail below.

         169.   In 2008, Pilgrim’s retained consultant Bain & Company to analyze its business

operations. Bain outlined a strategy for Pilgrim’s to help reshape the dynamic of the Broiler

industry. The Bain plan suggested that Pilgrim’s management needed to take action to reduce

supply in the Broiler industry, similar to other industries which in the then-recent past had been

able to restrict production and increase prices.

         170.   Defendants adopted the euphemism “capacity discipline” or simply “discipline” to

refer to their agreement to limit Broiler production. The key to “production discipline” and

“capacity discipline” is widespread participation by the industry. Broiler companies will not reap

outsized profits if only one or a few Broiler companies exercise discipline by cutting production.

Put differently, if a single Broiler company reduces Broiler capacity, there is no guarantee that

competitors will do the same, and therefore the company acting alone has simply ceded market

share to its competitors. However, if other Broiler companies similarly exercise discipline and

reduce capacity and production, Broiler purchasers will be faced with resulting higher prices,

which they will have no choice but to pay. The alternative – to not purchase Broilers – is not an

option for most of Defendants’ customers.

         171.   Thus, exercising capacity discipline will only benefit a Broiler company if it knows

or is reasonably sure that its competitors will do likewise. Absent such assurance, it would be

against each Broiler company’s independent self-interest to cut capacity and production. In

Defendants’ case, their shared commitment to capacity discipline was made feasible and rational




523256                                             57
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 62 of 151 PageID #:21517




by their knowledge that each had agreed to engage in the same capacity limitations. As explained

in this complaint, Defendants repeatedly confirmed to each other that they remained committed to

this agreement by publicly (and privately) discussing their plans to continue exercising “capacity

discipline,” so long as others did the same.

         172.   Broiler producers have several mechanisms to reduce the supply of Broilers. Given

Broiler producers’ vertical integration and control of breeder farms, hatcheries, growout farms,

and slaughter houses, they have several methods to manipulate supply, including the following:

                A.     Reduce the size of Broiler breeder flocks through two measures: (1) retire
                       and kill off Broiler breeders at an earlier age than would normally be the
                       optimum age for doing so and/or (2) reducing purchases of Breeder pullets
                       from genetics companies that supply them. Such reductions in Broiler
                       breeder flock purchases by Broiler companies effectively forces genetics
                       companies to in turn reduce their own stocks of parent and grandparent
                       Broiler breeders (the one from which broiler company pullets are supplied).
                       Such reductions by the genetics companies extend into a period of years the
                       time it takes to materially increase the supplies of Broilers.
                B.     Reduce “egg sets” or “egg placements” (i.e., number of eggs placed in
                       incubators) by destroying such eggs and selling them to a rendering plant,
                       which causes a reduction in production within roughly 7 weeks, but this
                       does not reduce the size of Broiler breeder flock itself and does not prevent
                       a producer from being able to ramp up production in the short or medium
                       term should it subsequently decide it wants to quickly ramp up production;
                C.     “Break eggs” at hatcheries by destroying the eggs prior to setting them in
                       incubators;
                D.     Pull (i.e., destroy) eggs already set in incubators sometime before the 21
                       days necessary for eggs to hatch;
                E.     Destroy newly hatched chicks at hatcheries before delivery to farmers for
                       grow-out;
                F.     Reduce the number or health of chicks delivered to contract farmers for
                       grow-out, including by manipulation of the genetics of chicks or providing
                       an inferior type of Broiler to farmers for grow-out of Broilers into mature
                       Broilers;




523256                                          58
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 63 of 151 PageID #:21518




                G.     Extend the period of time between pickup of mature Broilers for slaughter
                       and delivery of new chicks to contract-farmers for grow-out (a/k/a, “days
                       between flocks”);
                H.     Reduce the size of birds at slaughter, including by slaughtering birds before
                       they reach full maturity or weight;
                I.     Slow down, temporarily close, or permanently close Broiler processing
                       plants; and
                J.     Export hatching eggs and/or day-old chicks outside the United States.

         173.   Historically, when Broiler producers “cut production,” they did so through short-

term cuts that targeted the end of the supply chain, such as slaughtering Broilers early, destroying

eggs before incubation, killing newly hatched chicks before delivery to contract farmers, and/or

increasing the days between flocks delivered to contract farmers. Broiler companies historically

did not cut their Broiler breeder flocks (except for normal seasonal variations), however, because

doing so would leave a producer unable to ramp up production in the short or medium term should

market conditions improve.

         174.   With respect to the type of production cuts used by Broiler producers, the period

from 2008 through the present is characterized by both traditional production cuts (short-term in

nature), as well as by unprecedented reductions in Broiler breeder flocks by Broiler producers. As

discussed below, Broiler producers made substantial and unprecedented cuts to Broiler breeder

flocks in 2008 and 2011 that prevented them from being able to meaningfully increase supply for

years to follow.

                1.   Pre-Class Period Events.

         175.   In 2007, the two largest Broiler producers, Pilgrim’s and Tyson, reduced their

production of Broilers, but only a few other Broiler producers followed their lead, namely Foster

Farms (4.8% reduction in Ready-to-Cook (“RTC”) pounds), Peco Foods (5.4% reduction in RTC

pounds), and Perdue (unspecified cuts). However, cuts by only five industry participants were not



523256                                          59
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 64 of 151 PageID #:21519




enough to affect industry supply sufficient to increase prices meaningfully. Industry publications

noted that oversupply of Broilers was due to overproduction by Sanderson Farms, Mountaire

Farms, and House of Raeford Farms. Due to the resulting oversupply of Broilers, prices fell in

late 2007 and into early 2008. In addition, production cuts in 2007 followed the typical pattern of

focusing on short-term reductions in production, such as slaughtering Broilers early, but not on

longer-term cuts to Broiler breeder flocks.

         176.   The failure of the 2007 shorter-term production cuts to raise prices made Tyson and

Pilgrim’s realize that their unilateral supply cuts would never be enough to raise industry prices

without a broader industry supply cut by most of their competitors, and further, that cuts that did

not reduce Broiler breeder flocks left the industry vulnerable to near-term increases in supply.

Tyson and Pilgrim’s realized that by making cuts that were not followed by their smaller

competitors, they were essentially giving away market share to those competitors.

                2.   2008-2009 Production Cuts.

         177.   On January 23-25, 2008, Defendants attended the IPE conference in Atlanta,

Georgia. According to the IPE, attendees representing over 99.4% of the production of the major

Broiler companies participated in the IPE. Numerous employees from Defendants attended the

conference, including Defendants’ senior executives.

         178.   On a January 28, 2008, earnings call, Tyson CEO Dick Bond declared bluntly “we

have no choice [but] to raise prices substantially.” However, the commodity nature of Broilers

does not allow one producer to successfully raise market prices in the absence of widespread

reductions in supply relative to the then-current demand, so Bond’s comment does not make sense

absent an intention (or knowledge) on his part that Defendants would coordinate a reduction in

supply across the Broiler industry. After learning in 2007 that its production cuts alone could not




523256                                          60
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 65 of 151 PageID #:21520




force up industry prices, Tyson also sent a clear message to its co-Defendants and co-conspirators:

we are not making production cuts until you do.

         179.   In response, Pilgrim’s issued a call to action for its competitors to reduce their

production of Broilers to allow prices to recover. On a January 29, 2008, earnings call, Pilgrim’s

CFO Rick Cogdill said the industry was oversupplying Broilers and it was hurting market prices.

Cogdill explained that his company had done its part in 2007 by reducing production 5%, so “the

rest [] of the market is going to have to pick-up a fair share in order for the production to come out

of the system.” During the call, Cogdill went on to explain that Pilgrim’s alone could not reduce

supply enough to help market prices recover and its past efforts to reduce supply had merely led

to smaller players increasing their market share at Pilgrim’s expense. Cogdill went even further

in describing specifically how he thought the industry needed to coordinate production cuts in

order to drive up market pricing, including making the following statements urging Pilgrim’s

competitors to do their part in reducing Broiler industry supplies:

                A.     “[A]ctions are going to have to be taken one way or the other through the
                       industry to pass along these costs. We were the leader in cutting production
                       last year to help drive that. . . . [W]e’ve got to make sure that we get the
                       supply in line with demand at an acceptable price, not just in line with what
                       the customer wants to buy at a cheap price.”
                B.     When asked by an analyst “do you have an estimate internally of what the
                       state of oversupply in the industry might be? What you would hope to see
                       cut from others that would make you feel like the industry was more
                       rational?” Pilgrim’s CFO Cogdill replied “It’s really hard to say that the
                       faster we get to production adjustment the quicker the recovery could
                       happen . . . . And if the industry doesn’t react soon enough it will have to
                       react stronger in the end.”
                C.     “[W]e have walked away from sales in certain cases, where the pricing just
                       did not make any sense. So we are trying to hold the line. We are losing at
                       times the competitive bids . . . . So we are trying to take a leadership position
                       from a pricing perspective.”
                D.     JP Morgan analyst Pablo Zuanic asked “[D]o you and Tyson have the
                       evidence that your production call backs lead to significant price


523256                                           61
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 66 of 151 PageID #:21521




                       improvements last year[?]….Clearly, there are more producers who are not
                       following you. On my mask [sic], according to USDA, the industry was up
                       5% in the December quarter….So, it means that the rest of the industry was
                       up about 9% in the December quarter. So there is evidence that rest of the
                       industry is not following you. You guys are the leaders. You know that
                       this worked last year. . . . Is it just that last year we did it for the industry,
                       and they didn’t follow and now it’s their turn?” In response, CFO Cogdill
                       noted, “I think you kind of hit on it there. . . . It’s not like we had 5% of
                       surplus capacity that we could just reduce our operations and not feel that .
                       . . I mean we cannot be the ones that are out there continually reducing
                       production, and let the other producers capitalize on that. I mean if it’s 5%
                       last year, 5% this year, 5% next year, you can see that that’s a spiral to the
                       demise of our company, which we are not willing to accept.”

         180.   On a January 31, 2008, earnings call, Sanderson Farms CEO Joe Sanderson

explained that he anticipated the industry would cut production. Asked about Broiler industry cuts

by an analyst, Sanderson replied “we could see some reductions in production.” Asked to expand

on his comments by another analyst, CEO Sanderson said he thought a production cut was

“probable” and “if it’s bad and ugly and deep in February, March and April, you’ll see the

production cuts take place during that period of time. There’s still 25% of the industry still making

money but I would expect to see those reductions come over the next 90 to 120 days.” Upon

information and belief, CEO Sanderson’s basis for the statement that “25% of the industry [was]

still making money” was through the secret sharing of information by Defendants through Agri

Stats.

         181.   Around March 4, 2008, senior executives from Defendants met at an Executive

Committee meeting of the National Chicken Council’s Board of Directors including Pilgrim’s

CEO Clint Rivers, Tyson Senior VP Donnie Smith, Fieldale Farms President Thomas Hensley,

Amick President and CEO Ben Harrison, and Case Foods CEO Tom Shelton.

         182.   Only a month and a half after installing its new CEO, Pilgrim’s again led the charge

to cut overall industry supplies, but this time it backed up its rhetoric with production cuts. On



523256                                            62
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 67 of 151 PageID #:21522




March 12, 2008, Pilgrim’s announced a massive closure of its Broiler processing plants. Just five

days after taking over the position of Pilgrim’s CEO, Clint Rivers, publicly announced the closure

of seven Broiler facilities in order to reduce industry oversupply, stating “we believe [these]

actions . . . are absolutely necessary to help bring supply and demand into better balance . . . . That

portion of the demand for our products that exists solely at pricing levels below the cost of

production is no longer a demand that this industry can continue to supply.” (emphasis added).

         183.   Normal supply and demand would suggest that in the wake of massive supply cuts

by Pilgrim’s, other Broiler producers would jump into the massive gap in supply that Pilgrim’s

closures left. However, just the opposite occurred. Following Pilgrim’s announcement, a series

of production cuts were publicly announced by other Defendants between April 3 and April 11,

2008.

                A.     On April 3, 2008, Fieldale Farms announced a 5% production cut. In
                       connection with the cut, Executive Vice President Thomas Hensley
                       commented that Fieldale has had trouble passing on cost increases to both
                       foodservice and retail customers. “Every time we try [to increase prices],
                       one of our competitors comes in with a price lower than our previous price,”
                       Hensley said. Fieldale, which has been absorbing feed-cost increases, hopes
                       its move will help ease continuing price pressure. “We can’t sell [some of]
                       the chickens at a price higher than the cost,” Hensley said. “We’re hoping
                       this cut puts supply and demand back into better balance.”
                B.     On April 9, 2008, Simmons Foods announced a 6% reduction in production
                       throughout its processing plants. Simmons Prepared Foods President David
                       Jackson said in a press release that “[r]ecent U.S. chicken market price
                       levels have not allowed processors to recover the spiraling costs of corn and
                       soy meal. . . . This increased cost burden has yet to be reflected in domestic
                       poultry prices.” BMO Capital Markets analyst Kenneth Zaslow welcomed
                       Simmons’ production cut, saying in a note to investors that production cuts
                       across smaller companies in the Broiler industry would be positive for
                       Broiler prices. On April 9, 2008, BMO Capital Markets analyst Kenneth
                       Zaslow welcomed Simmons’ production cut, saying in a note to investors
                       that production cuts across smaller companies in the Broiler industry would
                       be positive for Broiler prices.



523256                                            63
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 68 of 151 PageID #:21523




                 C.     On April 10, 2008, Cagle’s Inc. announced a 4% reduction in processing of
                        Broilers. According to a press release from Cagle’s President and CEO,
                        Doug Cagle, “[c]urrent chicken prices have failed to reflect the tremendous
                        increase in the cost of feed. Ingredient prices, mostly corn and soybean
                        meal, have increased over 80 percent in the last two years raising the cost
                        to produce chicken by more than $.17 a pound. These are unprecedented
                        times and given current USDA forecasts it appears that high feed costs are
                        here for the foreseeable future. The cut back in production will not effect
                        [sic] our customers with existing commitments but will reduce product
                        being sold through less profitable commodity outlets.”
                 D.     Between April 3-11, 2008, Wayne Farms, O.K. Foods, and Koch Foods
                        each announced 2-8% reductions in production.
                 E.     A number of other Broiler companies cut their production between April 1,
                        2008 and May 28, 2008, but did not publicly announce those cuts. Instead,
                        these Broiler companies communicated such cuts to their co-conspirators
                        through Agri Stats and/or other means of communication. For instance, at
                        his BMO Capital Markets Conference presentation on May 28, 2008,
                        Sanderson Farms CEO Joe Sanderson stated that “we have seen for the last
                        6 or 7 weeks . . . some companies in our industry announce cutbacks. There
                        have been I think six companies have announced cutbacks. I know some
                        companies have cut back and have not announced.” Such knowledge of
                        non-public production cuts by competitors is highly suggestive of secret
                        communication among Broiler companies.

          184.   After witnessing a steady stream of its competitors close production capacity

between April 3 and 11, Pilgrim’s saw that other industry participants were contributing to

reducing industry supply. Pilgrim’s decided it could now take further steps to reduce industry

supply.

          185.   On April 11, 2008, Pilgrim’s suggested it might close its large El Dorado, Arkansas

processing plant, which employed 1,620 workers.

          186.   On April 14, 2008, Pilgrim’s announced a further production cut of 5% of egg sets.

          187.   On April 29, 2008, Tyson CEO Dick Bond described the change in the industry in

response to an analyst question, noting “[y]ou are right. I think the industry has changed. Diane, I

don’t think the industry will be up that much anymore, we have seen some sizable declines here



523256                                           64
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 69 of 151 PageID #:21524




lately in egg sets and placements. So, we’re going to be up a little bit but probably not a significant

amount, not as much as we might have once anticipated.”

         188.   Despite the large number of coordinated production cuts announced by producers

in April 2008, Pilgrim’s concluded these cuts were not sufficient. Therefore, Pilgrim’s CEO Clint

Rivers encouraged further action by the industry at a May 15, 2008, speech at the BMO Capital

Markets Third Annual Ag & Protein Conference, which was attended by Sanderson Farms CEO

Joe Sanderson and CFO Mike Cockrell, Tyson CEO Richard Bond, and Pilgrim’s CFO Richard

Cogdill. CEO Rivers announced that he hoped to see the Broiler industry continue to cut

production to help the industry return to profitability, stating that “he would like the industry to

trim total production by 3%-4%, calling it a prudent move in light of recent price volatility in the

grain markets.” He also noted that “[t]he cuts need to be fairly deep.”

         189.   A May 21, 2008, Wall Street Journal article noted that conditions in the industry

were starting to change. “Three things are making analysts more optimistic: Companies are cutting

production, weekly egg-set numbers are declining (egg sets are fertile eggs placed in incubators),

and prices are responding positively to the thinning supply lines.” The article also noted “[i]t is

unusual for egg sets to decline at this time of year.” The reason such a reduction was unusual in

May is that egg sets result in Broilers that are ready for market approximately 10 weeks later,

which in this case would have been first week of August, and is still the peak of the high-demand

summer grilling season.

         190.   During an earnings call on May 22, 2008, Sanderson Farms CEO Joe Sanderson

was asked if he thought industry cuts were sufficient to keep the industry profitable in the fall. In

response, Sanderson noted, “[w]e don’t know yet. We will make a cut as we always do after Labor

Day. We will make a 4-5% cut following Labor Day as we always do going into Thanksgiving,




523256                                            65
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 70 of 151 PageID #:21525




Christmas, and January we reduce our egg sets and around Thanksgiving, Christmas, New Years

and Martin Luther King. That is a period of slow demand for us, and we don’t announce that, but

we always do it. It is just a period when we take downdays and we will do that. But if we think

more is needed, we will evaluate that sometime in August, and if need be will do it. We cut back

in 2006, we cut back in ’97-98. I don’t know if we announced it or not, but we will do what we

need to do.” Sanderson provided no explanation why it was choosing to publicly disclose its

“regular” production cut if it had never done so in the past.

         191.   Six days later, on May 28, 2008, CEO Sanderson attended the BMO Capital

Markets Conference Presentation. One or more of Sanderson Farms’ competitors attended the

same conference. Sanderson explained to the attendees that the company tracks egg set data

closely and it had observed many companies cutting production “for the last 6 or 7 weeks.”

         192.   In early June 2008, Pilgrim’s CEO Clint Rivers continued to keep up the drumbeat

for further production cuts, noting in a June 4, 2008, presentation that “[o]ur supply in chicken, we

are oversupply . . . we need to see some balance in the supply. . . . Simply put, at this time there is

still too much breast meat available to drive market pricing significantly higher.”

         193.   Other CEOs picked up on Pilgrim’s call for further action. A few weeks later on

June 19, 2008, Broiler industry executives participated in a media conference call intended to

lobby the federal government to limit the ethanol subsidy. According to one report, Mark

Hickman, Chairman of the National Chicken Council and CEO of Peco Foods, told participants

that “the poultry industry is entering a second phase of production cutbacks, following a 1 percent

to 2 percent cutback in production earlier this year. ‘We are hearing talk that this was not nearly

enough, so liquidation is in round two.’” Upon information and belief, “liquidation” is a reference

to the need for Defendants’ decision to reduce Broiler breeder flocks to affect longer-term supply




523256                                            66
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 71 of 151 PageID #:21526




restraint in the industry, rather than mere short-term production cuts like breaking eggs or

slaughtering Broilers earlier to reduce weight.

         194.   As noted above, Agri Stats’ subsidiary EMI issues regular reports to its clients,

which are not publicly available. However, EMI’s website currently has available a “sample”

report available from June 20, 2008. The sample report notes that “[b]eginning in April [2008],

the weekly hatchery data started to show declines in egg sets and chick placements relative to year-

earlier, which confirms the announced intentions to reduce Broiler production and will result in

slaughter falling below year-ago by mid June.” The same report also notes that “[i]t is unclear

how long the slaughter declines will continue, and if other companies will choose to cut production

as well making them deeper than initially thought. Those who have announced cutbacks indicate

they will continue until margins normalize. At this time we expect to see the declines continue

until at least late 2009, and cuts could be deeper than now projected.”

         195.   Three days later, on June 23, 2008, Wayne Farms announced an additional 6%

production cut. Wayne Farms President & CEO Elton Maddox said in a statement that “[s]oaring

feed ingredient costs aggravated by the government’s food for fuel mandate has created the need

for us to rationalize our business.” Like many other executives, Maddox cited ethanol subsidies

as the reason for the production cuts. Wayne Farms’ announcement came only three days after

Agri Stats suggested further cuts were needed and four days after Peco Foods CEO Hickman

suggested further cuts were needed.

         196.   On June 23-25, 2008, USPOULTRY held its annual Financial Management

Seminar. Defendants’ senior executives attended the seminar.

         197.   On July 2, 2008, Foster Farms announced it was abandoning plans to build a new

Broiler plant in northeastern Colorado that it had previously announced in April 2008 would




523256                                            67
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 72 of 151 PageID #:21527




employ about 1,000 people. In a statement, Foster Farms CEO Don Jackson noted “[i]n these

difficult conditions with costs escalating primarily due to grain and fuel prices and chicken prices

lagging it does not make economic sense to go forward with expansion at this time.”

         198.   On July 7, 2008, O.K. Foods announced a 7.5% reduction in egg sets, citing “record

high prices for corn and soybean meal, which it attributes to the U.S. government’s mandated

ethanol policies along with recent flooding in the Midwest ‘Corn Belt’ region.”

         199.   On July 20-22, 2008, the National Chicken Council held a three-day “Chicken

Marketing Seminar” attended by Defendants’ senior executives. The event was billed as a

marketing seminar that “includes social networking events and recreational opportunities,

including a golf tournament.”

         200.   On July 31, 2008, Tyson cancelled a contract with Petit Jean Poultry for the

processing of Broilers at Petit’s Buffalo, Missouri plant. Tyson subsequently told the City of

Buffalo that no amount of incentives could convince it to renew its contract with Petit.

         201.   On August 11, 2008, Pilgrim’s announced the closure of its Clinton, Arkansas,

processing plant and a further processing facility in Bossier City, Louisiana.7 Pilgrim’s press

release noted the closures “are part of the company’s ongoing effort to operate more efficiently

and return to profitability amid high feed costs and an oversupply of chicken on the market.” The

closure of the Clinton processing plant represented an additional 1.25% incremental increase of

the company’s previously announced production cuts. Pilgrim’s stated that it would keep both



7
 “Further processing plants” are facilities that process whole or cut-up Broilers into products for end users,
such as chicken nuggets. Notably, further processing plants alone are not a bottleneck for the supply of
Broilers and were not the focus of Defendants’ coordination to reduce and restrict Broiler supplies as alleged
herein. During the Class Period, some Defendants have increased the amount of further processing they
perform internally in order to capture profits that had previously been earned by third party further
processors who purchased unprocessed Broilers from Defendants. A few further processing plant closures
are noted in this Complaint where they were closed in conjunction with processing plants.


523256                                               68
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 73 of 151 PageID #:21528




plants idled until “industry margins can be sustained at more normalized levels of profitability.”

Pilgrim’s also noted that “[w]ith Labor Day approaching and no indication that the actions taken

to date by Pilgrim’s Pride or other industry members are having a positive effect on selling prices

for our products, it is now clear that more significant decisive action is necessary.”

         202.   In August 2008, House of Raeford announced that it would begin reducing its

Broiler production by 5%. The company said in a statement that “[t]he current obstacles that face

our industry require that supply be brought in line with demand.” A production cutback was

remarkable for House of Raeford, which had pursued a strategy of aggressive production growth

that resulted in the company doubling its Broiler production from 2001 to 2007.

         203.   On an August 26, 2008, earnings call, Sanderson Farms CEO Joe Sanderson stated

that “[s]o long as this weakness continues, the poultry industry will need to cut production further

until supply is in line with demand.” When asked later whether the industry had already made

enough production cuts, he noted “we kind of thought we were going to see reductions in July . . .

[based on] 213/214 [million] eggs sets back in April and that really did not materialize. When you

look at USDA slaughter numbers in July, they were 100% and 101% and now we’re looking at

egg sets of 206 and 207 million that are going to show up sometime in October or November.

We’ll see when we get there. Those are barely impressive cuts. My suspicion is, as I’ve told you

in May, the industry typically make the cut [sic] and it’s tentative. We’ll have to see if it works. .

. . I’m very skeptical that those cuts are going to be enough to return us margins to cover these

grain costs.”

         204.   On September 23, 2008, Pilgrim’s announced the layoff of 100 employees at its El

Dorado, Arkansas processing plant.




523256                                           69
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 74 of 151 PageID #:21529




         205.   By September 2008, Broiler industry publication Watts PoultryUSA reported that

“[m]ost U.S. broiler integrators ha[d] announced plans to close small operations, consolidate

complexes and further processing plants and to reduce output by 3 percent to 5 percent to

‘maximize efficiency.’”

         206.   On October 3, 2008, Defendants’ senior executives attended the National Chicken

Council’s Annual Meeting. Agri Stats CEO Bill Snyder moderated a CEO panel that included

Pilgrim’s, Tyson’s, Perdue’s, and Sanderson Farms’ CEOs. Explaining Pilgrim’s desire to push

through an industry-wide price increase, Pilgrim’s CEO Clint Rivers told panel members and the

audience “[w]e need to get those [input] costs pushed through, but we’ve yet to see that happen.”

         207.   On October 10, 2008, Pilgrim’s gave an interview to the Associated Press regarding

a USDA report of falling egg sets in the Broiler industry. Spokesman Gary Rhodes noted that

“[t]his is very positive news for the industry and may signal that the industry is taking a more

rationalized approach to production heading into the fall.”

         208.   During Fall 2008, Sanderson Farms also implemented its previously announced

“fall cuts” a month early and delayed the opening of a new deboning facility.

         209.   On October 18, 2008, Wayne Farms President & CEO Elton Maddox released a

statement announcing the closure of the company’s College Park, Georgia plant, resulting in the

layoff of over 600 employees. Maddox cited “changing market conditions” and a need to

“maximize efficiencies” as justification for the plant closure.

         210.   On a November 10, 2008, Tyson earnings call, CEO Dick Bond claimed that Tyson

would not be making additional production cuts because it had already done its part to reduce

industry supply with prior production cuts in 2007 and earlier. However, D.A. Davidson & Co.

analyst Tim Ramey asked “Dick, a year ago you talked about price encourage [sic] then I was out




523256                                           70
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 75 of 151 PageID #:21530




with Donnie Smith four five months ago, you guys talked about well we’re not going to be the one

to cut.” Tyson didn’t respond directly, but cited Tyson’s attention to “supply and demand.”

         211.   On November 12, 2008, industry analyst Ken Zaslow noted that “many companies,

such as Pilgrim’s, have pledged to cut production, but Tyson increased its volume about 6 percent

in the quarter . . . . The industry has cut about 10 to 12 percent of its production.”

         212.   Despite claims to the contrary on its November 2008 earnings call, Tyson

substantially reduced production in December 2008.           First, on December 18, 2008, Tyson

announced the canceling of a deboning contract with Petit Jean Poultry at Petit’s Little Rock,

Arkansas processing plant that resulted in the layoff of 700 employees by Petit. Second, by

December 23, 2008, it was reported that Tyson had cut its production by 5%. Asked by a reporter

about the cuts, Tyson spokesman Gary Mickelson stated that “[w]hile we would rather not share

details of our current poultry production levels, we can tell you we continue to closely evaluate

market conditions in an effort to match customer demand with our supply.” Tyson also noted that

it had reduced production “in recent years through the closing or sale of poultry plants and by

running the company’s remaining operations at reduced capacity utilization.”

         213.   On a January 26, 2009, Tyson earnings call, an analyst asked why Tyson cut

production in December 2008 after claiming it would not do so in its November 2008 earnings

call. Tyson’s Senior VP Donnie Smith replied that Tyson’s inventory growth had triggered it to

cut production in December 2008.

         214.   On January 28-30, 2009, Defendants’ senior executives attended the 2009

International Poultry Expo in Atlanta, Georgia.

         215.   In a February 18, 2009, interview, Tyson Senior Group Vice President Donnie

Smith noted that “[a]cross our industry, we’re down about six percent versus where we were a year




523256                                            71
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 76 of 151 PageID #:21531




ago. We’re seeing an impact from that on market prices . . . the industry fundamentals are

improving.”

         216.   In late February 2009, a report noted that Pilgrim’s had cut another 9-10% of its

production. According to the same report, Tyson told the audience at a February 2009 investors’

conference that it did not intend to reduce its production further because “[u]sing WATT

PoultryUSA data on ready-to-cook (RTC) pounds, our numbers have declined 5-7% from 2000 to

2008 on RTC pounds while at the same time the industry has grown 31%. Over time, we have

done plenty of cutting back.” In other words, Tyson felt it had already taken its fair share of needed

production cuts, so competitors needed to take further actions. However, as indicated below,

Tyson’s statements about not reducing production appear to be posturing, because generally Tyson

did reduce its production during the 2008-2015 time period in line with other producers, apparently

hoping the threat of it not reducing production would lead other producers to reduce production

first.

         217.   By February 25, 2009, Sanderson Farms told The Morning News that it had made

cuts to its supply of Broilers by processing smaller Broilers and running its plants at lower capacity

utilization rates. Sanderson also told a group of investors around this time that “[b]ecause we don’t

expect much help from the demand side, chicken market improvement will have to come from

supply cuts.”

         218.   Similarly, Simmons Foods CEO Todd Simmons noted in a February 25, 2009,

interview that “[w]e are seeing lower demand in the food-service customer base. We have made

adjustments in bird weights to ensure our production meets with our customer’s needs.”

         219.   Seeing further cuts from smaller producers in the industry led Pilgrim’s to announce

historically large cuts to its production on February 27, 2009. In a press release announcing the




523256                                           72
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 77 of 151 PageID #:21532




closure of three processing plants located in Douglas, Georgia, El Dorado, Arkansas, and

Farmerville, Louisiana, Pilgrim’s indicated the plants were “underperforming” and said the

closures would “improve the company’s product mix by reducing commodity production and to

significantly reduce its costs in the midst of an industry-wide oversupply of chicken and weak

consumer demand resulting from a national recession.” Pilgrim’s indicated that the idling of these

three plants would reduce production 9-10% in total pounds of Broilers produced by the company.

         220.   Overall, “[a]t least 11 companies reported reductions in weekly ready-to-cook

production in 2008,” including Tyson, Pilgrim’s, Perdue, Simmons, House of Raeford, Cagle’s,

George’s, O.K. Foods, Coleman Natural Foods, Harrison Poultry, and GNP Company. Other

companies reduced their planned production levels and/or delayed the planned opening of new

Broiler complexes.

                3.   Defendants’ 2008 To Early 2009 Broiler Production Cuts Included
                     Unprecedented Reductions To Broiler Breeder Flocks.

         221.   As noted above, 2008 ended a decades-long trend of additional Broiler production,

and surprised industry observers. However, what makes the production cuts in 2008 even more

remarkable is that Broiler producers did not merely make an unprecedented reduction in the

pounds of Broilers they produced – they also went further up their supply chains than ever before

to restrict their ability to ramp up production for years into the future. This production restriction

was accomplished by reducing Broiler breeder flocks and thereby forcing genetics companies to

reduce supplies of grandparent stocks.

         222.   Broiler breeder flocks on average are kept in active “lay” for 65 weeks, so over its

lifespan a breeder hen produces an average of 140 eggs per year that are incubated at Broiler

producer-owned hatcheries. Because Broiler breeder flocks are created from a limited pool of

grandparent Broilers from the three Broiler genetics companies (Tyson’s Cobb-Vantress, Aviagen,



523256                                           73
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 78 of 151 PageID #:21533




and Hubbard), it takes substantial time to re-populate a Broiler breeder flock that has been reduced

through early slaughter. By reporting the size of each Defendant’s supply flocks through Agri

Stats, Defendants could closely monitor one another’s supply flock reductions and deal with a co-

conspirator who was ramping up production in conflict with Defendants’ conspiracy.

         223.   Defendants’ reduction in Broiler breeder flocks during 2008 and the first two

months of 2009 was unprecedented. While previous downturns had led some producers to use

short-term methods to reduce overall pounds of Broilers slaughtered, in 2008 Defendants took

their reductions to the next level by substantially reducing their Broiler breeder flocks (aka,

“Broiler Hatchery Supply Flock”), as shown below.




523256                                          74
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 79 of 151 PageID #:21534




                4.   The Cuts in 2008 and 2009 Led To Record Broiler Prices For Much Of
                     2009 And Early 2010.

         224.   The effect of the supply cuts on Broiler pricing in 2008 and the first two months of

2009 was clear – during the worst recession in generations, Broiler prices rose through mid to late

2008, staying at or near all-time highs until late 2009. For instance, by May 28, 2009, Sanderson

Farms reported strong profits that were twice the predictions of Wall Street analysts, which

according to one industry publication was “aided by production cuts and lower feed costs that

offset still-weak demand.” Similarly, at a May 14, 2009, BMO Capital Markets conference,

interim Tyson CEO Leland Tollett noted that “poultry market fundamentals had improved. Pullet

placements, an[] indication of future Broiler supplies, have been down the past five months

compared to the same period last year. Egg sets continue to run six percent or more below year

ago levels and cold storage inventories of poultry have declined about 20 percent since peaking in

November 2008.”

         225.   However, as prices continued to rise during late 2009 and early 2010, producers

started increasing production in response to the higher prices, as they had done in previous decades.

The rising production by producers in early 2010 led to a reported oversupply of Broilers that

began to depress prices by late 2010. However, Defendants had learned the value of coordinated

supply reductions in 2008, so were quick to react with a new round of publicly announced

production cuts in the first half of 2011, which quickly helped prices recover.

         226.   During 2009 and 2010, Defendants’ senior executives continued to meet with one

another at trade association meetings and industry events, such as the National Chicken Council

and the International Poultry Expo. For instance, at the National Chicken Council’s October 2009

Annual Conference, which was attended by Ben Harrison (Amick President & CEO) and Robert

Turley (Allen Harim President & CEO), one industry analyst wrote that participants had



523256                                           75
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 80 of 151 PageID #:21535




emphasized continued “production discipline.” As used by Defendants, “capacity discipline” is a

euphemism for limiting Broiler supplies. Defendants’ conspiratorial efforts to artificially limit

Broiler supplies enabled Defendants to raise prices of Broilers to supracompetitive levels.

                5.   Defendants Reacted With Unprecedented Speed To Overproduction In
                     2011, Which Led To A Second Wave Of Unprecedented Production Cuts.

         227.   Around early 2011, Tyson was one of the first Defendants to see the coming

overproduction of Broilers. In addition to limiting its own production, Tyson embarked on a new

strategy to soak up excess supply produced by its competitors. Tyson called the strategy “Buy vs.

Grow.” As described further in Section VI(G) of this Complaint, Tyson’s Buy vs. Grow strategy

allowed Tyson to buy up excess production from its competitors and avoid the depression of prices

that would occur had the excess production been sold on the open market. In return, Tyson could

communicate the volumes of Broilers it would be willing to purchase from competitors in the

current and future months, thus suggesting to each competitor the amount of production it should

cut that would not be purchased by Tyson. As one investment analyst described it, Tyson’s

program “involves maintaining or even reducing [Tyson’s] own chicken production levels, with

buying more chicken on the open market from their rival chicken producers, in an effort to keep

the chicken market from being over supplied.” Even though it would have been cheaper (with

respect to the cost of pounds purchased) for Tyson to grow its own Broilers instead of buying them

from a competitor, Tyson engaged in its Buy vs. Grow program because it allowed Tyson to better

control supply and production in the Broiler industry and reap the benefit of higher market prices

on all of the rest of its Broiler pounds sold.

         228.   On January 24-26, 2011, Defendants’ senior executives attended the International

Poultry Expo in Atlanta, Georgia, including Tyson CEO Donnie Smith. The IPE featured an

annual market intelligence panel with Mike Donohue from Agri Stats and industry-insider Paul



523256                                           76
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 81 of 151 PageID #:21536




Aho. According to one report, Donohue noted that “‘2008 was the worst year financially for the

(U.S.) broiler industry that most people have ever seen’ . . . The industry’s response in 2008 was

a 5 to 6% reduction in pounds produced. He said that the broiler industry is currently at record

high weekly slaughter volumes.” Aho noted “[t]his could be a very difficult year with cutbacks,

rationalization, and consolidation . . . . The market is calling for around a 5% reduction in chicken

production.”

         229.   On a February 4, 2011, Tyson earnings call, COO James Lochner noted that “until

industry supply more closely aligns with demand” Tyson’s Broiler business would “be

challenged.” Tyson CFO Dennis Leatherby also referred to a supply-demand imbalance in the

chicken industry.

         230.   On a February 16, 2011, Cagle’s earnings call, Cagle’s reportedly said it had begun

a 20% reduction in production at a deboning operation in an effort to balance supply and demand.

Cagle’s told one publication that it was “optimistic that the industry will exhibit the production

restraint necessary to support higher pricing for Cagle’s products allowing for return to profitable

margins.”

         231.   On or around February 25, 2011, Sanderson Farms CEO Joe Sanderson announced

on an earnings call that Sanderson would be delaying the development and construction of a second

North Carolina Broiler complex.

         232.   On March 7, 2011, House of Raeford announced a 10% reduction in egg sets that

began in early February. CEO Bob Johnson noted in an accompanying press release that “we

decided that acting now was a responsible action for our company in light of continuing unstable

economic conditions. . . . Hopefully the chicken prices will begin to increase later this year. In




523256                                           77
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 82 of 151 PageID #:21537




addition, if Congress will take action to cut unreasonable government support for the ethanol

industry, then grain prices should decrease to a more manageable pricing level.”

         233.   On March 15, 2011, Simmons announced it was laying off 180 workers at its

Siloam Springs, Arkansas processing plant “[d]ue to economics specific to our industry, resulting

from high grain prices predominantly caused by corn being used in ethanol, we have decided to

realign some of our production resulting in the elimination of 180 positions as of April 15.”

         234.   On April 13-15, 2011, the Georgia Poultry Federation held its annual meeting at

the Brasstown Valley Resort in Georgia. Defendants’ senior executives attended the meeting.

Among other positions that Defendants’ employees were elected to at the meeting, Donnie

Wilburn (Director Live Operations, Harrison Poultry) was elected Vice Chairman of the Board of

Directors and Phillip Turner (Plant Manager, Mar-Jac) was elected to the Board of Directors.

         235.   On April 15, 2011, Mountaire Farms announced it was abandoning a 3-5% capacity

increase. Mountaire President Paul Downes explained Mountaire’s justification for the cut to

anticipated capacity in starkly simple terms: “The only way to higher prices is less supply. The

only way to less supply is chicken companies will shut down or cut back. That’s not good for

poultry growers or the economy. But I think that’s what we’re going to see.” In other words,

Mountaire had learned from the industry’s coordinated action in 2008 to reduce supply and

realized that the oversupply and decreasing prices in early 2011 could only be addressed through

collective action by the Broiler industry to restrain production.

         236.   During 2011, Fieldale Farms reduced its production by an unspecified amount.

         237.   During 2011, Mar-Jac reduced its production 10% and reported that other Broiler

Producers were doing so as well.




523256                                           78
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 83 of 151 PageID #:21538




         238.   On May 1-3, 2011, Defendants’ senior executives, including Tyson CEO Donnie

Smith, attended Urner Barry’s Annual Executive Conference and Marketing Seminar, which

includes an annual golf outing at a local country club.

         239.   On May 17-18, 2011, senior executives from Sanderson Farms, Pilgrim’s, and

Tyson attended the BMO Farm to Market Conference. Attending were Sanderson Farms CEO &

Chairman Joe Sanderson, Sanderson President & COO Lampkin Butts, Pilgrim’s President & CEO

Bill Lovette, Tyson CEO Donnie Smith, and Tyson Senior Group VP of Fresh Meats Noel White.

         240.   Pilgrim’s President & CEO Bill Lovette (who also was COO of competitor Case

Foods from 2008 to early 2011) presented at the May 17, 2011, BMO Farm to Market Conference.

Lovette’s presentation noted Pilgrim’s shift away from fixed-rate contracts to market-based

pricing. Pilgrim’s also noted its new focus on matching production to forecasted demand,

including by adjusting head and bird weights at selected plants to better balance supply and

customer demand.

         241.   On a May 24, 2011, earnings call, Sanderson Farms CEO Joe Sanderson stated “the

deal is that the industry — forget Sanderson — the industry cannot sustain losses like they are

sustaining for a long period of time. They will — they can’t do it and you have been observing

this for years and years and the industry has been losing money since Novemberish and balance

sheets deteriorate and losses have to stop. The only way to stop losses with $7 corn is to reduce

production and get prices up. That is the rule and the law of the jungle.” Sanderson continued,

“my judgment is that there will be some others that are going to have to make some adjustments

that I believe cuts will be forthcoming in our industry based on the losses we see in Agri Stats.”

         242.   On June 6, 2011, Cagle’s announced on an earnings call that “[t]he industry must

lower supply in order to offset reduced demand and to support higher market prices. Cagle’s




523256                                          79
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 84 of 151 PageID #:21539




continues to process at 80 per cent of capacity at its Pine Mountain Valley deboning facility and

does not contemplate any increase in the foreseeable future.”

         243.   On June 7-10, 2011, the USAPEEC held its annual meeting at The Greenbrier

America’s Resort in West Virginia. Defendants’ senior executives attended.

         244.   On approximately June 20, 2011, Tyson begin pulling eggs from its incubators to

reduce Broiler volumes.

         245.   On June 21, 2011, Cagle’s announced it was laying off 300 employees at its Pine

Mountain Valley, Georgia plant to reduce Broiler volumes.

         246.   On June 27-29, 2011, the US Poultry & Egg Association held a Financial

Management Seminar at the Ritz Carlton in Amelia Island, Florida. Among other presentations,

Pilgrim’s President & CEO Bill Lovette presented to a group of 150 attendees that included senior

executives from Defendants.

         247.   On June 27, 2011, Simmons announced it was laying off 223 employees by August

at its Siloam Springs, Arkansas plant to “shift production to better address soaring corn prices.”

In its press release, Simmons blamed U.S. Ethanol policies for reducing its production.

         248.   On July 12, 2011, Tyson CEO Donnie Smith, Tyson executive Bernard Leonard

(Chairman of the NCC at the time), Sanderson Farms COO Lampkin Butts, Peco Foods CEO Mark

Hickman, and Perdue CEO Jim Perdue participated in a panel together at the 2011 Food Media

Seminar.

         249.   On July 29, 2011, Pilgrim’s announced the closure of its Dallas, Texas processing

plant and the layoff of 1,000 employees. Pilgrim’s President & CEO Bill Lovette explained that

“[w]hile the decision to close a plant and eliminate jobs is always painful, we must make better

use of our assets given the challenges facing our industry from record-high feed costs and an




523256                                         80
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 85 of 151 PageID #:21540




oversupply of chicken . . . . A key component of that effort is improving our capacity utilization

through production consolidation and other operational changes. By closing the Dallas facility,

we can consolidate that production volume at three other plants and help those sites run closer to

full capacity.”

         250.     On an August 1, 2011, earnings call, Sanderson Farms’ CEO reportedly said that

Sanderson Farms’ normal fall production cut of 4% beginning in November would remain in place

beyond January of 2012 [and . . .] until demand improves. Sanderson also stated “we aren’t going

to set any more eggs until we pick up a big account or we can’t supply our customers’ needs. We

think demand improvement will require unemployment to drop . . . . It wouldn’t surprise me if the

industry makes further, deeper reductions in egg sets in October or November,” he said. “Nobody

knows what cuts might be needed until we get to October,” “but I think that the cutbacks may need

to be more than the 6% in head that the industry already has in place.”

         251.     On an August 8, 2011, Tyson earnings call, CEO Donnie Smith said that

“[d]omestic availability must be in balance with demand before industry economics can improve.

Tyson continuously strives to match our supply to demand and as a result we made a production

adjustment in the third quarter. . . . Our goal is to match supply to demand. And following over-

production the industry experienced, we cut production in the third quarter, but those cuts have not

yet impacted the market.”

         252.     On August 18, 2011, Cagle’s announced it was reducing 20% of its production at

its large Pine Mountain Valley, Georgia plant.

         253.     From October 5-7, 2011, Defendants’ senior executives attended the National

Chicken Council’s 57th Annual Conference. As part of the conference, senior executives from

Perdue and Koch Foods participated in a panel regarding the “new paradigm” in the Broiler




523256                                           81
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 86 of 151 PageID #:21541




industry. Panel members Clint Rivers (Perdue, President of Foodservice and Supply Chain), Bill

Anderson (Senior Vice President, Keystone Foods), Mike Helgeson (CEO, GNP), and Mark

Kaminsky (Koch Foods COO & CFO) said “the industry is accustomed to cycles, but not one quite

like the latest, and companies are going to need to adjust. Discipline on the supply side was one

suggestion. Getting better prices from retailers was another.”

         254.   On November 17, 2011, Wayne Farms issued a press release announcing the

closure of its Decatur, Alabama plant and layoffs of 360 employees.

         255.   On a November 21, 2011, earnings call, Sanderson Farms CEO Joe Sanderson

responded to a question about a production decrease that “when we talk about the 4% number, that

is what we project the industry to be. Obviously, we’re going to be a part of that.”

         256.   On December 6-8, 2011, the USAPEEC held its annual Council members only

winter meeting. Defendants’ senior executives attended the meeting.

         257.   At USPOULTRY’s Hatchery-Breeder Clinic in January 2012, Agri Stats Vice

President Donohue noted the importance of reducing Broiler breeder flocks, noting that “if the

industry chose to do so, it could ramp up production within a 10-week period of time. The industry

could blow apart any recover[y] in the short term by filing up incubators again,” but noted that

Agri Stats data indicates the industry is slaughtering breeder flocks at 59 to 60 weeks (instead of

the typical 65 weeks), which suggested to him the industry was managing its production carefully.

The early slaughter of breeder flocks in 2011 through mid-2012 meant that Defendants

subsequently were unable to increase production for at least eighteen months, as they would have

been able to do had they not made cuts so high in the supply chain.




523256                                          82
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 87 of 151 PageID #:21542




         258.   Defendants’ senior executives attended the January 25-26, 2012, International

Poultry and Processing Expo in Atlanta, Georgia. The National Chicken Council held its Board of

Directors meeting in conjunction with the meeting.

         259.   In early 2012, Sanderson Farms cut its production 4%.

         260.   On March 20-21, 2012, the National Chicken Council Board of Directors met in

Washington D.C. Defendants’ senior executives attended the meeting.

         261.   On an April 27, 2012, earnings call, Pilgrim’s President & CEO Bill Lovette

reported that “the die is cast for 2012,” and that “we’re comfortable that the industry is going to

remain constrained.”

         262.   On April 29-May 1, 2012, Urner Barry held its Annual Executive Conference and

Marketing Seminar. Defendants’ senior executives attended the conference.

         263.   On May 7, 2012, Tyson held an earnings call and announced it had decreased its

production by 4% through longer days between flocks for its growers and by increasing its Buy

vs. Grow program. Tyson noted on its earnings call that “the industry as a whole has reduced

production pounds by 4% to 6% year-over-year. To help keep our production balanced, we bought

chicken on the open market rather than growing all the birds we needed. We won’t grow a bird

solely for the part in the highest demand because we have to sell the entire bird. Grow versus buy

is a strategy we look at continually based on input costs, revenue demand forecast and the needs

of our customers.” Tyson CEO Donnie Smith also noted on the earning call that “we began to cut

back last year” with respect to egg sets and placements.

         264.   On June 6, 2012, Pilgrim’s announced the layoff of 190 employees at its

Chattanooga, Tennessee deboning plant. The company noted that “[w]hile the decision to reduce

the workforce in Chattanooga was not made lightly, we are confident that these actions will




523256                                          83
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 88 of 151 PageID #:21543




improve the efficiency of our plant, maintain our mutually profitable relationship with growers,

and strengthen our ability to produce quality poultry products in Tennessee, . . . [but] [t]he

Chattanooga operation remains a vital part of our ongoing strategy.”

         265.   On June 21, 2012, the National Chicken Council Board of Directors held its

summer meeting at the Ritz-Carlton Highlands in Lake Tahoe, California. Defendants’ senior

executives attended the meeting.

         266.   In a July 9, 2012, article, Tyson CEO Donnie Smith was quoted as saying “the

company will not over produce chicken at these expensive grain levels, preferring to buy

commodity pieces in the secondary market to fill orders where necessary.”

         267.   On July 15, 2012, Defendants’ senior executives attended a meeting of the National

Chicken Council’s Marketing Committee at the Stone Mountain Lodge in Stowe, Vermont.

         268.   On an August 6, 2012, earnings call, Tyson CEO Donnie Smith stated that “[o]ver

the past couple of years we have substantially reduced a number of fixed price contracts we have

with customers and currently have less than 15% of our Poultry volume [on] annual fixed price

contracts. The vast majority of our contracts are tied to specific markets or allow for conversations

about adjusting prices to move – prices to offset higher input and we will continue to push for even

more of these types of contracts. I believe supply will begin to rationalize as well, making it easier

for us to have those pricing conversations.”

         269.   On August 23, 2012, Koch Foods CEO Joseph Grendys gave an interview with

Bloomberg News. He stated that “[c]osts have gone up so much due to the drought that the

industry will be forced to get price increases of 10 to 15 percent across all product lines” for 2013

over this year. He went on to note that “‘[t]he industry needs to be smart’ and focus on pricing to

ensure it remains profitable . . . . Even if it does become unprofitable in the fourth quarter, the




523256                                           84
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 89 of 151 PageID #:21544




industry may resume making money after the first quarter of 2013.” The article also mentioned

Koch was going to use quarterly adjustments for price in its contracts for the first time since 2008.

          270.   On August 28, 2012, Sanderson Farms announced a further 2% production cut that

it blamed on corn and soybean prices.

          271.   By September 2012, the effect of Defendants’ earlier production cuts starting in

2011 had begun to lead to increased Broiler prices. Most important to the record profits that were

to come, Defendants had not just cut the number of pounds of Broilers slaughtered, but Defendants

destroyed a significant proportion of their Broiler breeder flocks. As noted previously, doing so

meant that Defendants could not increase Broiler supplies in the short or medium term, even if

they wanted to.

          272.   On October 10-11, 2012, the National Chicken Council held its annual meeting at

The Mandarin Hotel in Washington, D.C. Defendants’ senior executives attended the meeting.

The meeting featured an “Industry Outlook Panel” that included speakers Thomas Hensley

(President, Fieldale Farms) and Paul Fox (CEO, O.K. Foods) and discussed the question of “[w]hat

did the broiler industry learn from 2011 and how will the industry apply those lessons in 2012 and

2013?” O.K. Foods CEO Paul Fox’s comments during the panel continued to point to the ethanol

mandate as a pretext for higher Broiler prices, stating “[i]n 2006, the ethanol mandate began to

really take a bite against the protein complex, and since that time on a cumulative basis, we’ve

seen about $31 billion in new costs that have come in to the chicken business.”

          273.   The actions alleged above, taken collectively and not in isolation, demonstrate a

level of coordination and “discipline” not seen in this industry prior to the Class Period alleged

herein.




523256                                           85
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 90 of 151 PageID #:21545




                6.   Defendants’ 2011-2012 Production Cuts Lowered Broiler Breeder Flocks
                     To Unprecedented Levels, Which Led To Record Profits For The 2013-
                     2014 Time Period.

         274.   Defendants’ cuts to the Broiler breeder flocks in 2011-2012 sent flock levels down

to levels not seen for almost two decades, as shown by the graph below.




         275.   For much of the remainder of 2012 through 2014, Defendants reaped the benefits

of coordinated supply restraints in the form of rising prices and record profits. During this period

Defendants’ executives repeatedly made statements congratulating industry players on the

“discipline” they had shown by keeping supply restrained. For instance, on a May 3, 2013,

earnings call, Pilgrim’s President & CEO Bill Lovette stated that “[w]ell, obviously, revenue is

going to be a function of price, in part, and in this case a big part; and obviously, price is going to

strengthen as supply continues to be disciplined and constrained . . . . So I think the industry is

doing an admirable job in being disciplined on the supply side and I think we’ve got a combination


523256                                            86
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 91 of 151 PageID #:21546




where we combine that discipline with strong demand for product and that’s why you’ve seen the

pricing environment that we’re now enjoying.” Lovette also commented that “I believe the

industry has learned over the past three to five years that chicken economics is going to be driven

by the supply and demand of chicken and not necessarily what corn or soybean meal costs. I think

I’m confident to say we’ve, we figured that out and we’re doing a good job of balancing supply

and demand.”

         276.   On the May 3, 2013, earnings call, Pilgrim’s President & CEO Lovette also

discussed the importance of continued restraint of the industry’s breeder supply flock, noting

“[w]ell, I only know what we’ve seen happen in the past. Now, certainly, this summer if the

industry chooses to grow the breeder supply significantly, that’s definitely going to impact 2014.

What I’m saying is, so far, we’ve seen no indication that the industry plans to grow the breeder

supply and as a matter of fact, it’s actually shrunk. So that’s the source of my comments. Do I

know what’s going to happen in June or July or August of this year with respect to breeder

placements, I don’t know that. I would tell you that based on the last three to five years, though,

again, I’ll reiterate that I think the industry has learned that the economics of our business is tied

very closely to the supply of chickens and we’ve done a good job so far of maintaining discipline

such that even paying nearly $8.50 for corn, we’ve been able to be profitable as an industry.”

         277.   On October 4, 2013, CEOs and other senior executives of Defendants’ companies

met at the annual NCC meeting in Washington D.C. The meeting featured a panel with GNP CEO

Mike Helgeson, Tyson CEO Donnie King, and Simmons Foods CEO Todd Simmons. According

to one publication’s account of the panel, the CEOs were “chipper about the prospects for their

industry in the next few years.” This meeting was also attended by Keystone Foods executive Tim

Esslinger.




523256                                           87
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 92 of 151 PageID #:21547




         278.   On a January 31, 2014, earnings call, Tyson CEO Donnie Smith reported that

through Tyson’s “buy versus growth strategy we continue to keep our supply short of demand . . .

.” Tyson’s continued use of Buy vs. Grow, including through the present, allows Tyson and other

Defendants to reduce production on a month-to-month basis and have opportunities to learn more

information about one another’s production and pricing.

         279.   On a February 21, 2014, earnings call, Pilgrim’s President & CEO Bill Lovette

reflected on what had led to record earnings for Pilgrim’s. He noted that “I think the one thing

that creates…has created that stability is the discipline of the industry to not allow profitability in

the past to drive supplies in the future. I think we all have an understanding that our industry is

mature, especially in the U.S. Consumption of total meat in the last five years has not grown and

our growth in the future is going to come from markets outside the U.S. And so, we have a different

model today than we had 15…10 or 15 years ago in that consumption in this country is not growing

as robustly as it used to. And I think that discipline really, Ken, is the one ingredient that has made

for more stable earnings that we have seen. We have certainly seen a lot of volatility in feed

ingredient costs, even as recent as this past year. And I don’t know what…I mean you can make a

solid argument for corn and soybean meal being much cheaper in 2014 and ‘15, given the

rebuilding of world inventories of corn and growing inventories of soybeans. But we just don’t

know what the next weather event in either, South America, North America or even Eastern Europe

may present in terms of the supplies of those feed ingredients.”

         280.   On March 12, 2014, Tyson CEO Donnie Smith attended an industry conference

and told the attendees that “[a] ‘meaningful change’ in bird production won’t occur until the second

half of 2015.” Smith’s confidence about broiler production was possible because of the radical




523256                                            88
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 93 of 151 PageID #:21548




reductions in Broiler breeder flocks Defendants had made during 2011 and early 2012, which

Smith knew made it impossible for Defendants to “meaningful[ly] change” Broiler production.

         281.   Industry analysts noted the change in the nature of Defendants’ production cuts. On

May 6, 2014, a Stephens, Inc. analyst said in an interview that historically “it has been very easy

to increase the chicken supply because the cycle is so short. It only takes four to eight weeks to

grow a chicken, but U.S. chicken producers are having a hard time increasing the chicken supply

by much. They cut production capacity throughout the supply chain when grain prices were very

high. Because of this, they cannot materially increase supply for 2014. We likely won’t see a

material increase in production until the second-half of 2015.”

         282.   During 2013 and into 2014, Defendants continued to find ways to actively depress

the size of Broiler hatchery flocks, such as using the pretext of avian flu in Mexico to justify

exporting hatchery flock Broilers to Mexico to repopulate flocks rather than use such Broilers to

increase domestic production levels. Indeed, Defendants continued their program of exporting

Broiler hens and eggs to Mexico in 2015, with Tyson explicitly noting in a May 4, 2015, earnings

call that it was sending 3% of its eggs to Mexico to “fill incubators.” Similarly, during a July 2016

earnings call, Pilgrim’s CEO Bill Lovette noted his “confidence that we’re going to do the right

thing with respect to maintaining [] discipline. We’ve certainly had the hatching egg supply to

grow much more if we chose not to export those eggs. I think in May we exported 81 million

hatching eggs or so outside of the country. The industry could have chosen to set some of those

eggs domestically, but that was not the choice that was made. And so again that gives us confidence

that we’re going to continue to be disciplined as an industry.”

         283.   Defendants’ coordinated exportation of Broiler hatching eggs from the U.S. from

2013 through the present is an active effort to artificially reduce the supply of Broilers in the U.S.




523256                                           89
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 94 of 151 PageID #:21549




below what it would be absent Defendants’ active and continued participation in an illegal antitrust

conspiracy. Upon information and belief, Tyson and other Defendants exported hatching eggs to

Mexico and other foreign countries from 2013-2016 to artificially reduce the supply of Broilers in

the U.S. and increase the price of Broilers in the U.S. The value Tyson and others received for

exporting hatchery eggs to Mexico would have been far exceeded by the price Tyson would have

received for hatching those same eggs in the U.S. and selling the resulting Broiler meat in the U.S.

market. Therefore, but for Defendants’ agreement and conspiracy as alleged in this Complaint, it

would have been against Tyson’s independent economic self-interest to export hatching eggs to

Mexico and to forgo higher hatching egg prices in the United States. But Defendants’ new-found

discipline ameliorated any remaining risk and resulted in higher U.S. broiler prices.

         284.   According to an October 1, 2014, CoBank analysis of the Broiler industry, the

strategy of Defendants to target Broiler breeder flocks paid dividends during 2013 and 2014.

According to the report, “[b]roiler product demand should remain robust through the rest of this

year and well into 2015, bolstered by a gradually improving domestic economy, continued strength

in export demand, and the towering prices of beef and pork. Broiler production, however, has

been slow to respond, with integrators having had problems expanding the number of chicks placed

for growout. Broiler meat production is on track to grow just 1.5 percent in 2014 from a year ago,

with a similarly modest gain expected for 2015. Producers have been somewhat constrained in

their attempts to expand the nation’s chicken flock by the limited supply of broiler hatching eggs.

When the broiler-producing industry reduced production in 2011 and 2012, the hatchery supply

flock was also reduced, and it has not yet been rebuilt to prior levels. Following seven months of

[Year-over-Year (“YoY”)] declines, the number of chicks placed for growout finally posted a

modest 1 percent YoY gain in August. However, it will take another 6-9 months for integrators to




523256                                          90
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 95 of 151 PageID #:21550




rebuild the supply of broiler hatching eggs in preparation for expanding the overall flock, so

significant growth in broiler production will not materialize until late-2015 or early-2016.”

         285.   On October 10, 2014, NCC President Mike Brown wrote an op-ed in The National

Provisioner. The title of Brown’s article, “Biofuel policy holds back production ramp-up,”

continued to blame the Broiler industry’s boogey man of the Renewable Fuel Standard (aka the

ethanol mandate) instead of Broiler producers’ collusive agreement to not increase production in

line with demand. Brown wrote, “current favorable market conditions would normally stimulate

production to be somewhat higher, that is, a percentage more aligned with the long-run annual

average of 4 percent. So why are chicken producers not stepping up production to better match

the long-term average of 4 percent? We would if we could, but we can’t. We would like to

produce more pounds of chicken, but unfortunately we are not there yet. The primary reason for

the industry’s inability to increase production can be attributed to problems caused by a failed

policy” of the Renewable Energy Standard. Brown also went on to blame fertility issues in the

breeder stock and a propane shortage that made it difficult to heat chicken houses as other reasons

the industry could not increase production.

         286.   On October 29, 2014, Simmons Foods announced the closure of its Jay, Oklahoma

spent hen processing plant. Spent hens are Broiler breeders that have reached the end of their

productive life cycle. The Simmons facility processed spent hens on behalf of many Defendants,

providing Simmons with opportunities to monitor changes in other Defendants Broiler breeder

supplies. The closure of Simmons’ Jay, Oklahoma facility is indicative of the reduced Broiler

breeder capacity resulting from Defendants’ initiatives to cut Broiler breeder capacity across the

industry.




523256                                          91
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 96 of 151 PageID #:21551




                7.   Avian Flu Disrupted The Export Relief Valve During 2015, But Prices And
                     Profitability Remained Relatively Stable Into 2016.

         287.   Signs in late 2014 began to point towards the possibility of rising production levels.

A few Defendants announced production cuts, but due to the substantial reductions in Broiler

breeder flocks Defendants had already taken, Defendants’ production was already constrained.

Defendants undertook various affirmative acts in furtherance of the conspiracy, including

exporting of hatching eggs outside the U.S., inter-Defendant purchases in furtherance of

Defendants’ conspiracy such as Tyson’s Buy vs. Grow program, breaking eggs rather than setting

eggs, dumping of excess Broiler supply in foreign markets, closing Broiler production facilities,

and manipulating at least one Broiler price index.

         288.   For example, Tyson announced on May 4, 2015, the closure of its Buena Vista,

Georgia, Broiler plant as part of an ongoing effort to “increase efficiencies.”          Tyson also

announced it was eliminating one shift at its Dawson, Georgia plant. Tyson announced in May

2015 that it planned to reduce its production after July 2015 and keep production flat through 2016

by increasing its Buy vs. Grow purchases.

         289.   In addition to the continuation of Defendants’ illegal supply restriction that

artificially increased the price of all Broilers, around January 2015 the Georgia Dock price index

began to deviate significantly from other price indices (see ¶¶ 129-147).

         290.   As alleged above, due to the GDA’s One Cent Rule, it was not possible for only

one or two Broiler companies to report a significantly higher Broiler price to the Georgia Dock

without being disregarded as outliers by the GDA. Accordingly, on information and belief,

Plaintiffs allege that Defendants began collectively reporting prices to the GDA that not only were

identical or nearly identical, but also were significantly above the actual market rate. As a result,

Georgia Dock prices continued to rise and later stabilize during 2015-2016 at near historic highs.



523256                                           92
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 97 of 151 PageID #:21552




As described further in this Complaint, it was not until a series of articles was published between

November 3, 2016 and November 17, 2016 that information was publicly available to show

Defendants may have fixed the Georgia Dock price.

         291.   During 2015, despite the devastation Avian Flu caused to the turkey and table egg

industries, the Broiler industry was largely unaffected by the disease, with the primary effect being

temporary bans on exports from some specific states or of all Broiler exports from the U.S. to

various countries, such as China, Korea, and a number of other nations.

         292.   Avian Flu-related export limitations during 2015 caused frozen Broiler inventories

to build up in the U.S., threatening the stability of Broiler prices Defendants had worked so hard

to increase since 2008. In response, Defendants worked in concert to coordinate the dumping of

excess inventories of Broilers in foreign markets to avoid deterioration of the artificially high

prices in the U.S. resulting from Defendants’ conspiracy. For instance, in early October 2015,

Vietnam launched an inquiry into dumping by U.S. Broiler producers after Vietnamese Broiler

producers determined that dumping of frozen chicken by U.S. producers had cost it over $120

million in the last 16 months. A report by Vietnam’s Southeast Livestock Association concluded

that U.S. Broiler companies were selling chicken thighs in Vietnam for 29% of the price of a

similar product sold in the U.S. market (e.g., at a Walmart), excluding the additional cost of frozen

shipping rates, import duties and other fees associated with U.S. producers selling chicken thighs

in the Vietnamese market. By late May 2016, Sanderson Farms CEO Joe Sanderson reported on

an earnings call that all but one of the Avian Flu export bans had been lifted.

         293.   In late 2015, Broiler industry analyst Heather Jones noted that chicken supplies had

not increased as expected from the Avian Flu due to the fact Defendants had started breaking eggs




523256                                           93
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 98 of 151 PageID #:21553




rather than setting eggs. Defendants coordinated the breaking of eggs with one another during

2015, in part, by the exchange of production information through Agri Stats.

          294.   Watts PoultryUSA’s March 2016 issue noted that Tyson Foods achieved “record

earnings and sales in fiscal year 2015 . . . posting $40.6 billion in sales, including ringing up higher

chicken sales. Yet, Tyson lowered chicken production in 2015. What’s at work here? This

paradoxical performance, in part, reflects the fact that Tyson, along with other top U.S. broiler

companies, is redefining its business model to achieve profitable growth.” In fact, the explanation

for Tyson’s “paradoxical” 2015 performance—including increasing its Broiler profits but lowering

its Broiler production—was the result of the illegal conspiracy alleged in this Complaint.

          295.   Prices during the first half of 2015 remained relatively flat, which led NCC

President Mike Brown to write another op-ed in The Wall Street Journal on May 15, 2015, to try

to explain why Broiler prices remained so high. Like his previous op-ed, he again blamed the

Broiler industry’s typical boogeyman – the Renewable Fuel Standard – for increased Broiler

prices.

          296.   During 2016, Broiler prices have declined, but significantly less so than input costs.

Defendants have maintained artificially high Broiler prices and high profitability during 2016 by

exercising “discipline” on their Broiler supply and manipulating at least one Broiler price index.

For instance, during an April 2016 earnings call, an analyst noted that Pilgrim’s CEO Bill Lovette

“mentioned that you think the industry domestically has been much more disciplined than they

have been in the past, I’m wondering if you could just elaborate a little bit more on what sort of

drives that view and then maybe what gives you confidence that this discipline will hold.” Lovette

responded, “[w]hat drives the view is the actual numbers that we see, ready to cook pounds are up

about 3.1% year to date. If you look at placements year to date, they’re up 1%, egg sets up 0.7%,




523256                                            94
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 99 of 151 PageID #:21554




hatchery utilization actually declined in Q1 to 91%. So in the phase of coming off two of the most

profitable years in the industry, we’re not seeing, not realizing large amount of production

increases.” Tellingly, Pilgrim’s CFO Fabio Sandri added immediately after Lovette’s comments

that “what drove that I believe it is that industry is more geared towards profitability rather than

just market share or field growth.” Put another way, Defendants are no longer competing with one

another to gain market share by growing their companies as one would expect in a competitive

market, but instead Defendants are working collectively to increase profitability by being

“disciplined” in terms of supply growth.

         297.    Other CEOs have also been forced recently to try to explain the marked shift in the

Broiler industry’s profitability in recent years, after the decades’-long pattern of boom and bust

regarding Broiler pricing and profitability. During a February 2016 Sanderson Farms earnings

call, BMO Capital Markets analyst Ken Zaslow noted the Broiler industry’s history of volatility in

pricing and profitability for chicken companies and questioned if there was “any changing of the

industry dynamic” that had occurred. Sanderson Farms CEO Joe Sanderson replied “we might be

at a capacity wall, you know? . . . Since back in 2007 . . . there are three or four plants shuttered .

. . It does feel different.”

         298.    A January 18, 2016, article in The Wall Street Journal questioned whether

Defendants, including Tyson, Sanderson Farms, Pilgrim’s, and Wayne Farms, have intentionally

manipulated the pricing data they report to the Georgia Department of Agriculture. As discussed

above, in early November 2016 evidence became public suggesting that the Defendants may be

fixing the Georgia Dock price.

         299.    During 2016, Defendants’ profitability has also been aided, in part, by the fact that

input costs have decreased substantially, though Broiler prices have not experienced a similar




523256                                            95
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 100 of 151 PageID #:21555




decline. During a Broiler industry conference in February 2016, industry analyst Dr. Paul Aho

reported that overall profitability has remained steady or increased, as input costs have drastically

decreased. Aho noted that during 2016 there have been “broad-based declines in key commodities,

especially feed grains and energy.” In fact, in May 2016 Tyson posted record quarterly growth,

with profit margins for Broilers rising to between 9 and 11 percent.

         300.   Not only is the harmony among Defendants and resulting high profit margins

achieved by Tyson and other Defendants in recent years remarkable, so is their fairly recent ability

to accurately predict their profit margins into the future. For instance, before 2008, Tyson had

profit margins in the 5-6% range and would not predict future profit margins, but after 2008, Tyson

would routinely predict record margins of 13% or more with surprising accuracy.

         301.   Defendants have also kept up the use of signals to one another to perpetuate their

conspiracy during 2016 by using the code word “discipline” to note their continued adherence to

Defendants’ conspiracy. For instance, during a February 2016 earnings call, Pilgrim’s CEO Bill

Lovette noted that “[t]he industry continues to be disciplined in terms of U.S. supply. Although

monthly pullet data tend to be volatile and have occasionally been at the high end of our

expectations, we see modest growth of the breeder flock, and more importantly, little to no increase

in egg sits [sic] and chick placements as a positive. We believe that at least part of the reason is

because chicken producers are being disciplined and are much quicker to react than in the past and

in adjusting supply growth to the actual market conditions.” Similarly, in a July 2016 earnings

call, Pilgrim’s CEO Bill Lovette noted that “I think what we’ve seen with egg sets is absolutely a

testament to the discipline of our industry that we’ve seen the last really two to three years.”




523256                                           96
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 101 of 151 PageID #:21556




     E. The Structure And Characteristics Of The Broiler Market, Together With Other
        Factors, Render The Conspiracy Economically Plausible.

                   1.   The Broiler Industry Is Highly Vertically Integrated.

          302.     The Broiler industry is almost entirely vertically integrated, with Broiler-processing

firms owning or tightly controlling almost all aspects of production, processing, and marketing.

In the Broiler industry, “vertical integration” means the Broiler company owns or controls each

aspect of breeding, hatching, rearing, feeding, basic processing, and selling of Broilers. Many

integrated Broiler companies also own further processing plants.8

          303.     Because Broiler producers have determined over time that the economics of

growing chicks into full size Broilers are unfavorable, the Broiler industry has developed a system

of production-contract farming. The integrated producers provide the feed and chicks to farmers

(which remain under ownership of the integrated producer); the contract farmer then has roughly

6-7 weeks to grow the chicks into full size Broilers. During this “grow out” period, the integrated

producer’s employees frequently monitor the Broilers. Once fully grown, Broilers are picked up

by the integrated producer and brought to an integrator-owned processing plant (aka,

slaughterhouse). Some of the Broilers are sold without any further processing, while other Broilers

are further processed by integrated companies into value-added specialty products (e.g., chicken

nuggets, etc.).

          304.     The graphic below indicates the key stages of Broiler production that vertically

integrated Broiler companies control, which are all those points in the production process which

provide integrated Broiler companies complete control over supply and allow them to capture the

greatest profit margin:




8
    See fn. 7 above.


523256                                              97
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 102 of 151 PageID #:21557




         305.   According to a paper prepared in connection with the USDA and DOJ’s failed effort

to increase competition in the Broiler industry in 2010, “[c]ontrol over the number of birds

delivered to the processing plants allows processors to match more closely inputs to plant

capacities and lower per-unit processing costs, as well as to better meet consumer requirements.”

In connection with the same effort by the USDA and DOJ, a former expert witness for Defendant

Tyson, Michael Dicks, wrote, “[i]n the poultry industry vertical coordination allows integrators to

manage excess capacity to manage price. Integrators can minimize the effect on producers by

increasing the time between collection and delivery of birds or reducing the number of flocks per

year rather than terminating grower contracts in much the same way the USDA requires all

commodity program recipients to adhere to acreage reduction program guidelines and grower

associations require members to cut back marketable output.”


523256                                          98
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 103 of 151 PageID #:21558




         306.   Modern Broiler producers rely on a handful of unique Broiler breed lines to mass

produce essentially identical chickens with desirable genetic traits. Genetics companies, which

develop strains of grandparent and great-grandparent breeding stock, sell to integrated Broiler

producers breeders that have special hybrid characteristics, such as a tendency to produce a large

chicken breast. Genetics companies create a “biological lock” on their unique Broiler lines by

tightly controlling the purebred genetic strain that they develop. After an integrated producer

purchases young breeder hens (aka “breeder pullets”) from a primary breeder, the integrated

producer raises the birds to be breeders that lay eggs to be taken to incubators at an integrator-

owned hatchery. The chicks from Broiler company hatcheries are then sent out to the integrated

producer’s contract-farmers to raise into adult Broilers.

         307.   At present, no Broiler company except Tyson owns the genetics or produces the

grandparent or great-grandparent strain for the Broilers it raises and slaughters. Nearly all U.S.

producers now rely on 3 global genetics conglomerates: Cobb-Vantress (owned by Tyson),

Hubbard, and Aviagen. These three companies supply the breeder stock, and therefore ultimately

the Broilers, that account for 98% of Broilers raised in the U.S. and 80% of Broilers raised globally.

While there were 26 Broiler genetics companies world-wide in 1981, acquisitions by the three

remaining companies have essentially eliminated any other meaningful competitors in the U.S.

Tyson’s Cobb-Vantress subsidiary has approximately 50% market share.

         308.   Since a supply of primary breeders is essential to each Broiler producer’s business,

Tyson’s ownership and control of subsidiary Cobb-Vantress provides it with exceptional leverage

over other Defendants to mandate compliance with Defendants’ illegal agreement. Tyson can

offer other Defendants the carrot of access to Cobb-Vantress’ unique Broiler genetic lines, with

desirable qualities like high conversion rates of feed into meat. However, Tyson can also use




523256                                           99
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 104 of 151 PageID #:21559




Cobb-Vantress as a stick against any competitor who Tyson and/or its co-conspirators believe is

overproducing Broilers by providing such competitors inferior, sick, or an insufficient number of

breeder pullets, or withholding breeder pullets altogether that the competitor needs to operate a

profitable business.

         309.   Perdue was the last Broiler integrator in the U.S. to maintain its own genetics

research company besides Tyson, but Perdue sold its genetics company to Tyson in 2014. In

announcing the sale, Perdue issued a press release that stated “there are no longer significant

advantages to having our own breed . . . it is important that we have the flexibility to select the

breeder combination that works best for each specific customer requirement.” The press release

went on to note that “[w]ith the outstanding exception of the Cobb-Vantress enterprise owned by

Tyson Foods, no producer has managed to effectively compete using an in-company breeding

program against a multinational primary breeder. To be cost effective a genetics program based

on index selection incorporating the measurement of significant traits and applying sophisticated

molecular markers and field testing requires a magnitude of scale exceeding the capacity of

individual producers.”

         310.   Upon information and belief, Defendant Tyson, through its Cobb-Vantress

subsidiary, intentionally manipulates the supply of grandparent and great-grandparent Broiler

stock (from which it suppliers integrators with Breeder pullets) including, but not limited to, only

providing healthy and high quality breeder pullets to certain of its co-conspirators, but providing

inferior and sick quality breeder pullets to other smaller non-Defendant Broiler producers. This

practice contributed significantly to the bankruptcy or failure of a number of smaller Broiler

companies in the 2010 time period.




523256                                          100
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 105 of 151 PageID #:21560




                2.   The Market For Broilers Is Characterized By Inelastic Supply And
                     Demand.

         311.   According to a May 2010 paper written by Broiler industry consultant Michael

Dicks, “[b]ecause of the inelastic nature of the supply and demand [of Broilers,] a reduction in

supply will produce an outcome more preferable to the industry than maintaining supply with a

lower price.” A study by consultant The Hudson River Group for Pilgrim’s in 2008 found that a

one percent decrease in the supply of Broilers leads to a 0.8% increase in the price of Broilers. In

other words, demand for Broilers is inelastic, so a decrease in supply will increase prices.

         312.   Defendants acknowledge that supply and demand in the Broiler industry is

inelastic. For instance, in his May 2010 paper, Broiler industry consultant Michael Dicks wrote

that “[a]ttempting to maintain supply levels would reduce price to levels unsustainable even in the

short run. Because of the inelastic nature of the supply and demand a reduction in supply will

produce an outcome more preferable to the industry than maintaining supply with a lower price.”

         313.   Broiler producers have asserted in public statements that changes in wholesale

Broiler prices have been due to changes in “supply and demand.” However, demand for Broilers

has been flat since 2008, while at the same time wholesale Broiler prices have risen roughly 50%.

Therefore, it is the reduction in the supply of Broilers that has led to Broiler price increases.

                3.   There Are No Significant Substitutes For Broilers.

         314.   Pork and beef are the most likely alternative sources of protein to Broilers, but pork

and beef are not economic substitutes for Broilers. Numerous studies have found that the cross

elasticity of demand between Broilers, beef, and pork is either negative or statistically

insignificant, meaning that pork and beef are complements to Broilers, but not substitutes.

         315.   The historically high spread between the price of pork and beef versus Broilers

since 2008 has also reduced any possibility of substitution of Broilers with pork or beef.



523256                                           101
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 106 of 151 PageID #:21561




                 4.   The Broiler Industry Has Experienced High Consolidation And Is Highly
                      Concentrated.


          316.   According to a November 2013 USDA report,"[d]uring the past 16 years, firms in

 the Broiler industry continued to decrease in number and grow in size, thereby gaining further

 economies of scale and scope in processing and marketing. According to the National Chicken

 Council, 55 federally inspected Broiler companies operated in 1995, compared with 41 companies

 in 2010." By 2014, there were only 35 such companies.

          317.   In fact, the trend towards consolidation among all segments ofthe Broiler industry

 goes back decades, as shown below. This consolidation has largely squeezed out the large number

 of smaller Broiler companies that used to represent a significant portion of Broiler industry

 production.

                                       Industry Consolidation, 1980-2008,
                                    (Percent industry Production Controlled)




                            o    <o                ft                  m       00        s?       3          5s
                            00   CO       00
                                          ^
                                                   n
                                                   ^                  S:
                                                                      5^
                                                                         8: 8
                                                                         •— CN
                                                                               8
                                                                               CN
                                                                                  S
                                                                                  CN

                                 ■ Top20Cos.         ^ ToplOCM. aMiTopSCoi.                         MTopSCos.
                                  Soiwo: WAU PbuliryUSA. Noto: 80-62 % bosod on jibwg^lw; 83-08 % based on   JBC




          318.   As of 2015, Defendants controlled 88.8% of Broiler production in the United States.

 Since the start of the Class Period, there has been surprising stability in market share for each

 Defendant, as shown by the graph below. The two exceptions are Pilgrim's loss of market share




 523256                                                           102
  Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 107 of 151 PageID #:21562




  due to its large plant closures during bankruptcy in 2008-2009 and Koch Foods’ increase in market

  share due to the purchase of a plant from Tyson and purchase of bankrupt Cagle’s, Inc.

25.00%
                              Defendant Market Shares 2008‐2015
                                                                                      Tyson
                                                                                      Pilgrim's Pride
20.00%                                                                                Sanderson Farms
                                                                                      Perdue Farms
                                                                                      Koch Foods

15.00%                                                                                Wayne Farms
                                                                                      Mountaire Farms
                                                                                      Peco Foods
                                                                                      House of Raeford Farms
10.00%
                                                                                      George's
                                                                                      Foster Farms
                                                                                      Fieldale Farms
 5.00%
                                                                                      Mar‐Jac Poultry
                                                                                      O.K. Foods
                                                                                      Simmons Foods
 0.00%                                                                                Claxton Poultry Farms
           2008     2009     2010     2011      2012     2013      2014     2015
                                                                                      Harrison Poultry




           319.   In addition to formal consolidation among Defendants, increased antitrust scrutiny

  of acquisitions in the Broiler industry by the U.S. Department of Justice has led Broiler companies

  to increasingly rely on de facto consolidation whereby Defendants acquire nearly complete control

  over seemingly independent smaller Broiler companies. Defendants’ de facto consolidation

  creates “zombie” Broiler companies that on paper are separate and independent entities, but are in

  fact completely controlled by Defendants through co-packing contracts. For instance, Tyson

  Foods has co-packing arrangements with a number of smaller Broiler producers in which Tyson

  purchases either (1) the company’s entire production of Broilers (including dark meat) or (2) all



  523256                                         103
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 108 of 151 PageID #:21563




of the company’s white meat (i.e., chicken breast and wings) and encourages the company to

export the less valuable dark meat to remove that supply from the United States market.

         320.   Upon information and belief, Defendants’ co-packing contracts with smaller

producers are typically 2-5 years in length. Even where the co-packing arrangement is only 10-

20% of a smaller producer’s overall supply, Defendants are in a position to pressure smaller

producers to limit their production. Co-packing contracts give Defendants unprecedented control

over supposedly independent producers, including control over the breed of bird grown, what feed

can be used, how many birds can be grown, and numerous other aspects of raising Broilers. With

respect to processing, Defendants not only require exacting specifications for co-packing partners,

but also put Defendants’ own employees in the processing plants of their co-packers and supervise

every significant detail of the slaughter and packing process.

         321.   Upon information and belief, the purpose and/or effect of Defendants’ co-packing

arrangements is it avoids scrutiny from antitrust regulators that would come with formal merger

arrangements, including possible discovery of Defendants’ anti-competitive agreement to reduce

the supply of Broilers in the U.S.

                5.   The Broiler Industry Has A History Of Government Investigations And
                     Collusive Actions.

         322.   In response to a Federal Trade Commission investigation in 1919 which found

oligopoly domination and anti-competitive monopolistic behavior in the meat-packing industry,

Congress passed the Packers and Stockyards Act (“PSA”). See 7 U.S.C. § 193(a), § 209. Congress

amended the law to include the poultry industry in 1935.

         323.   In 1922, the Supreme Court upheld the constitutionality of the PSA in Stafford v.

Wallace, finding that “the object of the PSA was to secure the flow of livestock from the farms




523256                                         104
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 109 of 151 PageID #:21564




and ranges to the slaughtering center and into meat products unburdened by collusion that unduly

lowered the prices to the shipper and unduly increased the price to the consumer.”

          324.    In April 1973, the United States Department of Justice filed a civil antitrust action

against the National Broiler Marketing Association (“NBMA”) alleging the NBMA and its

members conspired to fix Broiler prices and restrict Broiler production in violation of Section 1 of

the Sherman Act. The DOJ sought to enjoin the NBMA and its dozens of members from

continuing a conference call program where members (and even some non-members) coordinated

the pricing and production of Broilers. In response, numerous private civil antitrust actions were

filed against the NBMA and 42 individual defendants in the In re Chicken Antitrust Litigation

case. The NBMA and Broiler producers eventually settled the case, resulting in a settlement of

roughly $30 million.

          325.    Beginning in 2010, the USDA undertook a series of public workshops to explore

competition issues in the upstream, contract-farmer Broiler market. A workshop held in Normal,

Alabama, on May 21, 2010, focused on corporate concentration and lack of competition in the

Broiler industry.      The workshops led to the proposal of new rules aimed at encouraging

competition in the meat industry, but extreme political pressure from Defendants and their allies

eventually watered down the rule and led to the resignation of the official charged with imposing

tougher regulations.

          326.    In 2011, George’s Inc. acquired the Harrisonburg, Virginia processing plant from

Tyson Foods. The DOJ brought an action to stop the acquisition (United States v. George’s, Inc.),9

which alleged the purchase would impermissibly reduce the available options for contract farmers

to sell their grower services. The DOJ eventually settled with George’s in June 2011 after



9
    United States v. George’s Foods, LLC et al., No. 5:11-cv-00043 (W.D. Va.).


523256                                              105
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 110 of 151 PageID #:21565




obtaining an agreement to require George’s to make capital improvements to the facility that would

increase its capacity and permit contract farmers to sell more grower services to the processing

plant.

         327.   According to a June 2014 USDA Report, “the [Broiler] industry faces a range of

public policy issues, [including] competition . . . . [c]oncerns[, including] the exercise of market

power by Broiler integrators have prompted merger litigation, USDA regulatory initiatives,

congressional proposals, and investigations by Federal agencies.”


         328.   Numerous cases in recent years have documented the lack of competition in the

contract-farmer Broiler market, which while upstream in the supply chain from the Plaintiffs’ and

Plaintiff Class’s direct purchaser market, suggest an absence of true competition and instead

suggest a practice of coordination and collusion among Defendants. In cases such as Adams v.

Pilgrim’s Pride, No. 2:090-cv-00397 (E.D. Tex.), Been v. O.K. Industries, No. 08-7078 (E.D.

Okla.), and Wheeler v. Pilgrim’s Pride Corp., No. 5:06-cv-00004 (E.D. Tex.), contract-farmers

have alleged violations of the Packers and Stockyards Act by integrated Broiler producers.

                6.   Defendants Had Numerous Opportunities To Collude.

                     a.   Trade Associations.

         329.   Defendants are members of several Broiler-related trade associations and other

forums, which they used to facilitate their conspiratorial conduct. Integrated Broiler producers

have numerous regular events through which they can communicate in person with one another.

Regular and frequent attendance by Defendants’ CEOs and top level executives at trade association

meetings is the norm rather than the exception.

         330.   According to its website, “[t]he National Chicken Council represents integrated

chicken producer-processors, the companies that produce, process and market chickens. [The 40]



523256                                          106
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 111 of 151 PageID #:21566




member companies of NCC account for approximately 95 percent of the chicken sold in the United

States.” The CEOs of the top integrated Broiler producers are routinely on the board of directors

and meet at least quarterly with one another through the NCC.

         331.   The NCC has three annual board meetings attended by Defendants’ senior

executives, including most or all Defendants’ CEOs and other top executives. Every Defendant

and Co-Conspirator is a member of the NCC, including Mar-Jac, Claxton Poultry, Harrison

Poultry, Case Foods, Keystone, Amick, and Allen Harim. CEOs generally always attend the

following three NCC meetings each year, in addition to special committee meetings or other

special NCC events: (a) the January meeting of the NCC held along with the International Poultry

Expo, (b) the mid-year Board of Directors meeting, and (c) the NCC Annual Meeting in October.

Generally, CEOs arrive the night before an NCC meeting and socialize with their colleagues, then

have small private dinners with one or more of their competitors’ CEOs or top executives. The

next day, the formal NCC meetings are held and executives from Agri Stats and other allied

industry organizations make presentations at the meeting. A formal lunch is held during the

meeting and provides CEOs and top executives and opportunity to talk casually with their

competitors. Following the meeting, Defendants’ CEOs and top level executives often meet,

socialize and golf, hunt, or fish together. Amick President and CEO Ben Harrison, who served on

the NCC Board of Directors throughout the Class Period, is currently the NCC’s Chairman.

Similarly, Allen Harim President and CEO Robert Turley served on the NCC Board of Directors

throughout the Class Period and regularly attended its meetings. Thomas Shelton, Chairman and

CEO of Case Foods, has continuously been a member of NCC since 1988 through the Class Period

serving on the Board of Directors and as President during that time. Numerous executives of

Keystone Foods, including Jeff Bailey (Director of National Account Sales), Jenelle Duncan




523256                                        107
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 112 of 151 PageID #:21567




(Domestic Sales Manager), Chuck Cooper (Senior Director Supply Chain), Charles Hill (VP Sales

& Marketing), and Keith Lewis (former Senior Vice President for U.S. Poultry and Fish), were

also members of the NCC during the Class Period.

         332.   Upon information and belief, CEOs and top level executives from Defendants and

Producer Co-Conspirators discuss topics with one another relating to pricing, production, and other

non-public, proprietary information outside of NCC’s formal meetings at the informal settings

surrounding NCC meetings described above. These regular, informal, and in-person opportunities

to discuss pricing and production in the Broiler industry gives CEOs and top level executives

comfort that their competitors remain committed to a plan to artificially restrict Broiler production.

         333.   The United States Poultry & Egg Export Council (“USAPEEC”) has its home office

in Stone Mountain, Georgia. Defendants are all members of USAPEEC. USAPEEC has a network

of international offices and consultants in key export markets. The mission of USAPEEC is to

promote exports of U.S. poultry and eggs around the world. The group has evolved into an

association that is an advocate for the industry on trade policy issues. USAPEEC has about 200

member companies and organizations. USAPEEC holds Board of Directors meetings quarterly

and includes executives from all or nearly all Defendants and co-conspirators.

         334.   The U.S. Poultry & Egg Association (“U.S. Poultry”) describes itself as the world’s

largest and most active poultry organization. U.S. Poultry’s members include producers and

processors of Broilers, turkeys, ducks, eggs and breeding stock, as well as allied companies.

Defendants and Producer Co-Conspirators are all members of U.S. Poultry. U.S. Poultry holds

regular Board of Directors meetings each quarter during January, March, June, and each fall.

         335.   The Georgia Poultry Federation “is a non-profit trade association which represents

the poultry industry in Georgia, the nation’s leading broiler producing state. The Federation was




523256                                           108
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 113 of 151 PageID #:21568




founded in 1951, and since that time has represented the interests of the entire poultry industry at

the state and federal level on legislative and regulatory matters.” The Georgia Poultry Federation’s

mission is “[t]o protect and improve the competitive position of the poultry industry in Georgia,

the nation’s leading poultry producing state.” The Georgia Poultry Federation has regular

meetings each April, August, and September which typically are attended by Defendants’ senior

executives.     Defendants House of Raeford, Perdue, Fieldale Farms, Wayne Farms, Tyson,

Sanderson Farms, Pilgrim’s, Mar-Jac Poultry, Harrison Poultry, and Claxton Poultry, and Producer

Co-Conspirator Keystone Foods, are members of the Georgia Poultry Federation.

         336.    The North Carolina Poultry Federation “has been the voice of the North Carolina

poultry industry since 1968.” The mission of the North Carolina Poultry Federation “is to create

a favorable climate for business success for everyone involved in the poultry industry in North

Carolina.” The North Carolina Poultry Federation holds regular meetings each year, including

annual meetings and Board of Directors meetings which typically are attended by Defendants’

senior executives. Defendants Tyson Foods, Perdue, Mountaire Farms, House of Raeford, Wayne

Farms, Sanderson Farms, and Pilgrim’s, and Producer Co-Conspirator Case Foods, are each

members of the North Carolina Poultry Federation.

         337.    The Poultry Federation was established in 1954 as a non-profit trade organization

to represent the poultry and egg industries in Arkansas, Missouri, and Oklahoma. In 1998, the

Arkansas, Missouri, and Oklahoma organizations were consolidated and became The Poultry

Federation. The Poultry Federation claims to promote all poultry interests relating to production,

distribution, merchandising, and consumption of poultry, and poultry products. It disseminates

information relating to the various phases of the Broiler industry to improve and expand markets,

to increase efficiency in production and marketing, and to encourage and support research in




523256                                          109
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 114 of 151 PageID #:21569




production and marketing of poultry. The Poultry Federation holds regular meetings each year,

including Board of Directors meetings with Defendants’ senior executives identified below.

Defendants Foster Farms, O.K. Industries, Inc., Pilgrim’s, Simmons Foods, Peco Foods, Tyson

Foods, George’s, Inc., and Wayne Farms are each members of the Poultry Federation.

         338.   The International Poultry Expo (“IPE”) was held annually from 2008-2012. The

IPE billed itself as “the networking hub of the world for the poultry industry.” The IPE was held

annually in late January in Atlanta, Georgia. Defendants’ senior executives, and numerous mid-

level executives and other employees, attended the IPE each year. The International Producers

and Processors Expo (“IPPE”) is the world’s largest annual poultry, meat, and feed industry event.

IPPE held its first event in January 2013 and combined three previously separate expos – the IPE,

the International Feed Expo, and the International Meat Expo. According to the IPPE’s website,

a wide range of international decision-makers attend this annual event to network and become

informed on the latest technological developments and issues facing the industry. The 2015 IPPE

featured more than 7,245 international visitors from over 103 countries, including attendees from

Chile, France, Singapore, and Australia. IPPE indicates that Defendants and co-conspirators each

sent their “Top Management” to the 2014 IPPE in January 2014. The most popular panel each

year is the “market intelligence” forum, which features an Agri Stats executive speaking regarding

the Broiler industry. Similarly, Defendants’ senior executives attended IPPE in 2015 and 2016.

         339.   The International Poultry Council (“IPC”) was formed in 2005 and is composed of

national trade associations from 23 countries, as well as 40 individual companies that are

“Associate” members. The IPC website bills the organization as the “voice of the global poultry

industry” and its mission is to “strengthen communication between the industries of different

countries.” The NCC, USAPEEC, and USPOULTRY are members of the IPC on behalf of United




523256                                         110
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 115 of 151 PageID #:21570




States poultry producers, along with individual company members of the IPC, including Tyson,

Cobb-Vantress (a Tyson subsidiary), Sanderson Farms, and JBS S.A. (Pilgrim’s parent company).

Additionally, the Chilean poultry trade association (“APA”) and the Australian Chicken Meat

Federation (“ACMF”) are also members of the IPC.

                      b.   Overseas Distribution Solutions.

          340.   Overseas Distribution Solutions (“ODS”) is a Webb Pomerene10 organization

founded by a group of Defendants in 1999. A Webb Pomerene organization is an association of

exporters that is exempt from certain provisions of the Sherman Antitrust Act while engaging in

conduct to promote United States trade abroad. A Webb Pomerene organization may not engage

in importation or sales within the United States, however, and its members may undertake what

would otherwise be considered actionable collusive conduct only to export similar products.

          341.   ODS continued to operate at least through 2011. ODS membership by Defendants

has included Defendants Wayne Farms, Peco Foods, Sanderson Farms, Pilgrim’s, and Tyson, as

well as Cagle’s. The principal office for ODS was located for much of the Class Period in the

same town as Sanderson Farms’ headquarters – Laurel, Mississippi.

          342.   While originally a member of ODS around the time it was founded, Tyson

withdrew from ODS some time prior to the start of the Class Period. However, Tyson re-joined

ODS in 2010, but then inexplicably withdrew within a few months. Within a few years of Tyson’s

sudden departure, ODS disbanded and stopped filing for Webb Pomerene status.

          343.   While ODS had a mandate under the Webb Pomerene Act to have no impact on the

U.S. domestic market, Broiler industry executives recognize it is inevitable that exports will impact

U.S. domestic Broiler prices. For instance, former Pilgrim’s CEO Dr. Don Jackson has noted that



10
     Webb Pomerene Act of 1918, 15 U.S.C. §§ 61-66.


523256                                           111
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 116 of 151 PageID #:21571




“the broiler market is global in nature. Obviously, the U.S. business generally has more volume

obviously going into the domestic market, but both the domestic and export makes up the market.

And at times, the export market can be very impactful favorably or unfavorably to the U.S.

market.”    Therefore, according to the testimony of one of Defendants’ own CEOs, it was

impossible for ODS to comply with the Webb Pomerene requirement that ODS not impact

domestic prices for U.S. Broilers.

                    c.   Investor Conferences.

         344.   Defendants’ CEOs and senior executives participate in numerous investor

conferences organized by Wall Street analysts, providing further opportunities to meet and

communicate with one another. Such conferences are held on an annual and/or ad hoc basis

including, but not limited to, the Goldman Sachs Global Staples Forum (held every May), Bank

of America Merrill Lynch Global Agriculture Conference (held every February), BMO Capital

Markets Annual Ag & Protein Conference (held every May), BMO Capital Markets Conference

(held every May), BMO Farm to Market Conference (held every May), Urner Barry Annual

Executive Conference and Marketing Seminar (held every April or May), and JP Morgan Basic

Materials Conference (held every June).

                    d.   Competitor Plant Tours.

         345.   Defendants also permitted one another to tour each other’s Broiler plants, which

revealed confidential business methods employed by a company. While such tours were often

framed as “best practices” information exchanges, they permitted the opportunity to conspire

among senior executives.

         346.   Defendants also permit employees to regularly move between companies without

non-compete limitations or confidentiality agreements that would protect a company’s (seemingly)

proprietary business knowledge and customer base. For example, Dr. Don Jackson was President


523256                                           112
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 117 of 151 PageID #:21572




of Foster Farms’ Poultry Division until December 2008, but then immediately took a position as

CEO of Pilgrim’s. Similarly, Clint Rivers, Pilgrim’s former President and CEO until December

2008, left the company and became Senior VP of Operations and Supply Chain Management for

Perdue in 2009. Rivers then moved to Wayne Farms in 2012, where he became Chief Operating

Officer. Greg Tatum served as CFO for Claxton Poultry, before moving to Pilgrim’s in 2009 to

serve as Senior VP of Business Development. Current Pilgrim’s CEO Bill Lovette and his second-

in command, Executive Vice President Jayson Penn, both came from Case Foods to Pilgrim’s in

2011. Bill Lovette also worked at Tyson through October 2007, before moving to Case Foods in

2008, then to Pilgrim’s in 2011, where he currently serves as CEO. Mountaire’s Jim Moran (COO

& SVP Operations) joined Allen Harim in 2015 as Executive Director of Operations, before

becoming CEO of Allen Harim in 2016. Numerous other high level and well as lower level

executives move freely between Broiler companies with little or no provision by Defendants to

protect their confidential information.

                    e.   Merger, Acquisition, and Capital Financing Discussions.

         347.   Senior executives from Defendants had numerous opportunities to directly

communicate with one another regarding various mergers and acquisitions between 2008 and

2016. These merger and acquisition discussions include both completed agreements, such as those

described in Section VI(E)(4) of this Complaint, as well as proposed transactions that were never

completed. In connection with mergers and acquisition discussions, due diligence materials

regarding confidential business information were shared between Defendants.

         348.   In addition, Defendants all rely on debt financing and merger and acquisition

services from the same small group of financial institutions. In the course of providing such

services, financial institutions obtain unusually detailed access to Defendants’ non-public




523256                                        113
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 118 of 151 PageID #:21573




operational information, including production and pricing information, which provides another

opportunity for Defendants to share confidential business information.

         349.   Complete information regarding the full scope of merger, acquisition, and capital

financing discussions, communications, and due diligence information exchanged presently is

known only to Defendants and their agents.

                    f.   Other Business Dealings.

         350.   Defendants also engaged in various business dealings with one another, including

purchasing feed from one another and forming joint ventures for various purposes, such as

construction and operation of rendering plants and for the slaughter of spent Broiler breeders

(including both hens and roosters, commonly referred to as “fowl”).

         351.




         352.




523256                                         114
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 119 of 151 PageID #:21574




         353.




         354.




         355.




523256                                 115
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 120 of 151 PageID #:21575




         356.




                7.   There Are High Barriers To Entry In The Broiler Market.

         357.   The existence of high barriers to entry is one factor which makes markets

susceptible to collusion. A collusive arrangement that raises product prices above competitive

levels would, under basic economic principles, attract new entrants seeking to benefit from the

supracompetitive pricing. Where, however, there are significant barriers to entry, new entrants are

less likely. Thus, barriers to entry help facilitate the formation and maintenance of a cartel.

         358.   During the Class Period and continuing today, substantial barriers impede entry

into the Broiler market. A new entrant into the market would face costly and lengthy start-up

costs, including multi-million dollar costs associated with research and development, construction

of processing plants, feed mills, hatcheries, equipment, energy, transportation distribution

infrastructure (aka, “rolling stock”), skilled labor, experienced management, a skilled contract-

farmer base in a specific geographic area, long-standing customer relationships, safety and quality




523256                                           116
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 121 of 151 PageID #:21576




assurance, and regulatory approvals relating to environmental, worker safety, and food safety

issues.

          359.   Defendants themselves acknowledge the substantial costs of entering the market

and view it as important that new entrants not be able to purchase closed facilities. For example,

when the State of Louisiana pressured Pilgrim’s to sell its closed Farmerville Broiler complex,

Pilgrim’s executives expressed concern about any state assistance to the buyer to purchase the

Farmerville Broiler complex because such assistance could substantially reduce the buyer’s cost

basis therein, which could then permit the buyer to flood the market with low-cost Broilers.

          360.   The price of construction of a new integrated Broiler processing complex (hatchery,

feed mill, and processing plant) able to compete on price with current integrated producers is

relatively high.    Even for a current market participant, such as the third-largest producer

(Sanderson Farms), construction of a new Broiler complex (i.e., feed mill, hatchery, and processing

plant) in 2010 was estimated to cost $100-$125 million. However, these costs fail to account for

other hurdles to new market participants, discussed above.

          361.   The barriers to entry in the Broiler industry have proved insurmountable for

potential new market entrants. No company has created a new poultry company from scratch in

decades. Further, when one foreign meat company (a Ukrainian company, Omtron) tried to enter

the U.S. market in February 2011 by buying a portion of the assets of bankrupt Broiler producer

Townsend’s, Omtron invested $35 million to improve the facility’s processing operations, but

went bankrupt only five months after making the purchase.

          362.   A number of large foreign meat conglomerates have acquired U.S. Broiler

producers in the past decade, including Brazil’s JBS S.A. (Pilgrim’s), Mexico’s Industrias

Bachoco (O.K. Foods), Belgian company Continental Grain Company (Wayne Farms), Marfig




523256                                           117
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 122 of 151 PageID #:21577




Alimentos S.A. (Keystone Foods), and South Korea’s Harim Group Corporation (Allen Harim).

However, each of these foreign meat conglomerates were already large players in the global meat

industry and simply continued operating their pre-existing U.S. Broiler company as a subsidiary.

Ownership of U.S. Broiler subsidiaries by such large, well-financed conglomerates deter entry by

smaller, non-globalized companies that might want to enter the U.S. Broiler production business.

         363.   A further barrier to new entrants is the unwillingness of large vertically integrated

producers to sell an idled Broiler complex, which also keeps open the threat that an integrated

producer will restart a closed Broiler complex. Pilgrim’s has been explicit about this threat to new

market entrants. For instance, in a February 2014 earnings call, Pilgrim’s was asked whether it

had any plans to sell “a couple of idled U.S. facilities . . . to use that as a source of capital,” to

which Pilgrim’s CFO Fabio Sandri replied “[n]o. We are thinking those are held defensive, so we

don’t plan to sell them in this short-term or in the near future.” Such a threat of restarting idled

facilities, rather than selling those facilities, represents a substantial barrier to entry for new market

participants because an existing Broiler producer can merely restart a closed mill to drive down

prices and run a new entrant out of business.

                8.   Defendants Have Similar Cost Structures And Work Collaboratively To
                     Share Cost Information.

         364.   Another factor antitrust law and economics have identified as making markets

susceptible to price-fixing is similar cost structures. The majority of production costs for Broiler

producers are variable. All other factors being equal, when variable costs are a high percentage of

production costs, there is less incentive for a producer to operate its facilities at full capacity, and

this may allow a cartel to boost prices artificially with greater success than when fixed costs are

the largest component of production costs.




523256                                            118
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 123 of 151 PageID #:21578




         365.   The single largest cost component of producing Broilers is feed, which primarily

consists of soybean meal and corn. Broiler feed prices have varied widely from 2007-2016,

reaching 71% of the cost of growing Broilers in 2012, but falling to only about 50% by 2014.

         366.   Input costs other than feed include processing plant labor costs (~15%), materials

(~11%), and capital equipment (~2.5%). Labor costs have declined significantly over the past two

decades for Defendants, while at the same time labor productivity has substantially increased.

         367.   Broiler feed costs have been decreasing sharply since record highs in 2012. For

instance, prices for soybean meal were down 10% in 2014. Since January 1, 2008, corn prices

have declined roughly 21% and soybean prices have declined 13%. During the same period,

Broiler prices increased roughly 50%.

         368.   Defendants have relatively similar cost structures. The technology and process of

industrial scale growing and processing Broilers is well known and Defendants employ the same

types of equipment and processes in the production process. Defendants also have only three

companies from which they can obtain breeder stock from which to raise Broilers, so there are

very limited options with respect to purchasing the most cost efficient Broiler genetic lines.

Similarly, Defendants all purchase corn and soybeans on the open market, so they have limited

ability to obtain substantially different pricing on these key variable cost inputs for their Broilers.

         369.   Defendants use Agri Stats to share extraordinarily detailed cost information (as

discussed below), so they are able to constantly realign their cost structures with one another. Agri

Stats permits each Defendant to have extremely unusual knowledge of competitor costs and to

make adjustments to standardize each company’s cost structure across all Agri Stats participants.

         370.




523256                                           119
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 124 of 151 PageID #:21579




         371.   Defendants engage in a program of “feedmill cross-testing” in which some

Defendants exchange feed and chicks with one another for the purported purpose of determining

which Defendants’ feed and/or chicks have superior qualities. Defendants claim this strategy helps

them maximize efficiency. However, it is not economically rational in a truly competitive market

for a producer to provide its proprietary feed mixes and/or chicks to its competitor, thereby giving

away any competitive cost advantage over its competitors.

         372.   Another sign that Defendants do not view production costs as secret is the fact that

it is not unusual for Defendants to permit competitor’s CEOs access to each other’s production

complexes. In a competitive industry, production methods should be closely guarded to protect

proprietary methods of production that save a company money and give it a competitive advantage

over its competitors. However, this is not the case in the Broiler industry. For example, from

April 19-21, 2013, Pilgrim’s President & CEO Bill Lovette, Perdue Chairman of the Board Jim

Perdue, and Sanderson Farms President & COO Lampkin Butts attended a three day long “Chicken

Media Summit” in North Carolina that included visits by attendees to a Sanderson Farms

growhouse and processing plant. Similarly, from April 19-21, 2015, another Chicken Media

Summit was sponsored by the NCC and USAPEEC and included tours of Perdue’s operations and

panel discussions with Defendants’ senior executives.

   F. Since 2008 Defendants’ Collusion Has Led to Unprecedented Capacity Reductions,
      Artificially High Prices, and Record Profits.

         373.   As described above, Broiler prices have been artificially inflated since 2008, despite

a historic trend of boom and bust cycles for Broilers as producers oversupply the market in

response to price increases, leading to low single-digit profit margins in the Broiler industry. As



523256                                           120
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 125 of 151 PageID #:21580




one industry observer noted, “[t]he profit margins of the nation’s biggest meat packers rose

dramatically between 2008 and 2010 (the most recent year for which good data is available), even

as the national economy cratered. Tyson Foods, the nation’s biggest meat company, reported

record profits of $778 million last year [i.e., 2013] as the company hiked prices for beef, pork, and

chicken.”

         374.   The historic pattern of annual increases in Broiler production was so entrenched

over decades of experience by the 2000s that one widely repeated quip in the industry was that

there were now only three things certain in life: “Death, taxes and 3% more broilers.” A leading

industry publication noted in early 2009 that “[b]roiler production in the U.S. used to be just like

government spending, it never went down and cutbacks only resulted in slowing the rate of growth,

but not anymore” because “[f]or the first time in decades, total broiler production in 2008 remained

virtually unchanged from the year before. WATT PoultryUSA 2008 rankings data show the

industry’s total weekly ready-to-cook (RTC) production at 724.05 million pounds, just slightly

more than the 723.71 million RTC pounds per week reported at the end of 2007.”

         375.   During a February 12, 2015, earnings call, Pilgrim’s President & CEO Bill Lovette

summed up the restriction of supply which Defendants had implemented since 2008 (including

Lovette himself, as COO of competitor Case Foods from 2008 to 2011): “I looked at some numbers

supplied by Agri Stats earlier in the week and found some interesting facts. If you go back to

2008, the industry slaughtered 8.35 billion head. And by 2011, that slaughtered head had declined

by approximately 8% to 7.7 billion. And it’s actually remained about that same level through 2014

at about 7.7 billion. If you look at live weight pounds produced, it was 47.1 billion in 2008. It

declined to 45.06 billion in 2011. And in 2014, for the first time since 2008, it reached 47.3 billion,

so only 200 million more pounds above 2008 levels. And then on the average weight side, the




523256                                           121
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 126 of 151 PageID #:21581




average weight in 2008 was 5.64, and it’s averaged just above 6 from 2011 through 2014. So with

all of that data in mind, what it tells me is the industry remains fairly disciplined on the supply side

and demand has been increasing for chicken against the backdrop of increasing beef and pork

supplies.”

   G. Defendants Reduced Their Own Production And Used Direct Purchases of Broilers
      To Reduce Industry Supply.

         376.   Economic theory and good business strategy suggests that relying upon one’s

competitors to meet a company’s own commitments to its customers is not rational, as the

competitor can decide to cut out the middleman and sell directly to the end customer. Nevertheless,

Tyson, Fieldale Farms, Koch Foods, and other Defendants have created a system of inter-

dependence whereby some Broiler companies purposely under-produce Broilers on the

assumption their competitors will sell them what they need.

         377.   Defendants use direct purchases of Broilers from one another and from smaller

Broiler producers to meet each company’s own sales needs. This permits Defendants to soak up

excess supply that could depress prices in the market and also facilitates the opportunity to

expressly discuss prices with competitors. Such purchases also permit companies to maintain their

market share despite reducing their own production. Additionally, in many instances large inter-

Defendant purchases are negotiated by CEOs or other senior level executives of Defendants,

providing an additional opportunity for such individuals to conspire.

         378.   Further, Defendants’ participation in Agri Stats gives them visibility into each

other’s profitability, operating margins, and supply that no ordinary customer could hope to

achieve.

         379.   In 2011, as noted above in Section VI(D)(5), Tyson began using what was described

as a “very unique strategy,” called “Buy vs. Grow.” Tyson’s strategy essentially treats the industry



523256                                            122
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 127 of 151 PageID #:21582




supply as though it were for a single unified company, rather than competing businesses that would

rather sell self-produced product to a customer than a competitor.

         380.   What makes Tyson’s program exceptionally “unique” is that only a few years

before adopting a “Buy vs. Grow” strategy, Tyson declared such a strategy to be “stupid” because

it would be subsidizing a competitor’s growth. Tyson’s Executive Vice President & CFO, Wade

Miquelon explained on an April 29, 2008, earnings call that “I think what we said along is we’re

going to match our supply and demand. We’re not going to cut beyond that and then go out and

buy open market meat to subsidize other people’s growth.” Therefore, Tyson’s change in view

towards open market purchases suggests it had confidence by 2011 that its competitors would

maintain their production levels and not grow.

         381.   In a November 5, 2012, interview, Fieldale Farms President Thomas Hensley noted

his company was also pursuing a strategy to buy up excess supply from its competitors, stating

that “[i]f you don’t have a home for your chickens on Monday morning, you shouldn’t have those

chickens. Now we know where all our chickens are going. So we are buying chickens in that lower

price area instead of selling them. So, no expansion for us.”

         382.   By the end of 2014, Tyson reported it was buying over 4 million pounds of Broilers

on the open market each week. Four million pounds of Broilers per week is more than any of the

24th-30th largest Broiler companies produce on a weekly basis, so the amount of Tyson’s

purchases was quite significant in terms of volume.

         383.   During the first part of 2015, Tyson increased its Buy vs. Grow purchases by 50%,

expanding Tyson’s purchases from competitors to unprecedented levels.

         384.   Tyson announced plans in May 2015 to increase its Buy vs. Grow strategy to 10

percent of its sales in the second half of 2015 and 2016. Ten percent of Tyson’s 2014 pounds RTC




523256                                           123
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 128 of 151 PageID #:21583




is 17.6 million pounds per week, a volume that by itself would dwarf the entire average weekly

production of any of the 15th-30th largest Broiler producers. Notably, Tyson also announced in

May 2015 that it planned to reduce its production after July 2015 and keep production flat through

2016 by increasing its Buy vs. Grow purchases.

         385.   Upon information and belief, Defendants made use of Broiler purchases from and

purchase contracts between one another and smaller Broiler producers to reduce their own

production while soaking up excess supply from competitors.

         386.   Defendants’ use of direct purchases from one another and from smaller Broiler

producers provided Defendants an uninterrupted flow of supply and pricing information and

opportunities to communicate directly with one another.

   H. Defendants Made A Coordinated Move Away From Fixed-Price Contracts To
      Contracts That Changed Prices Quarterly Or Followed Broiler Price Indexes.

         387.   A coordinated move away from fixed price contracts to contracts that permit prices

to fluctuate with an indexed public market price helps facilitate an antitrust conspiracy. See In re

High Fructose Corn Syrup Antitrust Litig., 295 F.3d 651, 659 (7th Cir. 2002). This is precisely

what occurred in the Broiler market during the Class Period.

         388.   For several years prior to the Class Period, many vertically integrated Broiler

producers offered some customers long-term fixed-price contracts of a year or more. This

guaranteed customers a fixed price, but also prevented Broiler producers from being able to realize

market price increases that would naturally result from their planned supply cuts.

         389.   Starting around January 2008, senior executives from Koch Foods, Pilgrim’s,

Perdue, Sanderson Farms, and Tyson Foods publicly announced an effort to reduce annual fixed-

price contracts. This change coincided with Defendants’ efforts to reduce Broiler industry supplies

so as to drive Broiler market prices higher.


523256                                          124
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 129 of 151 PageID #:21584




         390.   On January 28, 2008, Tyson CEO Dick Bond announced on an earnings call that

Tyson was looking at shortening its fixed price contracts, and by June 2009 Tyson reported it had

“dramatically” shortened the amount of fixed-price contracts over 90 days.

         391.   On January 29, 2008, Pilgrim’s CFO Rick Cogdill reported on an earnings call that

Pilgrim’s had started moving away from fixed-price contracts, but Pilgrim’s moves were being

held back by legacy fixed-price contracts entered into by Gold Kist prior to its acquisition by

Pilgrim’s in late 2006. Cogdill also noted that “in a situation like where we are now where we

need to drive commodity prices up, that [i.e., having less fixed price contracts] is going to give us

the opportunity for more immediate benefit to our P&L than what we would have had say,

historically three year[s] ago, when a higher percentage was fixed price.” Pilgrim’s later reported

that by March 2012 it had reduced its exposure to fixed price contracts, with most contracts now

market-based or including a reset provision linked to the underlying commodity. By 2014,

Pilgrim’s reported that less than 5% of all its contracts were 12-month fixed price contracts.

         392.   On July 28, 2008, Perdue spokesperson Julie DeYoung told an industry publication

that Perdue was looking to shorten its contract terms, stating, “the company is also seeking to raise

prices and shorten its contracts.”

         393.   Sanderson Farms’ CEO Joe Sanderson noted in a July 31, 2008, earnings call that

the industry may move towards “shorter term agreements.”

         394.   Industry observers noted the trend of Broiler producers moving away from fixed-

price contracts. For instance, a December 2013 report by Stephens, Inc. analyst Farha Aslam noted

that “[w]ith volume growth generally limited, companies are developing more sophisticated

strategies to generate profits . . . . ‘Rather than annual fixed price contract[s] that are negotiated

every fall, companies are partnering with customers and creating contracts that can be multi-year




523256                                           125
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 130 of 151 PageID #:21585




in duration. Contracts are now being negotiated all year long and employ a wide variety of pricing

methodologies.’” This confirms that even contracts which are long-term in duration are not

“fixed” so as to prevent price increases when coordinated supply reductions drive up Broiler

market price indices.

                        VII.      CLASS ACTION ALLEGATIONS

         395.   Plaintiffs bring this action on behalf of themselves and as a class action under the

provisions of Rule 23(a), (b)(2) and (b)(3) of the Federal Rules of Civil Procedure on behalf of the

members of the following Plaintiff Class:

                All persons who purchased Broilers directly from any of the Defendants or
                any co-conspirator identified in this action, or their respective subsidiaries
                or affiliates for use or delivery in the United States from at least as early as
                January 1, 2008 until the Present. Specifically excluded from this Class are
                the Defendants; the officers, directors or employees of any Defendant; any
                entity in which any Defendant has a controlling interest; and any affiliate,
                legal representative, heir or assign of any Defendant. Also excluded from
                this Class are any federal, state or local governmental entities, any judicial
                officer presiding over this action and the members of his/her immediate
                family and judicial staff, any juror assigned to this action, and any co-
                conspirator identified in this action.

         396.   Class Identity: The Plaintiff Class is readily identifiable and is one for which

records should exist.

         397.   Numerosity: Plaintiffs do not know the exact number of class members because

such information presently is in the exclusive control of Defendants. Plaintiffs believe that due to

the nature of the trade and commerce involved, there are thousands of Class members

geographically dispersed throughout the United States, such that joinder of all class members is

impracticable. For example, Pilgrim’s alone reports that it has over 5,000 customers.


523256                                            126
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 131 of 151 PageID #:21586




         398.   Typicality: Plaintiffs’ claims are typical of the claims of the members of the

Plaintiff Class because Plaintiffs purchased Broilers directly from one or more of the Defendants,

and therefore Plaintiffs’ claims arise from the same common course of conduct giving rise to the

claims of the members of the Class and the relief sought is common to the Class.

         399.   Common Questions Predominate: There are questions of law and fact common to

the Class, including, but not limited to:

                A.     Whether Defendants and their co-conspirators engaged in an agreement,
                       combination, or conspiracy to fix, raise, elevate, maintain, or stabilize prices
                       of Broilers sold in interstate commerce in the United States;
                B.     The identity of the participants of the alleged conspiracy;
                C.     The duration of the conspiracy alleged herein and the acts performed by
                       Defendants and their co-conspirators in furtherance of the conspiracy;
                D.     Whether the alleged conspiracy violated Section 1 of the Sherman Act, 15
                       U.S.C. § 1;
                E.     Whether the conduct of Defendants and their co-conspirators, as alleged in
                       this Complaint, caused injury to the business or property of the Plaintiffs
                       and the other members of the Plaintiff Class;
                F.     The effect of Defendants’ alleged conspiracy on the prices of Broilers sold
                       in the United States during the Class Period;
                G.     Whether Plaintiffs and other members of the Class are entitled to, among
                       other things, injunctive relief and if so, the nature and extent of such
                       injunctive relief; and
                H.     The appropriate class-wide measure of damages.

These and other questions of law or fact which are common to the members of the Class

predominate over any questions affecting only individual members of the Plaintiff Class.


         400.   Adequacy: Plaintiffs will fairly and adequately protect the interests of the Class in

that Plaintiffs’ interests are aligned with, and not antagonistic to, those of the other members of

the Class who directly purchased Broilers and Plaintiffs have retained counsel competent and




523256                                          127
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 132 of 151 PageID #:21587




experienced in the prosecution of class actions and antitrust litigation to represent themselves and

the Class.

         401.   Superiority: A class action is superior to other available methods for the fair and

efficient adjudication of this controversy since individual joinder of all damaged Class members

is impractical. Prosecution as a class action will eliminate the possibility of duplicative litigation.

The relatively small damages suffered by individual Class members compared to the expense and

burden of individual prosecution of the claims asserted in this litigation means that, absent a class

action, it would not be feasible for Class members to seek redress for the violations of law herein

alleged. Further, individual litigation presents the potential for inconsistent or contradictory

judgments and would greatly magnify the delay and expense to all parties and to the court system.

Therefore, a class action presents far fewer case management difficulties and will provide the

benefits of unitary adjudication, economy of scale and comprehensive supervision by a single

court.

         402.   The Class is readily definable and is one for which records likely exist in the files

of Defendants and their co-conspirators.

         403.   The prosecution of separate actions by individual Class members would create the

risk of inconsistent or varying adjudications, establishing incompatible standards of conduct for

Defendants.

         404.   Defendants have acted on grounds generally applicable to the Class, thereby

making final injunctive relief appropriate with respect to the Class as a whole.

                              VIII.     ANTITRUST INJURY

         405.   Defendants’ conspiracy had the following effects, among others:

                A.     Price competition has been restrained or eliminated with respect to Broilers;




523256                                           128
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 133 of 151 PageID #:21588




                B.     The prices of Broilers have been fixed, raised, stabilized, or maintained at
                       artificially inflated levels; and
                C.     Purchasers of Broilers have been deprived of free and open competition.

         406.   During the Class Period, Plaintiffs and the members of the Class paid

supracompetitive prices for Broilers.

         407.   By reason of the alleged violations of the antitrust laws, Plaintiffs and the members

of the Class have sustained injury to their businesses or property, having paid higher prices for

Broilers than they would have paid in the absence of Defendants’ illegal contract, combination, or

conspiracy, and as a result have suffered damages.

         408.   This is an antitrust injury of the type that the antitrust laws were meant to punish

and prevent.

IX.      THE STATUTE OF LIMITATIONS DOES NOT BAR PLAINTIFFS’ CLAIMS

   A. Plaintiffs Did Not And Could Not Have Discovered Defendants’ Anticompetitive Conduct.

         409.   Plaintiffs and the members of the Class had neither actual nor constructive

knowledge of the facts constituting their claim for relief. Plaintiffs and members of the Class did

not discover, and could not have discovered through the exercise of reasonable diligence, the

existence of the conspiracy alleged herein until shortly before filing this Complaint. Defendants

engaged in a secret conspiracy that did not reveal facts that would put Plaintiffs or the Class on

inquiry notice that there was a conspiracy to fix prices for Broilers.

         410.   The Adams v. Pilgrim’s Pride case was originally filed as an adversarial bankruptcy

proceeding against Pilgrim’s in 2009, but was stayed pending resolution of Pilgrim’s bankruptcy.

The bankruptcy court subsequently allowed the Adams case to proceed. The Amended Complaint

in the Adams case was filed on December 7, 2009, and like the original complaint, disclosed

nothing about a horizontal conspiracy among Broiler producers to fix the price of Broilers.



523256                                          129
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 134 of 151 PageID #:21589




         411.   On February 18, 2014, “investigative reporter Christopher Leonard [published The

Meat Racket,] the first-ever account of how a handful of companies have seized the nation’s meat

supply.” The book was credited with being the first to explain how the meat industry had changed

over the past forty years into an “oligarchy controlling much of the food we eat.” While The Meat

Racket did not conclude that Broiler producers were engaged in a horizontal conspiracy, it did

suggest for the first time in a widely circulated book that conditions in the Broiler industry had

become susceptible to collusion.

         412.   In addition, six recent investigations by foreign governments into price-fixing

conspiracies in Broiler markets suggest that such price-fixing was possibly taking place in the

United States. French, Chilean, Singaporean, Australian, Indonesian, and South Korean price-

fixing investigations in the past two years (described in sub-paragraphs A-F) have indicated that

collusion is evidently rampant in Broiler industry. In particular, the large fine levied by France’s

competition authority against 21 separate companies and 2 other organizations suggests that even

in a Broiler industry with almost two dozen participants, a price-fixing conspiracy is plausible in

the modern, industrialized reality of Broiler production.

                A.     Chile: In a September 25, 2014, decision, Chile’s Tribunal de Defensa de la
                       Libre Competencia (Court for the Defense of Free Competition) concluded
                       that three Chilean Broiler producers had colluded to limit the production of
                       Broiler meat offered to the domestic market and allocated market shares of
                       production and marketing of Broiler. The Court found that “the summoned
                       poultry companies, by demand projections developed in conjunction with
                       the APA[, a Chilean Broiler trade association], pursued the range in which
                       Broiler prices should fluctuate through coordinated definition of a certain
                       level of production.” Based on the projected future demand for broilers,
                       each conspirator would be allocated a production quota. The collusion was
                       established through emails and other documents seized by the competition
                       authority. The Court imposed fines equivalent to roughly $85 million and
                       disbanded a Broiler trade association used by the defendants to facilitate
                       their conspiracy.




523256                                          130
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 135 of 151 PageID #:21590




                B.    Australia: On February 2, 2015, The Australian newspaper disclosed that
                      the Australian Competition & Consumer Commission had initiated an
                      investigation into price-fixing in the Australian broiler industry. The
                      investigation is ongoing.
                C.    Singapore: On March 7, 2015, a local newspaper reported for the first time
                      that the Competition Commission of Singapore (CCS) was investigating
                      price-fixing among live chicken slaughtering and fresh chicken distribution
                      by Malaysian based broiler producers and the Poultry Merchants’
                      Association. On March 8, 2016, the Competition Commission of Singapore
                      charged thirteen fresh chicken companies that make up ninety percent of the
                      market in Singapore with engaging in anti-competitive discussions from
                      2007 through 2014. The matter is ongoing.
                D.    France: On May 6, 2015, France’s competition authority, l’Autorité de la
                      Concurrence announced that after an investigation into the entire French
                      Broiler industry, it had decided to impose approximately $17.18 million in
                      fines on 21 companies and 2 organizations for price fixing. The French
                      competition authority concluded that between 2000-2007, French Broiler
                      producers held a large number of meetings to discuss the prices to charge
                      their customers, as well as other business details, all for the purpose of
                      gaining a stronger position in price negotiations with France’s larger
                      supermarket chains. One of the French broiler company conspirators,
                      Doux, collaborated with Pilgrim’s parent company, JBS, S.A., in the
                      Brazilian broiler market.
                E.    Indonesia: On February 3, 2016, Indonesia’s Business Competition
                      Supervisory Commission (KPPU) announced that it had compiled enough
                      evidence of price-fixing in the poultry industry to summon 12 companies
                      who constitute 90 percent of Indonesia’s poultry production. The
                      investigation is ongoing.

                F.    South Korea: In early August 2017, it was reported that South Korea’s Fair
                      Trade Commission (KFTC) is currently investigating Harim Group
                      Corporation (parent company of Producer Co-Conspirator Allen Harim),
                      the country’s largest poultry producer, for price-fixing. According to local
                      media reports, the KFTC began investigating Harim and other firms amid
                      allegations they colluded to adjust their chicken output. The probe is also
                      looking into the involvement of the Korea Broiler includes allegations of
                      pricing-fixing involving the Korea Broiler Council as well.

         413.   The Wall Street Journal article on January 18, 2016 regarding possible

manipulation by Defendants of the Georgia Dock Broiler price index raised the possibility of




523256                                        131
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 136 of 151 PageID #:21591




collusion by Defendants to artificially raise, fix, or maintain Broiler prices. Subsequently, the

series of articles published between November 3 and 17, 2016, detailed for the first time that the

USDA had discontinued its reliance on the Georgia Dock price because its prices could not be

verified. In an April 2016 letter to the Securities and Exchange Commission and the November 8,

2016, Washington Post article, Defendant Sanderson Farms continued to represent that the Georgia

Dock price was “reliable,” in order to induce purchasers of Broilers to believe the price was not

subject to illegal manipulation by Defendants. Further, not until November 10, 2016, was it

disclosed publicly that Defendants had formed a secret Georgia Dock Advisory Committee that

facilitated opportunities for executives to meet and also discuss their scheme to fix the Georgia

Dock price. The existence of this Committee was not known to the Plaintiffs, nor would they have

been able to learn of how they conducted themselves in their secret meetings. Finally, not until

November 17, 2016, was it publicly disclosed that the Florida Attorney General’s Office was

investigating the accuracy of the Georgia Dock price index.

         414.   One way to assess whether the public was aware of facts suggesting an antitrust

conspiracy among Defendants is to analyze the reaction of the market to the filing of the first

complaint in this action. In a reaction widely seen as driven exclusively by the filing of the

Maplevale Farms complaint, on October 7, 2016, Defendant Tyson Food, Inc.’s stock price

dropped as much as 11.5%, while Defendants Sanderson Farms and Pilgrim’s Pride dropped 6.9%

and 6.1% respectively. Similarly, the November 3, 2016, the New York Times article, published

online that evening, revealed for the first time the USDA’s inquiry regarding the Georgia Dock

price index and raised the possibility that the index had been manipulated by Broiler companies.

The next business day, the stock prices of Defendants Tyson Food, Inc., Sanderson Farms, and

Pilgrim’s Pride dropped 4%, 7%, and 8%, respectively, which media reports blamed on fallout




523256                                         132
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 137 of 151 PageID #:21592




from the disclosure of the USDA inquiry regarding the Georgia Dock price in the New York Times

article.

           415.   Defendants’ anticompetitive conspiracy, by its very nature, was self-concealing.

Broilers are not exempt from antitrust regulation, and thus, before these recent events Plaintiffs

reasonably considered it to be a competitive industry. Accordingly, a reasonable person under the

circumstances would not have been alerted to begin to investigate the legitimacy of Defendants’

Broilers prices before these recent events.

           416.   Plaintiffs exercised reasonable diligence. Plaintiffs and the members of the Class

could not have discovered the alleged conspiracy at an earlier date by the exercise of reasonable

diligence because of the deceptive practices and techniques of secrecy employed by Defendants

and all of their co-conspirators to conceal their combination.

   B. Defendants Actively Concealed The Conspiracy.

           417.   Throughout the Class Period set forth in this Complaint, Defendants and their

Producer Co- Conspirators effectively, affirmatively, and fraudulently concealed their unlawful

combination and conspiracy from Plaintiffs and the Class members.

           418.   The combination and conspiracy alleged herein was fraudulently concealed by

Defendants by various means and methods, including, but not limited to secret meetings,

surreptitious communications between Defendants by the use of the telephone or in-person

meetings at trade association meetings (and elsewhere) in order to prevent the existence of written

records, limiting any explicit reference to competitor pricing or supply restraint communications

on documents, communicating competitively sensitive data to one another through a “proprietary,

privileged, and confidential” system that kept both the content and participants in the system




523256                                           133
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 138 of 151 PageID #:21593




secret, and concealing the existence and nature of their competitor supply restraint and price

discussions from non-conspirators (including customers).

         419.   Defendants used code words including “discipline” and “capacity discipline” in

their public statements to conceal their conspiracy and signal one other in furtherance of their

conspiracy to restrain production while shielding their conspiracy from detection or suspicion. As

alleged above, specific examples of the use of such coded language abound during the Class

Period, including (1) the National Chicken Council’s Annual Conference in October 2011 where

a report noted that panel members Clint Rivers of Perdue Farms, Bill Anderson of Keystone Foods,

Mike Helgeson of GNP, and Mark Kaminsky of Koch Foods noted that “[d]iscipline on the supply

side was one suggestion” to increase Broiler prices, (2) on a May 3, 2013, earnings call, Pilgrim’s

President & CEO Bill Lovette stated that “price is going to strengthen as supply continues to be

disciplined and constrained….and “we’ve done a good job so far of maintaining discipline,” and

(3) on a July 2016 earnings call Pilgrim’s CEO Bill Lovette noted that “I think what we’ve seen

with egg sets is absolutely a testament to the discipline of our industry that we’ve seen the last

really two to three years.”

         420.   As alleged above, in 2008, after years of boom and bust cycles of production

leading to the regular rise and fall of prices, the price of Broilers began an unprecedentedly steady

increase that continues through the filing of this Complaint. Defendants affirmatively and falsely

attributed the price increase to increases in the price of inputs, among other reasons. These were

pretexts used to cover up the conspiracy. In fact, these price increases were the result of collusive

conduct among Defendants, which was undisclosed at the time.

         421.   During the relevant period, Defendants affirmatively made numerous misleading

public statements falsely portraying the market for Broilers as a competitive one. For example,




523256                                          134
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 139 of 151 PageID #:21594




Defendants provided testimony at workshops held by the U.S. Department of Justice and USDA

suggesting the Broiler industry was competitive and not subject to anti-competitive practices and

agreements. This included testimony at a May 21, 2010 workshop of a National Chicken Council-

commissioned study by Dr. Thomas Elam, which stated that “the chicken industry is competitive

and thriving,” and has “[i]ntense competition” that promotes “product innovation and lower prices

for consumers.”

         422.   Defendants also repeatedly blamed the Renewable Fuels mandate for increased

Broiler prices, both through the NCC, other trade groups, and through press releases, speeches,

and other public statements by Defendants’ employees, rather than disclosing the existence of an

agreement to illegally restrain the supply of Broilers. Some instances of these pretextual

explanations by Defendants and their agents include:

                A.    On a January 29, 2008, earnings call, Pilgrim’s Interim CEO Clint Rivers
                      claimed that “the U.S. government continues its misguided policy of
                      subsidizing ethanol production at the expense of affordable food, and a
                      lower corn yield expectation by USDA will contribute to decrease corn
                      suppliers next year.”
                B.    On June 23, 2008, Wayne Farms President & CEO Elton Maddox said in a
                      statement that “the government’s food fuel mandate has created the need
                      for us to rationalize our business.”
                C.    On July 7, 2008, O.K. Foods announced production cuts due to “record high
                      prices for corn and soybean meal, which it attributed to the U.S.
                      government’s mandated ethanol policies.”
                D.    On June 24, 2009, Harrison Poultry President & CEO Mike Welch and
                      Claxton Poultry President Jerry Lane met in Washington DC and
                      encouraged elected officials to end the “mistake” of the ethanol subsidy.
                E.    In 2010, Foster Farms delayed an expansion due, allegedly, to corn prices.
                      Ira Brill, Foster Farm’s Director of Market Services, blamed the ethanol
                      mandate for the delay, stating that it “places enormous pressure on our input
                      costs, and for that reason we can’t go forward with our expansion plans.”
                F.    On March 7, 2011, House of Raeford announced production cuts due to
                      increased prices. It stated that “if Congress will take action to cut



523256                                         135
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 140 of 151 PageID #:21595




                       unreasonable government support for the ethanol industry, then grain prices
                       should decrease to a more manageable pricing level.”
                G.     On March 15, 2011, Simmons announced downsizing at a plant due to
                       economics “resulting from high grain prices predominantly caused by corn
                       being used in ethanol.” Simmons cited ethanol policies again on June 27,
                       2011, when it laid off another 223 employees.
                H.     In an April 13, 2011, hearing before a congressional subcommittee, Michael
                       Welch (President and CEO of Harrison Poultry) stated that production of
                       broilers was threatened by the diversion of corn to fuel production. Welch
                       claimed that shifting corn back to feed would “allow consumers of poultry
                       products to continue to enjoy an ongoing, adequate supply of animal protein
                       at reasonable prices.” Welch repeated similar claims in 2012 as well, citing
                       increased corn costs resulting in “tens of billions of dollars in increased
                       costs for livestock and poultry producers and food manufacturers.”
                I.     In September 2011, Phillip Green (Vice President of Commodities, Foster
                       Farms) testified on behalf of the American Feed Industry Association at a
                       public hearing and blamed increasing meat costs on the ethanol mandate.
                J.     On October 10, 2014, National Chicken Council President Mike Brown
                       wrote an op-ed citing the Renewable Energy Standard as the primary reason
                       for the poultry industry’s inability to increase production. Brown cited the
                       Renewable Fuel Standard again in a May 15, 2015 op-ed in the Wall Street
                       Journal.

         423.   To explain the shortage of Broilers since 2012, Defendants have provided a variety

of pretextual explanations, including the following: (a) a breeding issue with Broilers during 2014,

(b) a Russian ban of U.S. Broiler imports starting in 2014, and (c) a 2013 shortage in supply due

in part due to an Avian Flu outbreak in Mexico that caused a surge in demand for hens to repopulate

farms in Mexico (see, e.g., ¶ 283 above). However, these explanations were pretextual and

Defendants sought to hide their conspiracy from discovery by blaming Broiler price increases on

these factors rather than Defendants’ own collusive conduct.

         424.   Throughout the Class Period Defendants repeatedly cited increasing input costs as

a pretext for their collusion to restrain supply and increase prices. For instance, Defendants

repeatedly claimed that input cost increases during 2008 justified Broiler price increases.



523256                                          136
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 141 of 151 PageID #:21596




However, while corn was $5/bushel in 2005-2006 and increased to $9 by May or June 2008, it

quickly fell back to below $5/bushel by fall 2008. In fact, prior to 2008 there is a statistical

correlation between Broiler prices and corn prices, but during the Class Period there has been no

statistical correlation between Broiler and corn prices. In other words, despite Defendants’

pretextual explanations to the contrary, Defendants were not determining the price of Broilers

based on the input price for corn.

         425.   Another example of the pretextual nature of cost justifications for Broiler price

increases is a November 2012 interview, in which Fieldale Farm President Thomas Hensley was

asked whether he thought the recently concluded NCC Annual Conference focused too much time

on the Renewable Fuel Standard because eliminating the ethanol subsidy would not “move the

needle on corn supply and prices that much” and whether there was “any danger the industry has

focused too much on this as a magic bullet?” Hensley responded, “I think that’s accurate. The

best-case scenario is that corn would go down $1.25 per bushel and some people say it will only

go down 50 cents.”

         426.   The National Chicken Council has served as the mouthpiece for Defendants

publicized pretextual excuses for rising Broiler prices. Among other actions, the following

indicate an intent to deceive purchasers of Broilers into believing that input costs, rather than a

collusive agreement among Defendants to reduce supply, was the cause of rising Broiler prices:

                A.     Through the National Chicken Council, Defendants ensured that the pretext
                       for their production cuts and price increases, the ethanol mandate, continued
                       to be blamed for increased chicken prices rather than Defendants’ secret
                       conspiracy. A May 19, 2010, report by FarmEcon LLC was commissioned
                       by the NCC and concluded “[o]n the national scale, it is the overall
                       conclusion of this study that the chicken industry is a competitive and
                       thriving sector.” The NCC trumpeted the findings through a press release
                       on its website with the headline “Competition in Broiler Sector Benefits
                       Chicken Farmers, Companies, and Consumers, Study Finds.”



523256                                          137
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 142 of 151 PageID #:21597




                 B.     As noted above, Brown’s October 10, 2014, and May 15, 2015, op-eds in
                        national newspapers attempted to explain away why “current favorable
                        market conditions that would normally stimulate production to be
                        somewhat higher” were not doing so. These op-eds were intended to
                        convince purchasers of Broilers that input costs, rather than a secret
                        conspiracy, were to blame for increasing Broiler prices.
         427.    By virtue of the fraudulent concealment of their wrongful conduct by Defendants

and all of their co-conspirators, the running of any statute of limitations has been tolled and

suspended with respect to any claims and rights of action that Plaintiffs and the other Class

members have as a result of the unlawful combination and conspiracy alleged in this Complaint.

                X.    VIOLATION OF SECTION 1 OF THE SHERMAN ACT

         428.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

         429.    Defendants and all of their co-conspirators entered into and engaged in a

combination or conspiracy in unreasonable restraint of trade in violation of Section 1 of the

Sherman Act, 15 U.S.C. § 1.

         430.    Defendants’ acts in furtherance of their combination or conspiracy were authorized,

ordered, or done by their officers, agents, employees, or representatives while actively engaged in

the management of Defendants’ affairs.

         431.    At least as early as January 1, 2008, and continuing until present, the exact dates

being unknown to Plaintiffs, Defendants and all of their co-conspirators entered into a continuing

agreement, understanding and conspiracy in restraint of trade to fix, raise, stabilize, and maintain

prices for Broilers, thereby creating anticompetitive effects.

         432.    Defendants’ anticompetitive acts involved United States domestic commerce and

import commerce, and had a direct, substantial, and foreseeable effect on interstate commerce by

raising and fixing prices for Broilers throughout the United States.




523256                                           138
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 143 of 151 PageID #:21598




         433.   The conspiratorial acts and combinations have caused unreasonable restraints in the

market for Broilers.

         434.   As a result of Defendants’ unlawful conduct, Plaintiffs and the members of the

Class have been harmed by being forced to pay inflated, supracompetitive prices for Broilers.

         435.   In formulating and carrying out the alleged agreement, understanding and

conspiracy, Defendants and all of their co-conspirators did those things that they combined and

conspired to do, including but not limited to the acts, practices, and course of conduct set forth in

this Complaint. Defendants’ conspiracy had the following effects, among others:

                A.     Price competition in the market for Broilers has been restrained, suppressed,
                       and/or eliminated in the United States;
                B.     Prices for Broilers sold by Defendants, their divisions, subsidiaries, and
                       affiliates, and all of their Producer Co- Conspirators have been fixed, raised,
                       stabilized, and maintained at artificially high, non-competitive levels
                       throughout the United States; and
                C.     Plaintiffs and members of the Class who directly purchased Broilers from
                       Defendants, their divisions, subsidiaries, and affiliates, and all of their
                       Producer Co-Conspirators have been deprived of the benefits of free and
                       open competition in the purchase of Broilers.

         436.   Defendants took all of the actions alleged in this Complaint with the knowledge

and intended effect that their actions would proximately cause the price of Broilers on the spot

market to be higher than it would be but for Defendants’ conduct. Defendants also knew and

intended that such an artificial inflation of spot market prices would increase other Broiler market

prices, including those paid by Plaintiffs and members of the Class.

         437.   As a direct and proximate result of Defendants’ anticompetitive conduct, Plaintiffs

and members of the Class have been injured in their business or property and will continue to be

injured in their business and property by paying more for Broilers than they would have paid and

will pay in the absence of the conspiracy.



523256                                          139
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 144 of 151 PageID #:21599




          438.    The alleged contract, combination, or conspiracy is a per se violation of the federal

antitrust laws.

                                XI.     REQUEST FOR RELIEF

          WHEREFORE, Plaintiffs demand judgment against Defendants as follows:

          439.    The Court determine that this action may be maintained as a class action under Rule

23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure, appoint Plaintiffs as Class

Representatives and their counsel of record as Class Counsel, and direct that notice of this action,

as provided by Rule 23(c)(2) of the Federal Rules of Civil Procedure, be given to the Class;

          440.    The unlawful conduct, conspiracy or combination alleged herein be adjudged and

decreed:

                  A.     An unreasonable restraint of trade or commerce in violation of Section 1 of
                         the Sherman Act; and
                  B.     A per se violation of Section 1 of the Sherman Act;

          441.    Plaintiffs and the Class recover damages, to the maximum extent allowed under

federal antitrust laws, and that a joint and several judgment in favor of Plaintiffs and the members

of the Class be entered against Defendants in an amount to be trebled to the extent such laws

permit;

          442.    Defendants, their affiliates, successors, transferees, assignees and other officers,

directors, partners, agents and employees thereof, and all other persons acting or claiming to act

on their behalf or in concert with them, be permanently enjoined and restrained from in any manner

continuing, maintaining or renewing the conduct, conspiracy, or combination alleged herein, or

from entering into any other conspiracy or combination having a similar purpose or effect, and

from adopting or following any practice, plan, program, or device having a similar purpose or

effect;



523256                                            140
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 145 of 151 PageID #:21600




         443.   Defendants, their affiliates, successors, transferees, assignees and other officers,

directors, partners, agents and employees thereof, and all other persons acting or claiming to act

on their behalf or in concert with them, be permanently enjoined and restrained from in any manner

continuing, maintaining, or renewing the sharing of highly sensitive competitive information that

permits individual identification of company’s information;

         444.   Plaintiffs and the members of the Class be awarded pre- and post- judgment interest

as provided by law, and that such interest be awarded at the highest legal rate from and after the

date of service of this Complaint;

         445.   Plaintiffs and the members of the Class recover their costs of suit, including

reasonable attorneys’ fees, as provided by law; and

         446.   Plaintiffs and the members of the Class have such other and further relief as the

case may require and the Court may deem just and proper.

                            XII.      JURY TRIAL DEMANDED

         447.   Plaintiffs demand a trial by jury, pursuant to Rule 38(b) of the Federal Rules of

Civil Procedure, of all issues so triable.




523256                                          141
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 146 of 151 PageID #:21601




Dated: February 7, 2018

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523256                                          142
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 147 of 151 PageID #:21602




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508954                                 143
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 148 of 151 PageID #:21603




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508954                                 144
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 149 of 151 PageID #:21604




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508954                                 145
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 150 of 151 PageID #:21605




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508954                                 146
Case: 1:16-cv-08637 Document #: 709 Filed: 02/07/18 Page 151 of 151 PageID #:21606




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508954                                 147
